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   6    Natural Care, Inc.
   7
                              UNITED STATES DISTRICT COURT
   8
                             CENTRAL DISTRICT OF CALIFORNIA
   9

  10
        THRIVE NATURAL CARE, INC.,              Case No. 2:20-CV-9091-PA-AS
  11
                         Plaintiff,             DIRECT EXAMINATION TRIAL
  12                                            DECLARATION OF ALEX
              v.                                MCINTOSH
  13
        THRIVE CAUSEMETICS, INC.,               Judge: Hon. Percy Anderson
  14                                            Trial Date: November 9, 2021
                         Defendant.             Courtroom: 9A
  15

  16

  17

  18         Alex McIntosh, upon his oath and subject to the penalty of perjury, declares
  19   as follows:
  20         1.      I make this Declaration containing my direct examination testimony in
  21   support of Plaintiff Thrive Natural Care, Inc. (“Thrive”) in the bench trial against
  22   Defendant Thrive Causemetics, Inc. (“TCI”). I am over 18 years of age. The
  23   matters set forth herein are of my own personal knowledge if called upon to testify
  24   as to such matters, I could and would do so.
  25         2.      I am the co-founder of Thrive and have been Thrive’s CEO since its
  26   beginning in 2013. Thrive has represented for me, from its birth to the present, far
  27   more than a company: it has represented a passion that marries my deepest values.
  28   My intent from day one was to create a company that would sell the best, healthiest
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   1   skincare for people of all genders and ages and races. But more ambitiously, my
   2   intent was to create a blueprint and a role model for other businesses across the
   3   globe: a regenerative business that, through its very operations, restored degraded
   4   lands to health and boosted the lives of rural farmers. A business model that aimed
   5   far beyond “giving back” or “buy one, give one”, to leave places and people
   6   healthier than they were before we started.
   7         3.     To bring this vision to life, I have poured over the past eight years the
   8   entirety of my energy and labor (working long hours, nights, weekends and
   9   holidays), my life savings (including all my retirement savings), and the inspiring
  10   support of my family and my friends. Building a new business from scratch, in a
  11   competitive market like skincare; creating a visionary new regenerative business
  12   model, and building a leadership and farmer-partner team across cultures—it has
  13   not been without challenge and struggle. But today, as my company’s e-commerce
  14   sales have reached the top 1% tier of Amazon sellers (from among five million-plus
  15   sellers), and as ‘regenerative’ has entered the mainstream (with companies from
  16   Nestle to Walmart to General Mills to Patagonia all developing ‘regenerative
  17   operations’), the many sacrifices of the past eight years now bear fruit.
  18         4.     At each step, both successful and challenging, I have played by the
  19   rules, holding myself and my company to the highest standards of honesty and
  20   integrity. This moral compass I also applied to my trademark: I spent a lot of time
  21   in my company’s first months, learning what my options were, what was required.
  22   And then applied to the best of my ability my time and my resources to acquire, use
  23   and defend my trademark according to the dictates of the law and the market. My
  24   belief was and is that by doing my homework, working diligently, and playing by
  25   the rules that I could build Thrive into a business that was not only commercially
  26   successful, but inspiring in its impact and its values.
  27         5.     Before founding Thrive, I was a successful executive in both consumer
  28   package goods (Nestle Waters) as well as environmental sustainability (Nature
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   1   Conservancy). Immediately prior to becoming CEO of Thrive, I was the CEO and
   2   sole owner of Ecomundi Ventures, LLC (“Ecomundi”), which combined my
   3   consumer good and sustainability expertise.
   4         6.     I was fortunate to earn an academic scholarship to and graduate from
   5   Duke University with honors, earning a BA in political science in 1991.
   6   Subsequently, I attended and graduated from Yale Environmental School,
   7   graduating in 2005 with a Masters’ Degree in Environmental Management, special
   8   focus on business and the environment.
   9         7.     I have significant expertise in consumer-packaged goods, skincare, and
  10   sustainable business strategies—all elements that have made our company unique.
  11   In my capacity as a senior executive at Nestle Waters, I participated in consumer
  12   packaging, marketing, public relations, media relations, and retail sales activities
  13   for our healthy living product line. In my role as senior executive at The Nature
  14   Conservancy, I raised capital, established innovative corporate-environmental
  15   partnerships, and supported rural community development projects in the USA and
  16   abroad. With this experience in healthy product consumer goods and sustainability,
  17   I have been a featured speaker at many venues such as the opening keynote speech
  18   at The Future of Sustainability 2017 conference, hosted by the New York Society
  19   of Cosmetic Chemists; as well as a quoted expert on innovative skincare in
  20   publications such as: USA Today (“How a Small, Sustainable Skincare Brand
  21   Became a Best-Selling Amazon Partner”), Whole Foods Magazine (“Meet the New
  22   and Improved Health and Beauty”), Beauty Independent (“What Clean Beauty
  23   Means to Beauty Brands”), and Byrdie (“17 LGBTQIA+ Owned Beauty Brands to
  24   Support During Pride”).
  25         8.     From my duties for Thrive, I have personal knowledge of Thrive’s
  26   origin; skincare products developed by Thrive; Thrive’s marketing and sale of
  27   skincare products bearing the mark “THRIVE” (the “THRIVE mark”), including
  28   target demographics and markets; and Thrive’s interactions with Defendant TCI.
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   1   While serving as Thrive’s CEO for the past eight years, I have been personally
   2   involved in the marketing and selling of skincare products and have acquired a deep
   3   and extensive knowledge of how those products are marketed and sold.
   4         A.     Thrive’s Registered Trademarks
   5         9.     Thrive owns all right, title, and interest in and to U.S. Trademark
   6   Registration No. 4,467,942 (the ’942 Registration”), which was registered January
   7   14, 2014, from an application created by division on November 5, 2013, for the
   8   word mark “THRIVE” in relation to the following goods in International Class 003:
   9   “Non-medicated skin care preparations, namely, facial lotions, cleansers and
  10   creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving
  11   preparations; after shave lotions and creams.” The ’942 Registration certificate has
  12   been marked as Trial Exhibit 117, a true and correct copy of which is attached
  13   hereto. This certificate was obtained from the Trademark Status & Document
  14   Retrieval (“TSDR”) website operated by the United States Patent & Trademark
  15   Office (“USPTO”).
  16         10.    The USPTO deemed the ’942 Registration to be “incontestable” on
  17   March 7, 2020, when the USPTO accepted a Combined Declaration of Use and
  18   Incontestability under Sections 8 & 15, which was filed by Thrive on January 13,
  19   2020. Thrive’s Combined Declaration and the USPTO Acceptance has been marked
  20   as Trial Exhibit 118, a true and correct copy of which is attached hereto. These
  21   documents were obtained from the USPTO’s TSDR website.
  22         11.    Thrive owns all right, title, and interest in and to U.S. Trademark
  23   Registration 6,164,303 (the “’303 Registration,” and, together with the ’942
  24   Registration, the “THRIVE Registrations”), which was registered September 29,
  25   2020, for the word mark “THRIVE” in relation to the following goods in
  26   International Class 003: “Body and non-medicated soaps and skin cleansing gels;
  27   non-medicated skin care preparations, namely, facial lotions, cleansers and creams,
  28   oils for cosmetic use, skin moisturizers; cosmetic sun care preparations and
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   1   sunscreens; shaving creams and gels; pre-shaving preparations; after shave lotions
   2   and creams.” The application which matured into the ’303 Registration was filed
   3   May 2, 2016. The ’303 Registration certificate has been marked as Trial Exhibit
   4   119, a true and correct copy of which is attached hereto. This certificate was
   5   obtained from USPTO’s TSDR website.
   6         B.     Beginnings of the THRIVE Brand and Ecomundi Transfer
   7         12.    I first had the idea for a line of skincare products sold under the brand
   8   “Thrive” in early 2012. I decided to use the “Thrive” name because I thought it
   9   encapsulated best the innovative new model I envisioned for my company: creating
  10   natural, effective, differentiated personal care products via a regenerative business
  11   model that restored degraded lands and boosted livelihoods of small-holder farmers
  12   and rural communities, first in Costa Rica and eventually around the world. In other
  13   words, I wanted to create a business model that would help degraded lands and
  14   rural farming communities to grow and thrive. I did not choose the name because it
  15   had any relation to a particular quality of the skincare products we sell or to any
  16   skincare products in general.
  17         13.    As further evidence that the word “thrive” was not selected to describe
  18   a feature of skincare products, dictionary definitions of “thrive” have been marked
  19   as Trial Exhibit 141, a true and correct copy of which is attached hereto. The
  20   definitions include “to grow, develop, and become successful,” “to grow or develop
  21   vigorously,” and “to prosper; be fortunate or successful.” None of these definitions
  22   describe any of the products Thrive has ever sold or a feature of those products.
  23   Rather, from founding, the term THRIVE was chosen for and used in relation to the
  24   company’s business model, not skincare products.
  25         14.    While our products cleanse, moisturize, and hydrate skin, they do not
  26   make skin prosper or even grow vigorously, which is how the word “thrive” is
  27   defined by certain dictionaries. There is nothing in our products that makes skin
  28   grow, whether vigorously or otherwise. Our skincare products are cleansers and
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   1   moisturizers.
   2         15.   In 2012, I was the sole owner and CEO of Ecomundi. I used Ecomundi
   3   as a vehicle for environmentally-sustainable projects I wanted to develop. I
   4   therefore began working on plans to launch THRIVE skincare products through
   5   Ecomundi.
   6         16.   From early 2012 into May 2013, through Ecomundi I conducted
   7   substantial planning and preparation—and invested a significant amount of personal
   8   financial resources—to develop a line of THRIVE-branded skincare products, and
   9   Ecomundi used the mark THRIVE in the course of those activities. Those activities
  10   included the following:
  11              Entering into agreements with contractors to formulate skincare
  12               products and provided related strategy, research, and recommendation
  13               services.
  14              Conducting presentations, pitches, and strategy sessions regarding
  15               development of THRIVE-branded skincare products.
  16              Releasing a request for proposal regarding branding and advertising
  17               for THRIVE-branded skincare products and conducting related
  18               meetings and discussions.
  19              Brainstorming, research, and building relationships regarding a line of
  20               THRIVE-branded skincare products.
  21              Traveling to Costa Rica to research product ingredients, meet potential
  22               suppliers, and build relationships relating to a THRIVE-branded line
  23               of skincare products.
  24              Hired ecological consultants to help develop and define the THRIVE
  25               brand’s unique regenerative farming model.
  26              Hired skincare formulation professionals.
  27              Developed the THRIVE product formulas.
  28              Began developing the THRIVE packaging and product design.
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   1               Interviewed and evaluated manufacturers for the THRIVE product.
   2               Planned and executed a national competition to hire a Research &
   3                Development lead for the THRIVE brand.
   4               Interviewed sales representatives to work on products branded as
   5                THRIVE.
   6               Registered Thrivenaturalcare.com website and email domains.
   7               Recruited angel investors.
   8         17.    Attached hereto is Trial Exhibit 324, which is a true and correct copy
   9   of an email exchange dated August 6, 2012, between me and Sonia Sousa, a fellow
  10   entrepreneur with whom I brainstormed with and discussed bringing the skincare
  11   and body care line that I envisioned to market. As I stated in the email that I wrote
  12   on that date, “Our vision is to create a natural care product line called ‘Thrive’.” By
  13   August 2012, we had begun using the “Thrive” name to refer to the product line we
  14   were developing and had begun meeting with other people who could serve as
  15   advisors and potential customers for THRIVE-branded skincare products.
  16         18.    On September 11, 2012, having selected THRIVE as the mark for the
  17   skincare and body care products I envisioned, legal counsel filed trademark
  18   application Serial No. 85726058 (the “’058 Application”) on Ecomundi’s behalf to
  19   register the mark THRIVE in connection with a variety of different skincare and
  20   body care products. My intention at the time I filed this application was to bring
  21   Thrive products to market through Ecomundi. The ’058 Application has been
  22   marked as Defendant’s Trial Exhibit 95, a true and correct copy of which is
  23   attached hereto. This document was obtained from the USPTO’s TSDR website.
  24         19.    By November 2012, acting through Ecomundi, I had made significant
  25   strides towards building a company to launch THRIVE skincare products. That
  26   included bringing in a skincare Formulation and Regulatory Advisor, a Branding
  27   and Marketing Advisor, an Ecosystem Restoration and Costa Rican Biome Advisor,
  28   as well as two C-suite Strategy Advisors. These individuals are identified in Trial
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   1   Exhibit 318 at pages 15-16, a true and correct copy of which is attached hereto.
   2         20.    Exhibit 318 is a presentation dated November 20, 2012, which I
   3   prepared together with Andrea Becerra, my associate at the time in developing the
   4   THRIVE brand and products. In this presentation, acting through Ecomundi, I used
   5   the THRIVE mark repeatedly to refer to the line of skincare products and personal
   6   care products we were developing.
   7         21.    Attached hereto is Trial Exhibit 319, which is a true and correct copy
   8   of a pitch presentation that I created and gave on or about November 15, 2012, to
   9   Tammy E. Newmark, the CEO and Managing Partner of the EcoEnterprise Fund.
  10   The EcoEnterprise Fund is an investment group that provides funding to
  11   sustainable, biodiverse businesses in order to scale and optimize their financial,
  12   environmental, and social performance. In this presentation, acting through
  13   Ecomundi, I used the THRIVE mark to refer to the line of skincare products and
  14   personal care products we were developing. As noted in this presentation, my
  15   strategy at the time was to launch THRIVE products to men and then quickly
  16   expand to women. See Ex. 318 at 9.
  17         22.    Attached hereto is Trial Exhibit 320, which is a true and correct copy
  18   of a Request for Proposal (RFP) that I created as part of our search for a branding
  19   and advertising team that could create a strong brand presence around THRIVE
  20   skincare products. This RFP was released publicly on or around January 18, 2013,
  21   and it was distributed by email to three different advertising agencies, a business
  22   advisor, Jane O’Reilly, and a Costa Rican skincare entrepreneur, Andrea Becerra.
  23   This presentation clearly identifies the THRIVE mark as being associated with the
  24   THRIVE-branded line of skincare and body care products we were developing.
  25         23.    By January 2013, I had also brought on an Agroecological Field
  26   Coordinator and Ethnobotanical Specialist and Chemist to assist in developing
  27   skincare formulations and ensuring a sustainable chain of unique-to-market
  28   botanical oils that would serve as “hero ingredients” for Thrive’s skincare products.
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   1   I discussed with these advisors that they would be working to bring THRIVE-
   2   branded skincare products to market.
   3         24.    In and around April-May 2013, I started to transition tasks and
   4   relationships relating to the THRIVE products from Ecomundi to Thrive Natural
   5   Care, Inc., which I had formed in December 2012. The purpose of the transition
   6   was to facilitate the accounting and fundraising activities of Thrive, particularly as
   7   outside investors were contemplating involvement. By this time, we had decided
   8   that the initial launch of THRIVE skincare products would consist of three items—
   9   a facial moisturizer/cream, facial cleanser, and shaving oil. Attached hereto is Trial
  10   Exhibit 252, which is a true and correct copy of a memo dated May 5, 2013, that I
  11   wrote regarding the formulation and creation of product recipes for the initial three
  12   THRIVE products. This memo refers to Thrive Natural Care and the THRIVE
  13   products and was distributed to the team that was assisting with product
  14   development.
  15         25.    Attached hereto Trial Exhibit 325, which is a true and correct copy of
  16   a confidentiality agreement dated May 21, 2013, that was entered into between
  17   Thrive and Arthur Georgalas, a consultant with expertise in product development
  18   and formulation of skincare products. Previously, through Ecomundi I had entered
  19   into an agreement with Mr. Georgalas in September 2012 to provide advice on
  20   product formulation and development. From September 2012 onward, Mr.
  21   Georgalas worked to formulate product recipes and product strategy relating to
  22   THRIVE skincare products.
  23         26.    Completing the transition of THRIVE business from Ecomundi to
  24   Thrive, on May 23, 2013, I signed a Restricted Stock Purchase Agreement and
  25   Technology Assignment Agreement, which transferred all aspects of the THRIVE
  26   business, including trademarks and all goodwill associated with the THRIVE mark,
  27   from Ecomundi to Thrive. The Restricted Stock Purchase Agreement has been
  28   marked as Trial Exhibit 323, a true and correct copy of which is attached hereto.
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    1         27.   In August 2013, Thrive began marketing and offering for sale skincare
    2   products under the THRIVE mark. Those products consisted of Thrive Face Balm
    3   (a skin lotion/cream/moisturizer product), Thrive Face Wash (a cleanser), and
    4   Thrive Shave Oil (a skin moisturizing oil). On August 21, 2013, I mailed a
    5   shipment of these three products to the Whole Foods Senior Buyer for Northern
    6   California, after exchanging email correspondence with her. A true and correct
    7   copy email correspondence with Whole Foods regarding this shipment and a
    8   photograph I took in August 2013 of the handwritten note I wrote to Whole Foods
    9   and included with the package I mailed to them, has been marked as Trial Exhibit
   10   275 and is attached hereto.
   11         28.   Another sale of these three products occurred in early September 2013.
   12   A true and correct copy of an email from the first purchaser of these products to me
   13   dated September 5, 2013, has been marked as Trial Exhibit 298 and is attached
   14   hereto.
   15         29.   By October 2013, we were in the middle of the process for submission
   16   of Thrive Products for sale at Whole Foods stores in the Bay Area. We had begun
   17   that submission in August 2013 by sending samples of the three then-existing
   18   Thrive Products to the aforementioned Whole Foods Senior Buyer. A true and
   19   correct copy of an email exchange with the Whole Foods representative in late
   20   October-early November 2013, has been marked as Trial Exhibit 299 and is
   21   attached hereto.
   22         30.   Beginning in February 2014, inventory of the Thrive Products was
   23   placed on store shelves at several Pharmaca stores on the west coast. A true and
   24   correct copy of an email exchange with the Pharmaca representative from February
   25   17, 2014, has been marked as Trial Exhibit 289 and is attached hereto.
   26         C.    Prosecution of THRIVE Trademark Application by Thrive
   27         31.   On September 27, 2013, I signed a Nunc Pro Tunc Trademark
   28   Assignment effective May 23, 2013, which transferred the ’058 Application and
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    1   another pending application, both for THRIVE marks, from Ecomundi to Thrive.
    2   The Nunc Pro Tunc Trademark Assignment has been marked as Trial Exhibit 322,
    3   a true and correct copy of which is attached hereto.
    4         32.    After the transfer of all business and trademark rights from Ecomundi
    5   to Thrive, Thrive took over prosecution of the ’058 Application for the THRIVE
    6   mark, which was pending with the USPTO. On October 3, 2013, I signed a Request
    7   to Divide the ’058 Application into two separate applications. One application was
    8   to cover goods for which the THRIVE mark was then in use, namely “[n]on-
    9   medicated skin care preparations, namely facial lotions, cleansers and creams,
   10   creams and oils for cosmetic use, skin moisturizers; pre-shaving preparations; after
   11   shave lotions and creams” (collectively, the “Goods In Use”). The other application
   12   was to cover other body care products which we had not yet launched. Legal
   13   counsel filed the Request to Divide on October 4, 2013. The Request to Divide has
   14   been marked as Trial Exhibit 352, a true and correct copy of which is attached
   15   hereto.
   16         33.    Also on October 4, 2013, I signed and legal counsel filed a Statement
   17   of Use on behalf of Thrive to support the Goods In Use for which the THRIVE
   18   mark was then in use. In this Statement of Use, we also requested that the USPTO
   19   change the owner of the mark from Ecomundi to Thrive. The Statement of Use has
   20   been marked as Trial Exhibit 92, a true and correct copy of which is attached
   21   hereto.
   22         34.    On November 5, 2013, the USPTO issued a Notice of Divisional
   23   Request Completed, which granted Thrive’s Request to Divide the ’058
   24   Application. The USPTO created a separate child application, Serial No. 85980517
   25   (the “’517 Application”), which covered the Goods In Use. The ’058 Application
   26   was separated and covered only the other body care products which we had not yet
   27   launched on the market. The Notice of Divisional Request Completed has been
   28   marked as Trial Exhibit 350, a true and correct copy of which is attached hereto.
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    1         35.    The ’058 Application covering other body care products was
    2   eventually declared abandoned in May 2016 for failure to file a Statement of Use.
    3         36.    The ’517 Application matured into the ’942 Registration on January
    4   14, 2014, and was registered to Thrive. See Trial Ex. 117.
    5         D.     THRIVE Product Line and Targeting Female Purchasers
    6         37.    Thrive has continued to sell THRIVE-branded skincare products since
    7   its first launch and has significantly expanded its product line over the years, with
    8   each product developed from scratch by Thrive’s team, and with each product
    9   powered by our company’s unique-to-market regenerative botanical oils. Today,
   10   Thrive sells a range of skincare and grooming products, including face washes and
   11   scrubs, lotions, moisturizers, sunscreens, face balms, cleansing and shaving soaps,
   12   pre-shaving and shaving oils, and grooming oils—all of which use the THRIVE
   13   mark (collectively, the “Thrive Products”).
   14         38.    Thrive includes its THRIVE mark and branding on every product it
   15   sells, and it has done so since 2013. Each Thrive Product bears THRIVE branding,
   16   including the word THRIVE in block or bold letters on the package front as well as
   17   additional references to THRIVE on the bottle or package. The images below are
   18   correct and accurate representative examples of Thrive Products.
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    1         39.    Attached hereto is Trial Exhibit 229, which is a true and correct copy
    2   of a screenshot of the “all products” page of Thrive’s website, www.thrivecare.co,
    3   taken by me in or about June 2021. This document accurately depicts the Thrive
    4   Products currently offered for sale, along with their packaging and pricing.
    5         40.    Thrive sells its products through its website as well as through online
    6   retail partners, including Amazon.com, Grove Collaborative, and Walmart.com,
    7   and at Whole Foods stores on the West Coast. Approximately 95% of Thrive
    8   Products are sold through online sites, including Thrive’s website, Grove
    9   Collaborative, Amazon.com, and Walmart.com. Only about 5% of our Thrive
   10   Products are sold through brick-and-mortar retailers such as Whole Foods. Thrive
   11   sells its products nationally and has since its inception. Thrive is primarily an e-
   12   commerce company and online sales are by far the most significant focus of our
   13   marketing and advertising.
   14         41.    Prices for Thrive’s products range between $12.95 for a soap bar to
   15   $54.95 for a VIP Kit containing several Thrive skincare products. See Ex. 229.
   16         42.    Thrive’s pricing is consistent with what is known as the mid-range
   17   “affordable premium” market. That means prices that are higher than less expensive
   18   options such as those sold at big box stores like Target yet lower than the high-end,
   19   luxury skincare products sold at retailers like Bloomingdales. In my 10 years in the
   20   skincare business, I have found that high end, luxury skincare products (brands
   21   such as La Prairie, La Mer, SK-II, and Lancôme) sell at much higher prices, usually
   22   starting at around $95 and ranging up to $850 or more, depending on the product.
   23   By way of example, what has been marked as Trial Exhibit 308 is a true and correct
   24   copy of a screenshot of Bloomingdale’s “Luxury Skincare” product page taken on
   25   or about August 29, 2021, which demonstrates pricing of high-end, luxury skincare
   26   products that often start at $200 or more. I have personally visited this website and
   27   the screenshot is an accurate representation of what appears on the Bloomingdale’s
   28   page. It is also a representative example of the cost of high-end skincare products,
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    1   based on my experience.
    2         43.   The majority of Thrive’s customers are women, and this has been the
    3   case for many years. As early as 2014, we received reports from one of our main
    4   retail customers, Whole Foods, that female Whole Foods employees and female
    5   customers were purchasing Thrive Products in significant numbers. For this reason,
    6   by the end of 2014, Thrive Products were being displayed on both men’s and
    7   women’s shelves in Whole Foods stores in Northern California. In 2015, Thrive
    8   began advertising directly to women. Thrive’s products have continued to become
    9   even more popular with women since 2015.
   10         44.   Where Thrive receives demographic data on purchasers, such as
   11   through Amazon.com, it indicates that about 60% of Thrive’s customers are female.
   12   The document marked as Trial Exhibit 326 is a true and correct copy of customer
   13   demographic information for purchasers of Thrive Products from Amazon.com for
   14   the fourth quarter of 2020. I obtained this information directly from Amazon, where
   15   it is available through our Amazon seller’s account. The Amazon purchaser
   16   information indicates that approximately 60% of unique customers on Thrive’s
   17   Amazon page are women and over 60% of total sales of Thrive Products were to
   18   women.
   19         45.   The gender demographic information from Amazon also tracks with
   20   my personal experience. As CEO of Thrive, I have personally conducted well over
   21   two hundred training sessions, in store demos, and community or vendor fairs. I
   22   know that most of our customers are women, based on feedback I get, reviews
   23   received, and customer communications.
   24         46.   Attached hereto is Trial Exhibit 309, which is a true and correct copy
   25   of a screenshot of Thrive’s product page for Thrive Sensitive Skin Face Balm, is
   26   specifically targeted to women. This product page came from our website,
   27   www.thrivecare.co, and was taken within the last year. This accurately reflects the
   28   way we have advertised and marketed the product since years before this lawsuit
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    1   began.
    2          47.     Attached hereto is Trial Exhibit 193, which is a true and correct copy
    3   of a screenshot of Thrive’s product page from the Amazon site for THRIVE Natural
    4   Face Wash Gel for Men & Women taken on June 30, 2021. As noted in the product
    5   description, this is another of the Thrive Products intended for use by women as
    6   well as men.
    7          48.     Attached hereto is Trial Exhibit 285, which is a true and correct copy
    8   of a screenshot of Thrive’s product page from the Walmart.com site for Thrive
    9   Natural Face Moisturizer taken on April 16, 2021. As noted in the product
   10   description, this is another of the products specifically targeted to women and to
   11   men.
   12          49.     Attached hereto is Trial Exhibit 306, which is a true and correct copy
   13   of an article published on the website Medium.com by Thrive on November 20,
   14   2019, titled “I’m a Woman and I use Thrive Natural Care. Here’s Why.” (available
   15   at https://medium.com/@thrive.natural.care/im-a-woman-and-i-use-thrive-natural-
   16   care-here-s-why-e00f9d4eabf8). I was personally involved in reviewing and
   17   approving this article and can testify to the date of publication and its content. This
   18   is another example of Thrive targeting women with its advertising and marketing.
   19          50.     Further, Thrive has frequently and repeatedly purchased paid
   20   advertising keywords on Amazon.com that are targeted towards women. By paying
   21   for these keywords, Amazon will return links to Thrive’s skincare products in
   22   response to searches that include the keywords. Advertising keywords that Thrive
   23   has purchased, from 2016 to the present, include: “best face sunscreen for women,”
   24   “black woman sunscreen,” “face care for women,” “face spf for women,” “facial
   25   sunblock for women,” “sunscreen for pregnant women,” “tinted sunscreen for
   26   face,” “face scrub for women,” “face lotion women,” “face cream for women,”
   27   “anti aging face wash women,” “best face wash for women,” “woman gift basket,”
   28   “women’s spa gift set,” “womens gifts for birthday,” “womens skincare gift set,”
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    1   “mom gifts,” “skin care kit mom,” “natural mothers day,” “womens facial
    2   products,” and many more. The document that has been marked as Trial Exhibit
    3   228 is attached hereto and is a true and correct copy of Amazon advertising
    4   keywords purchased by Thrive from 2016 to the present for each of the products it
    5   sells on Amazon. This list includes many examples of advertising keywords
    6   focused on female customers.
    7         51.    In prior proceedings in this case, TCI has cited certain presentations
    8   produced by Thrive dating from 2013-14, which were prepared by outside
    9   marketing consultants and presented to Thrive and focused on Thrive launching its
   10   products to men. I was directly involved in reviewing those presentations,
   11   discussing them with the consultants that created them, and making the decision to
   12   adopt or not adopt the suggestions in the presentations into Thrive’s business
   13   strategy. Some of those presentations contained content that was never adopted by
   14   Thrive or followed in Thrive’s actual marketing and advertising. They are simply
   15   draft recommendations by an outside agency. While some of the suggestions may
   16   have been implemented for a short time in 2013-14, they have not formed the
   17   foundation for our company’s advertising for many years. Since at least 2015, as I
   18   have noted, Thrive has targeted female customers and focused on marketing and
   19   ads directed to women. That is also consistent with my initial vision for the
   20   THRIVE brand in 2012, which was to launch first to men followed immediately by
   21   a broader launch to women.
   22         52.    Since founding, part of Thrive’s mission focus is female
   23   empowerment. We specifically seek to source our ingredients from women-owned
   24   farm co-ops. By sourcing ingredients from women-led businesses, we are able to
   25   not only help regenerate their farmland but also to help build and support
   26   communities and their female leaders.
   27         53.    Thrive used the term “Thrive Tribe” to refer to its customers and
   28   potential customers from 2014 through 2020. The term “Thrive Tribe” was featured
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    1   prominently on Thrive’s website for years. The document marked as Trial Exhibit
    2   206 is attached hereto and is a true and correct copy of Thrive’s homepage as of
    3   August 12, 2020, which contains the heading “THRIVE TRIBE FAVORITES”
    4   directly in middle of the site. The document marked as Trial Exhibit 329 is attached
    5   hereto and is a true and correct copy of a posting by Thrive on Instagram regarding
    6   a photo contest relating to Thrive products, which requested that people posting
    7   responses use the hash tag #THRIVETRIBE. The document marked as Trial
    8   Exhibit 205 is attached hereto and is a true and correct copy of an email blast sent
    9   by Thrive on April 21, 2019, to its mailing list of customers, which is called the
   10   “Thrive Tribe” and used the mailing list address “thrive-
   11   tribe@thrivenaturalcare.com”. In addition, a true and correct copy of the header of
   12   an email that was sent to all new customers or potential customers who signed up
   13   for Thrive’s mailing list has been marked as Trial Exhibit 328 and is attached
   14   hereto. This header prominently stated: “Welcome to the Thrive Tribe.” We sent
   15   this email to customers for years, up through about December 2020.
   16         E.     Thrive’s Success and Broader Impact
   17         54.    Since 2013, Thrive has devoted substantial money, time, and resources
   18   to developing the THRIVE brand. Thrive advertises its skincare products
   19   extensively on the Amazon and Walmart online marketplaces. The company has
   20   promotional partnerships with Amazon, Grove Collaborative, and Whole Foods and
   21   advertises through marketing agencies, public relations firms, social media such as
   22   Instagram and Facebook, the Thrive website blog, and online articles published on
   23   sites such as Medium.
   24         55.    From 2018 to 2020, Thrive spent more than $660,000 on advertising
   25   the THRIVE brand. Attached hereto is Trial Exhibit 327, which is a true and correct
   26   copy of a summary of Thrive’s financial statements from 2013-2020. I obtained this
   27   data from Thrive’s financial records. This document contains information
   28   concerning Thrive’s expenditures on advertising and marketing.
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    1         56.    Thrive is a successful Public Benefit Corporation with a loyal
    2   customer base and significantly increased growth, revenue, and social and
    3   environmental impact each year. Thrive achieved over $1 million sales in 2020. See
    4   Trial Ex. 327 at TNC01296. As of October 25, 2021, Thrive’s sales had grown
    5   170% versus prior year, and are on track to double 2020 revenue by the end of this
    6   year to over $2 million of revenue. This information is contained in Trial Exhibit
    7   227, which is a true and correct copy of a summary of Thrive’s financial
    8   information from 2020-2021 and future projections and is attached hereto. I created
    9   this document with data from Thrive’s financial records.
   10         57.    In addition, per the company’s Public Benefit charter, Thrive’s
   11   regenerative business model is successfully restoring hundreds of acres of degraded
   12   lands and boosting the livelihoods of hundreds of farmers and community members
   13   in rural areas. As a Public Benefit corporation, Thrive makes an impact on the
   14   community and environment much greater than just its product sales.
   15         58.    Thrive’s positive business practices and high-quality products have
   16   gained significant attention from its retail partners. I am the primary point of
   17   contact for Thrive in communications with retail partners and can testify to these
   18   contacts from personal knowledge. In 2021, Thrive was featured in a marketing
   19   video produced by Amazon, which Amazon shared with its 700,000-plus
   20   employees and over 100 million customers. In December 2020, Thrive was one of
   21   just two small businesses selected by Amazon from among thousands of sellers to
   22   receive the first Amazon Launchpad Innovation Grant for most innovative products
   23   and business model. Further, Whole Foods Market has several times featured
   24   Thrive as a “favorite” brand for its customers.
   25         59.    Most recently, on October 22, 2021, Grove Collaborative, a leading e-
   26   commerce retailer, and Thrive consummated a retail partnership to sell Thrive to
   27   women and men in Grove’s customer base.
   28         60.    Thrive regularly receives media coverage from major national news
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    1   outlets, such as a June 30, 2021, four-page article about Thrive in USA Today
    2   entitled “How a small, sustainable skin care brand became a best-selling Amazon
    3   partner. Thrive Natural Care has grown by 1,300% in just four years”. A true and
    4   correct copy of the USA Today article has been marked as Trial Exhibit 198 and is
    5   attached hereto.
    6         61.      Thrive’s products, mission, and business model have generated over 2
    7   billion media impressions in recent months alone, with coverage in publications
    8   such as USA Today, CNN, Vogue, Forbes, MarketWatch, Real Simple, People,
    9   Beauty News, The Zoe Report, Hollywood Reporter, Instyle, Byrdie, Runners
   10   World, Whole Foods Magazine, and Natural Solutions Magazine. I have also
   11   spoken on numerous podcasts about Thrive’s business, and I delivered the opening
   12   keynote speech at The Future of Sustainability 2017 conference, hosted by the New
   13   York Society of Cosmetic Chemists.
   14         62.      In recognition of Thrive’s innovative business model and market
   15   success, the company was selected by Conservation International Ventures, the
   16   investment arm of one of the world’s leading environmental organizations, for a
   17   five-year partnership and investment. This partnership centers around using demand
   18   for Thrive’s skincare products in the USA and other markets, to fuel regenerative
   19   impact in rural communities in developing countries.
   20         F.       Thrive’s Enforcement of Its Rights in the THRIVE Mark
   21         63.      Thrive has expended extensive resources enforcing its intellectual
   22   property against third-parties that have used the name “thrive” in connection with
   23   skincare products. I am Thrive’s only contact with Thrive’s legal counsel and have
   24   personally directed all enforcement efforts relating to the THRIVE mark and am
   25   familiar with those efforts and the results. Thrive has sent cease-and-desist letters to
   26   every third-party it has identified as potentially infringing its THRIVE family of
   27   trademarks. Its enforcement efforts have been very successful and are identified, in
   28   part, below:
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    1              The trademark registration for “ENTHRIVE”, U.S. Reg. No.
    2               4,841,662, for “Beauty and cosmetic moisturizers and creams for skin
    3               care and renewal” was surrendered and is now listed as Dead and
    4               Cancelled, after demand from Thrive sent January 14, 2021.
    5              A seller of skincare products, The Good Hippie, Inc., agreed to sell off
    6               and discontinue its use of “Thrive” branded skincare products after we
    7               sent a demand letter in October 2020. All of its “Thrive” skincare
    8               products have been removed from its website, distribution, and/or sale.
    9              The trademark registration for “DON’T JUST SURVIVE…
   10               THRIVE”, U.S. Reg. No. 4,858,655, for skin creams was expressly
   11               surrendered on February 24, 2021, after a demand letter from Thrive
   12               sent in January 2021.
   13              The trademark application for “THRIVA”, U.S. Serial No. 88049841,
   14               for skincare products was expressly permanently abandoned on
   15               February 19, 2021, after a December 2020 demand from Thrive.
   16              The trademark application for “Thriving Spirit”, U.S. Serial No.
   17               88908740, was amended on January 20, 2021, to remove all skincare
   18               and skincare-related products after a January 2021 demand letter from
   19               Thrive.
   20              The trademark registration for “NOURISH YOUR SKIN, AND THE
   21               REST WILL THRIVE”, U.S. Reg. No. 6,037,264, was expressly
   22               surrendered by the owner on January 21, 2021, after a January 2021
   23               demand letter from Thrive.
   24              The trademark registration for “THRIVING WITH DIABETES”, U.S.
   25               Reg. No. 5,141,471, was amended on January 19, 2021, to remove all
   26               references to skincare products after a November 2020 demand letter
   27               from Thrive.
   28              A wellness center in Vancouver, Canada, Thrive Wellness Inc.,
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    1                removed its “Thrive” branded skincare products from sale and from its
    2                website after an October 2020 demand letter from Thrive.
    3               A demand letter was sent to Diathrive, Inc. on December 29, 2020,
    4                demanding that it amend its trademark registration to remove “lotions”
    5                and that it cease selling its diabetes lotion named Diathrive. The letter
    6                was successful, and Diathrive amended its trademark application and
    7                discontinued its sale of the infringing goods.
    8               On October 25, 2021, Fungac Essentials Incorporated signed a
    9                settlement contract with Thrive agreeing to surrender its Class 3
   10                trademark application for the mark “Thrives Infinity” for skin care and
   11                to permanently cease use of the thrive brand.
   12               In February 2020, Thrive Natural Care successfully enforced its
   13                trademark against THRIVA LUXE skincare products, forcing its
   14                owner, Thriva Inc., to discontinue all sales of the products and
   15                expressly abandon its trademark application, serial number 88049841.
   16               Thrive filed a lawsuit and is currently in litigation against Le-Vel
   17                Brands, LLC in the Central District of California concerning the
   18                latter’s use of “Thrive Skin” in relation to skincare products.
   19   True and correct copies of communications and responses regarding a
   20   representative example of Thrive’s enforcement efforts have been marked as Trial
   21   Exhibits 249 and 332-339, which are attached hereto.
   22         64.    Through its efforts, Thrive has substantially cleared the field in the
   23   skincare market of other entities’ use of the term “thrive” as a skincare product
   24   brand. As of August 20, 2021, based upon the findings of a trademark search on the
   25   USPTO’s Trademark Electronic Search System (“TESS”) website, which I
   26   reviewed, Thrive is the only entity with a live registered trademark for the word
   27   “THRIVE” either alone or at the beginning of a phrase, in connection with skin
   28   lotions or creams in International Class 03. A true and correct copy of a trademark
                                                                       DIRECT EXAMINATION TRIAL
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    1   search result with the USPTO that searches for trademark registrations for Class
    2   003 that include the word “thrive” anywhere in the mark and also include the word
    3   “skin” anywhere in the description of goods has been marked as Trial Exhibit 316,
    4   which is attached hereto and a screenshot of which appears below.
    5

    6

    7

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   10

   11           65.   The three THRIVE marks in the results above are owned by Thrive.
   12   We have not taken action against EAT. DRINK. THRIVE. because it is expressly
   13   limited solely to sea salt-based exfoliants, and does not cover lotions, creams, or
   14   moisturizers. As evidence of this, attached hereto is Trial Exhibit 424, which is a
   15   true and correct copy of the USPTO description of the EAT. DRINK. THRIVE.
   16   registration, which was obtained from the USPTO’s TESS website on October 14,
   17   2021.
   18           66.   Thrive’s THRIVE mark is particularly valuable because it is the only
   19   registered mark beginning with “thrive” or for “thrive” alone for skincare products.
   20   While some third-parties and TCI have attempted to use the mark THRIVE in
   21   relation to skincare products—demonstrating high demand for the mark—Thrive
   22   has taken steps and successfully cleared the field of other similar marks or similar
   23   products.
   24           67.   Leading consumer packaged goods and impact investors have found
   25   Thrive an attractive and unique brand. In 2019, these and other investors invested in
   26   Thrive at a $6 million valuation. In 2020, Conservation International invested in
   27   Thrive at a $6.5 million valuation. Since that time, Thrive’s revenues have more
   28   than doubled, as has the company’s perceived valuation. In 2021, investors have
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    1   targeted a $10 million valuation.
    2         G.     Initial Contact Between Thrive and TCI
    3         68.    In April 2016, Thrive’s general email account received an email from
    4   Karissa Bodnar, the founder of Defendant TCI. In her email, Ms. Bodnar asked for
    5   permission to use the THRIVE mark on TCI’s color cosmetics products used to
    6   help women with cancer. I responded the next day and politely denied that request.
    7   A true and correct copy of our 2016 email exchange has been marked as Trial
    8   Exhibit 226 and is attached hereto.
    9         69.    After receiving the email from Ms. Bodnar in 2016, I chose not to
   10   pursue the issue further at that time because (a) I assumed it was over and Ms.
   11   Bodnar would abide by my decision to disallow TCI’s use of our THRIVE mark,
   12   (b) Ms. Bodnar promised in her email that TCI would “never use the word ‘Thrive’
   13   without the word ‘Causemetics’,” and (c) Ms. Bodnar’s email clearly implied that
   14   TCI was only interested in its narrow lane of women’s color cosmetics, which was
   15   not a market that Thrive intended to expand into. I understood her email to mean
   16   that under no circumstances would TCI be moving into the skincare market.
   17         70.    In 2017, I learned that Ms. Bodnar had ignored my response refusing
   18   her request to use the THRIVE name, and I also learned that TCI had begun to de-
   19   emphasize the word “Causemetics” in its advertising and branding and to refer to
   20   itself as “Thrive” without always using “Causemetics” in its name, contrary to what
   21   Mr. Bodnar had said in her email. As a result, Thrive sent a cease-and-desist letter
   22   to TCI on March 3, 2017, requesting that TCI stop using the “Thrive” name on its
   23   products. A true and correct copy of Thrive’s 2017 cease-and-desist letter has been
   24   marked as Trial Exhibit 31 and is attached hereto.
   25         71.    TCI responded to Thrive’s letter by rejecting the demand for TCI to
   26   stop using the name THRIVE. A true and correct copy of TCI’s response to
   27   Thrive’s 2017 cease-and-desist letter has been marked as Trial Exhibit 208 and is
   28   attached hereto.
                                                                      DIRECT EXAMINATION TRIAL
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    1          72.   TCI stated in its letter that there could be no consumer confusion
    2   between the parties’ products because they sold “different product lines” (makeup
    3   for TCI vs. skincare products for Thrive). Ex. 208 at 1-2. In addition, TCI
    4   threatened that any litigation would be “time-consuming and expensive” for Thrive.
    5   Id. at 2.
    6          73.   TCI’s response to our cease-and-desist letter also referred to TCI’s
    7   prosecution of its own trademark application for makeup products before the
    8   USPTO. Id. at 1. According to TCI, “the trademark examining attorney initially
    9   raised the issue of potential likelihood of confusion between TCI’s THRIVE
   10   CAUSEMETICS trademark and your client’s THRIVE trademark [but] the
   11   trademark examining attorney subsequently withdrew the refusal to register the
   12   THRIVE CAUSEMETICS mark based on your client’s THRIVE trademark.” Id.
   13          74.   In my subsequent review of TCI’s trademark application filings, I
   14   found this assertion by TCI’s attorney about the prosecution history was generally
   15   accurate. On November 30, 2015, the USPTO had issued an Office Action (“2015
   16   Office Action”) refusing to register TCI’s application for the mark THRIVE
   17   CAUSEMETICS because of a likelihood of confusion with two registrations: (a)
   18   U.S. Reg. No. 2938220 for the mark CAUSE-METICS; and (b) Thrive’s ’942
   19   Registration. A true and correct copy of the 2015 Office Action has been marked as
   20   Trial Exhibit 134 and is attached hereto. This document was obtained from the
   21   USPTO’s TSDR website.
   22          75.   I further found that, on May 27, 2016—after Ms. Bodnar had emailed
   23   Thrive for permission to use the THRIVE mark and never disclosed that her
   24   company had filed a trademark application that had been blocked by our
   25   registration—TCI had filed a response to the 2015 Office Action. A true and correct
   26   copy of TCI’s response to the 2015 Office Action has been marked as Trial Exhibit
   27   135 and is attached hereto. This document was obtained from the USPTO’s TSDR
   28   website.
                                                                     DIRECT EXAMINATION TRIAL
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    1         76.    In its response to the USPTO, while trying to circumvent the refusal
    2   based on the CAUSE-METICS mark, TCI argued to the USPTO that “the word
    3   ‘THRIVE’ is neither generic nor descriptive as used in connection with the goods
    4   contained in Applicant's application, namely, false eyelashes, adhesives for affixing
    5   false eyelashes, eyeliner and eyebrow cosmetics.” Ex. 135 at 4. In attempting to
    6   circumvent the refusal based on Thrive’s ’942 Registration, TCI argued in detail
    7   that “the goods in [TCI’s] Application are different than those in the THRIVE
    8   registration.” Id. at 7-8. TCI’s argument continued as follows:
    9         The specific goods in Applicant's application are not identical to those
              in the THRIVE registration, and the examining attorney does not
   10         attempt to argue that they are. Nor are Applicant's goods even in the
              same category as those in the THRIVE registration. The common
   11         category of Applicant's goods is cosmetics, while the common
              category of the goods in the THRIVE registration is skincare and
   12         shaving products. Such products are found in different aisles or
              departments than standard make-up cosmetics, such as eyeliner, and
   13         are distinctly different types of consumer goods. Given the
              dissimilarity in the marks, a higher nexus in the relatedness of the
   14         parties' goods is required to support a finding of likelihood of
              confusion.
   15

   16   Id. at 8 (emphasis in original). This was essentially the same argument that TCI had
   17   made in its response to Thrive’s cease-and-desist letter: that TCI’s makeup products
   18   and Thrive’s skincare products are not in the same category.
   19         77.    As TCI had stated, in an Office Action issued in June 2016 in response
   20   to TCI’s arguments, the USPTO withdrew its refusal to register the THRIVE
   21   CAUSEMETICS mark on the ground of a conflict with Thrive’s ’942 Registration,
   22   apparently because it agreed with TCI’s argument that its makeup and Thrive’s
   23   skincare products were not in the same category of goods.
   24         78.    The USPTO, however, maintained its refusal based on the CAUSE-
   25   METICS registration. A true and correct copy of this 2016 Office Action has been
   26   marked as Trial Exhibit 136 and is attached hereto. This document was obtained
   27   from the USPTO’s TSDR website.
   28         79.    After reviewing TCI’s response to the USPTO and to Thrive’s cease-
                                                                     DIRECT EXAMINATION TRIAL
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    1   and-desist letter, I concluded that TCI was not selling and would not sell skincare
    2   products using the THRIVE brand and therefore that Thrive did not have a viable
    3   trademark infringement claim against TCI. I understood that litigation takes
    4   substantial time and money, and I did not want to expend those resources when it
    5   appeared that TCI was not going to be directly competing against Thrive for
    6   skincare products, and Thrive had no interest in moving into the makeup market.
    7         80.    Thus, while I was aware after the communications in 2017 of TCI’s
    8   continued use of the THRIVE name on color cosmetics, I did not take further action
    9   because TCI was not using the name on skincare products, and TCI had stated that
   10   Thrive would not have a valid legal claim unless the parties were selling the same
   11   type of goods. I relied in good faith on TCI’s response that it was selling products
   12   in a different lane, color cosmetics, than my company, Thrive.
   13         81.    The next time I had contact with anyone from TCI was in June 2019,
   14   when Ms. Bodnar contacted me by phone. We talked for about 20 minutes. During
   15   this call, Ms. Bodnar made clear that she was aware of our THRIVE Registrations
   16   that covered skincare products. However, she never said anything about TCI either
   17   selling skincare products or intending to expand its line of skincare products; I had
   18   no knowledge of that at the time. Instead, she asked repeatedly for me to allow TCI
   19   to use the “THRIVE” name for TCI’s business. She led me to believe that that
   20   business was still limited to women’s makeup, as she had said in her earlier email.
   21         82.    I refused Ms. Bodnar’s request for a co-existence agreement because
   22   blanket permission to use the Thrive mark would have allowed TCI to begin
   23   directly competing by selling skincare products, which is not something that I
   24   wanted unless a licensing fee was involved. From there, we moved to discussing
   25   TCI licensing the Thrive registered trademarks.
   26         83.    I reminded Ms. Bodnar about Thrive’s trademark registrations and
   27   stated that, for there to be any agreement, TCI must at a minimum (a) alter its logo
   28   to deemphasize the word “Thrive” as compared to “Causemetics,” and (b) agree to
                                                                      DIRECT EXAMINATION TRIAL
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    1   compensate Thrive with a significant licensing fee for TCI’s use of the THRIVE
    2   Mark.
    3           84.   After I proposed a licensing agreement, Ms. Bodnar attempted to
    4   negotiate by offering that TCI could make a donation to charity in Thrive’s name to
    5   satisfy such agreement. I rejected that proposal because accepting a charitable
    6   donation as a license fee would not have provided Thrive with sufficient benefit
    7   from the license. I responded by continuing the negotiation, telling Ms. Bodnar to
    8   discuss the matter with TCI’s Board and respond to me with a licensing fee offer.
    9   The call ended, and I did not hear from Ms. Bodnar or anyone at TCI again.
   10           85.   I understand that Ms. Bodnar now claims that I suggested a licensing
   11   fee of $250,000 per year might be appropriate. That is incorrect. While I was open
   12   to continuing to negotiate a licensing arrangement, it would have been based on a
   13   reasonable percentage of TCI’s total revenue from the sale of Thrive branded
   14   products, and not a flat fee arrangement. Additionally, at the time of our
   15   conversation in June of 2019, TCI had not shared with me nor was I aware of the
   16   fact the TCI was in the very near future planning to sell directly infringing skincare
   17   products. Knowledge of this fact would have substantially increased the risk to my
   18   business—and thus the price I was willing to set—to license my Thrive trademark
   19   to TCI.
   20           86.   At the time in June 2019, I had no reason to believe that TCI was
   21   months away from announcing and officially launching a broad, new “Thrive
   22   Causemetics” skincare line. I now believe that the purpose of Ms. Bodnar’s phone
   23   call was directly linked to TCI’s imminent official launch of its skincare line, and
   24   her goal was to get me to give TCI blanket permission to use the THRIVE
   25   registered trademarks, which TCI intended to use for their directly competing
   26   products.
   27           H.    TCI’s Skincare Sales and Expansion
   28           87.   I found out in 2020 that TCI had begun to sell skincare products under
                                                                      DIRECT EXAMINATION TRIAL
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    1   the “THRIVE causemetics” brand. I refer to TCI’s brand this way because TCI
    2   presents its logo to consumers with the word “THRIVE” emphasized at the top in
    3   much larger bold font, and “causemetics” in small font below. Further, TCI
    4   displays its logo with a “TM” symbol appearing to the right of the “THRIVE”
    5   portion of the mark, which creates the appearance that TCI is using “THRIVE” as
    6   the trademark for its products. An example is shown below.
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   12         88.    In 2020, I reviewed TCI’s website, www.thrivecausemetics.com. I
   13   noted in my review that TCI’s website has a “Skincare” section at
   14   https://thrivecausemetics.com/collections/all-skincare, which displays lotions,
   15   moisturizers, cleansers, and lip balms that TCI is selling under the THRIVE
   16   CAUSEMETICS brand. A true and correct copy of a screenshot of TCI’s “all
   17   skincare products” webpage taken on September 21, 2020, has been marked as
   18   Trial Exhibit 11 and is attached hereto. This exhibit accurately depicts the TCI
   19   website as I saw it when I reviewed the page relating to TCI’s skincare products.
   20         89.    In addition, I found that TCI also sells skincare products in sets
   21   containing multiple products. A true and correct copy of a screenshot of TCI’s
   22   “skincare sets” webpage taken on July 13, 2021, has been marked as Trial Exhibit
   23   41 and is attached hereto.
   24         90.    The following is a list of the skincare products sold by TCI: Overnight
   25   Sensation Brightening Sleep Mask; Liquid Balm Lip Treatment; Gravity Defying
   26   Transforming Moisturizer; Bright Balance 3-in-1 Cleanser; Defying Gravity Eye
   27   Lifting Cream; Liquid Light Therapy All-in-One Face Serum; Moisture Flash
   28   Active Nutrient Toner; Deluxe Travel Defying Gravity Transforming Moisturizer;
                                                                      DIRECT EXAMINATION TRIAL
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    1   Defying Gravity Transforming Moisturizer; Deluxe Travel Bright Balance 3-in-1
    2   Cleanser; Moisture-Enriched Hand Sanitizer; Overnight Sensation Gentle
    3   Resurfacing Peel; Pumpkin Spice Latte Liquid Lip Balm Treatment; Smart
    4   Microdermabrasion 2-in-1 Instant Facial; Defying Gravity Nourishing Hand + Nail
    5   Cream; Smart Microdermabrasion 2-in-1 Instant Facial; Buildable Blur CC Cream;
    6   Filtered Effects Blurring Primer; Timeless Ambition Power 10-Peptide Sculpting
    7   Serum; Timeless Ambition Power 7-Peptide Firming Moisturizer; all travel sized
    8   versions of these products; and all “sets” that include any of these products as part
    9   of the set. I refer to these products as the “Infringing Skincare Products” herein.
   10   [See Docket No. 129-1 at § 5 no. 15 (Proposed Amended Final Pretrial Conference
   11   Order)]
   12         91.    TCI’s Infringing Skincare Products are identical in kind to the Thrive
   13   Products sold by Thrive under its THRIVE mark. Both TCI and Thrive sell
   14   cleansers, moisturizers, lotions, creams, sunscreens, and lip balms under the same
   15   THRIVE brand.
   16         92.    With regard to TCI’s product called Filtered Effects Blurring Primer, I
   17   have reviewed TCI’s product description for this product, which is available on
   18   TCI’s website. A true and correct copy of a screenshot of TCI’s webpage for
   19   Filtered Effects Blurring Primer, taken in or about July 2021, has been marked as
   20   Trial Exhibit 82 and is attached hereto. As seen in this exhibit, TCI advertises this
   21   product as a “makeup + skincare hybrid” and touted the skin-related benefits, such
   22   as skin hydration and smoothing lines and wrinkles, and the skincare-supporting
   23   ingredients of this product.
   24         93.    I have also personally inspected the physical Buildable Blur CC Cream
   25   product and have determined that it is indeed sunscreen and skincare product.
   26   Below is a true and correct copy of a photograph taken of the packaging of TCI’s
   27   Buildable Blur CC Cream product, which physical product has been marked as
   28   Trial Exhibit 267.
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   21         94.   As seen in the photograph of the physical Trial Exhibit 267, above, the
   22   Buildable Blur CC Cream devotes its entire back of its product packaging to
   23   describing how to use it “[f]or sunscreen use”. Every single “Active Ingredients”
   24   purpose is listed solely as “Sunscreen”. Sunscreens are explicitly covered by
   25   the ’303 Registration, which is registered for the goods: “cosmetic sun care
   26   preparations and sunscreens.”
   27         95.   Further, true and correct copies of screenshots from a video on TCI’s
   28   Facebook page for Filtered Effects Blurring Primer, dated June 23, 2020, have been
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    1   marked as Trial Exhibits 83 and 195 and are attached hereto. As shown in these
    2   images, TCI advertises Filtered Effects Blurring Primer as “NOT JUST A
    3   PRIMER. SKINCARE TOO” and touts the skincare benefits and skin-boosting
    4   ingredients in this product. It is therefore reasonable to conclude that, while Filtered
    5   Effects Blurring Primer may contain some pigment, it is considered to be a skincare
    6   product by TCI and falls within the category of Infringing Skincare Products.
    7         96.    The same is true of TCI’s product named Buildable Blur CC Cream
    8   Broad Spectrum SPF 35. I have reviewed TCI’s product description for this
    9   product, which is available on TCI’s website. A true and correct copy of a
   10   screenshot of TCI’s webpage for Filtered Effects Blurring Primer, taken on June 18,
   11   2021, has been marked as Trial Exhibit 127 (pages 11-24) and is attached hereto.
   12   TCI describes its Buildable Blur CC Cream as follows: “Made with vitamin C, our
   13   all-in-one makeup and skincare hybrid formula combines powerful ingredients to
   14   simultaneously treat, moisturize, brighten, protect, and color-correct skin.” Id. at 13.
   15   TCI further advertises that this product is a sunscreen and contains other common
   16   skincare ingredients including vitamin C and flaxseed extract. Id. at 15. The
   17   customer comments about this product, as shown on TCI’s website, indicate that
   18   customers view this product as a moisturizer and sunscreen. Id. at 21-22. It is
   19   therefore reasonable to conclude that, while Buildable Blur CC Cream may contain
   20   some pigment, it is considered to be a skincare product by TCI and falls within the
   21   category of Infringing Skincare Products.
   22         97.    I also note that the customer comments regarding Buildable Blur CC
   23   Cream are just one of the many examples of purchasers identifying TCI as “Thrive”
   24   alone, not as “Thrive Causemetics”. Id. at 21-22. For example, one TCI customer
   25   stated: “I’ve loved every product I have received from Thrive!” Another stated
   26   “[w]as using ilio before I tried thrive. I find thrive facial cream tinted much more
   27   moisturizing.” Id. at 21. Similarly, a customer review relating to Filtered Effects
   28   Blurring Primer states “I love all of the Thrive products I use.” Id. at 8.
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    1         98.   TCI’s Infringing Skincare Products prominently feature the THRIVE
    2   name on the front of their packaging. Examples of Thrive’s and TCI’s skincare
    3   products are shown below, in images captured from each party’s website.
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    1         99.    While TCI’s package coloring differs from Thrive’s package coloring,
    2   both parties’ products prominently feature the THRIVE brand, and the goods are
    3   identical in kind.
    4         100. In my experience, the same company will often use different colored
    5   packaging for different product lines while using similar marks across lines so
    6   consumers can distinguish between the lines while also being able to see that they
    7   come from the same company. Often this is done when one line is intended to be
    8   targeted towards men and another line, from the same company, is intended to be
    9   targeted towards women. Some examples of this are Dove/Dove Men+Care,
   10   Everyman Jack/Own Beauty, Harry’s/Flamingo. For this reason, even if a consumer
   11   were to look at TCI’s product packaging and think “this product is for women,” and
   12   look at Thrive’s product packaging and think “this product is for men,” that
   13   consumer would likely think the products were part of a men’s line and women’s
   14   line from the same company, since such packaging differences—used with a similar
   15   brand name—are often used in that way. The fact that consumers may perceive
   16   TCI’s skincare products as a women’s line and Thrive’s skincare products as a
   17   men’s line could lead to more confusion because still creates the appearance that
   18   they come from the same source.
   19         101. Upon reviewing TCI’s Infringing Skincare Products on TCI’s website
   20   and related advertisements, I understand those products to range in cost between
   21   about $10 to $65.
   22         102. The prices for TCI’s skincare products are in the same range as pricing
   23   for our Thrive Products. Both companies’ prices are consistent with the mid-range
   24   “affordable premium” market.
   25         103. While TCI may claim it sells “high-end” or “luxury” products, that is
   26   not consistent with its actual pricing. As I explained above, and as shown in Trial
   27   Exhibit 308, true high-end, luxury skincare products are priced much higher than
   28   TCI’s skincare products, usually starting at around $95 and ranging up to $850 or
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    1   more, with many products in the $200-$300 range. Rather, both TCI and Thrive are
    2   targeting the exact same market segment with similar pricing strategies.
    3         104. Now that TCI has expanded into the skincare market, it is a direct
    4   competitor of my company, Thrive.
    5         105. Expansion from color cosmetics to skincare products would not, in my
    6   experience, be simple natural growth of the same product line. Rather, it would be
    7   expansion into a different market with a new product line. In fact, TCI took this
    8   exact position in both its 2017 response letter to us and in its USPTO Office Action
    9   responses arguing that there was no confusion between our trademarks because
   10   makeup and skincare are different product categories.
   11         106. In my 10 years of experience in the skincare and consumer goods
   12   industry, I have found that skincare products and makeup products (like eyeliner,
   13   lipstick, mascara, blush, etc.) are not considered to be in the same category.
   14   Skincare and makeup do not generally use the same materials so there is a lack of
   15   synergy and no lower cost in producing both types of products together. Both types
   16   of products are generally packaged differently and are made using different
   17   ingredients and formulas. Retailers who sell these products generally have different
   18   corporate buyers for color cosmetics versus skincare products, and industry
   19   research and market reports view color cosmetics and skincare products as different
   20   product categories. Further, I know from my time in the skincare industry that
   21   skincare products and color cosmetics are further considered different categories as
   22   they do not appear adjacent on the same shelves or sections of retail stores and
   23   generally are not sold in close proximity to each other. Indeed, I note that TCI has
   24   made this exact argument several times to differentiate its color cosmetics from
   25   Thrive’s skincare products during the time before TCI sold skincare products.
   26         107. I understand TCI has claimed that it “markets its skincare as having
   27   the ability to beautify or improve the appearance of skin” and attempted to contrast
   28   that with how Thrive markets its Thrive Products. But TCI’s marketing along these
                                                                      DIRECT EXAMINATION TRIAL
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    1   lines is not unique. Most skincare brands, including Thrive, market their products
    2   on the basis that they can help beatify or improve the skin’s appearance. As just one
    3   example, in Trial Exhibit 309, Thrive’s Sensitive Skin Face Balm is advertised to
    4   help[] hydrate, restore, and protect your face” and to “make your skin look and feel
    5   healthier.” This is shown on Thrive’s website together with a photo of a woman
    6   applying the product, which is targeted towards female customers.
    7         108. I also found that TCI was using the same term, “Thrive Tribe” in its
    8   marketing and to describe its customers, despite Thrive having used this term for
    9   many years as I explained above. The document marked as Trial Exhibit 36 is
   10   attached hereto and is a true and correct copy of an Instagram post on TCI’s page
   11   that refers to its customers as the “Thrive Tribe” and uses the hash tag
   12   #THRIVETRIBE, exactly the same hash tag used by Thrive previously for its
   13   Instagram posts. Another true and correct copy of an Instagram post on TCI’s
   14   website that uses the #THRIVETRIBE hash tag has been marked as Trial Exhibit
   15   263 and is attached hereto. The document marked as Trial Exhibit 35 was produced
   16   by TCI and demonstrates that TCI even owned a vanity URL, THRIVETRIBE.CC,
   17   that it used to advertise its skincare products. TCI’s use of the same “Thrive Tribe”
   18   name in its own marketing is another point that could readily cause consumers to be
   19   confused between our two companies.
   20         I.     Effect of TCI’s Move Into Skincare: Online Marketplaces
   21         109. Since TCI launched its line of skincare products, now both Thrive’s
   22   and TCI’s skincare products frequently appear together in searches on online
   23   marketplaces, including Amazon, Google Shopping, Walmart.com, eBay, and
   24   Mercari. True and correct copies of screenshots of instances of the parties’ products
   25   appearing together on such marketplaces have been marked as Trial Exhibit 237,
   26   which is attached hereto. These screenshots were captured from June through
   27   August 2021.
   28         110. One example is shown below and is particularly demonstrative of the
                                                                      DIRECT EXAMINATION TRIAL
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    1   side-by-side confusion of our products and TCI’s products directly where they are
    2   sold online. A search in the category of facial skin care products on Amazon.com
    3   for solely the word “thrive” returns TCI’s skincare product called Buildable Blur
    4   CC Cream for purchase directly below our genuine Thrive Natural Care products.
    5   This is shown in the screenshot below.
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   21         111. Perhaps even more demonstrative, a search for “thrive cream” in
   22   Amazon, with cookies cleared, in incognito mode, and without choosing any
   23   subcategories but simply searching broadly the entirety of Amazon.com, brings
   24   Thrive and TCI’s products together as the first three results side-by-side. This is
   25   shown in the screenshot below, which is a true and correct copy of said search done
   26   by me on August 29, 2021, and which has been marked as Trial Exhibit 313:
   27   ///
   28   ///
                                                                     DIRECT EXAMINATION TRIAL
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   14         112. Amazon is Thrive’s largest retail partner and sales on Amazon
   15   comprise a significant portion of Thrive’s business. It causes significant harm to
   16   Thrive when TCI’s products are sold under the same mark are offered directly next
   17   to Thrive Products on the same online marketplace. TCI’s products appearing side-
   18   by-side with Thrive’s have made it far more expensive for me to distinguish and
   19   sell Thrive’s products in the marketplace and it has inhibited our growth.
   20         113. As I testified to in my July 30, 2021, deposition, it has become
   21   incredibly expensive for Thrive to purchase advertisements using even its own
   22   company and product names because of TCI. Even if I were to spend hundreds of
   23   thousands of dollars per month in advertising Thrive skincare products, those sales
   24   would be drowned out by TCI’s identically named skincare products because it
   25   spends millions of dollars in advertising. TCI is funneling and siphoning customers
   26   away from Thrive by flooding the skincare zone, pushing up Thrive’s customer
   27   acquisition costs, and increasing our costs per click to purchase keywords for
   28   Thrive Skincare. It has made it very difficult to market our own products over the
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    1   past few years and is the reason why we recently had to stop spending money
    2   advertising on Google AdWords and Facebook: because our own paid
    3   advertisements were turning into sales to TCI. It has become prohibitively
    4   expensive for us to acquire customers from advertising.
    5           J.    Effect of TCI’s Move Into Skincare: Online Searches
    6           114. As I explained above, Thrive is primarily an e-commerce company.
    7   Seventy percent (70%) of online traffic to Thrive’s website that results directly in a
    8   product sale comes from a Google search. An appreciable number of those searches
    9   come from search terms such as “thrive skincare”, “thrive natural care”, “thrive
   10   natural skincare”, “thrive face wash”, “thrive skincare natural”, and “healthy thrive
   11   skincare”. I have access to this search data through Google Analytics that is tied in
   12   with our website, and I obtained this information directly from reviewing Google
   13   data.
   14           115. In addition to Thrive’s product packaging, Thrive’s online marketing
   15   and advertising often uses the term “Thrive skincare” to refer to Thrive Products, as
   16   well as terms that include the word “thrive” and words describing the product at
   17   issue, such as “Thrive moisturizer,” “Thrive cleanser,” and “Thrive sunscreen.”
   18           116. Since TCI has launched its skincare product line, TCI’s and Thrive’s
   19   skincare products now regularly appear side-by-side on the same computer screen
   20   in online searches run on popular search engines and comparison-shopping
   21   searches, including Google, Google Shopping, Bing, and Bing Shopping. For
   22   example, images of and links to TCI’s Infringing Skincare Products and Thrive’s
   23   Thrive Products appeared together in searches for the following terms:
   24      Google Shopping
   25       “thrive natural care”
   26       thrive natural skincare
   27       mens thrive natural care
   28       thrive mens skin
                                                                      DIRECT EXAMINATION TRIAL
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    1       amazon thrive natural skincare
    2       amazon thrive natural care
    3      Google Search
    4       thrive natural care
    5       “thrive natural care”
    6       amazon thrive face balm
    7       amazon thrive natural care
    8       amazon thrive natural skincare
    9         117. The document marked Trial Exhibit 235 is attached hereto and depicts
   10   true and correct copies of screenshots taken by me in August 2021 of Google and
   11   Google Shopping search results for these terms demonstrating the parties’ products
   12   appear side-by-side and in the same search results.
   13         118. The document marked Trial Exhibit 236 is attached hereto and depicts
   14   true and correct copies of screenshots taken by me in August 2021 of Bing and
   15   Bing Shopping search results for these terms demonstrating the parties’ products
   16   appear side-by-side and in the same search results.
   17         119. With regard to these screenshots, I personally conducted each of the
   18   searches and took the screenshots. For about half of the screenshots, 13 of the total
   19   27, I cleared my browser’s cookies and history, and turned off the setting for
   20   personalized Google advertisements, such that I was searching from a “clean slate”.
   21   For the remaining 14 searches, I did those shortly afterwards, but not immediately
   22   after clearing my browser’s cookies that would have contained a small amount of
   23   identifying information and history. However, since it was still shortly after I
   24   cleared them, I have no reason to believe the “cookies” settings on my internet
   25   browser affected the results I received in these remaining searches. Furthermore, on
   26   August 30, 2021, I cleared the cookies on my internet browser and conducted the
   27   same searches in “guest mode” with personalized Google advertisements turned
   28   “off” in the settings menu (which I understand does not use cookies or any
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    1   personalization or history for tracking) and received identical results. This
    2   demonstrates that Thrive and TCI products are shown together regardless of search
    3   history and cookies.
    4         120. The document marked as Trial Exhibit 311 is attached hereto and
    5   consists of true and correct copies of screenshots I captured of the results of my
    6   August 30, 2021, searches immediately after I had cleared my internet browser’s
    7   cookies, turned personalized advertisements off, and searched in “guest” mode.
    8         121. I know from personal experience that the parties’ products appear
    9   together extremely frequently in online product searches and online shopping
   10   locations like Google Shopping and Bing Shopping. In addition, in the last several
   11   months I have run several searches on Amazon and eBay for my company’s
   12   products. Every time I have done so, I have found that TCI’s products appear in the
   13   same search results. It is extremely common that the parties’ products appear
   14   together in online marketplace search results.
   15         122. The fact that TCI’s Infringing Skincare Products appear together with
   16   the Thrive Products in Google and Bing searches for “Thrive” and skincare-related
   17   terms, and even for my specific company name and in searches for men’s products,
   18   creates an extremely high likelihood that consumers will see the parties’ products
   19   together when they are searching online for “Thrive” skincare products. If someone
   20   hears from a friend about my company Thrive’s great “Thrive skincare” product,
   21   the chances are they may use an online search engine like Google or Bing to find
   22   out what product the friend meant. A consumer searching online for Thrive or the
   23   Thrive Products is likely to use terms such as “Thrive skincare” and “Thrive
   24   Natural Care”. When TCI’s products, which are also referred to as “Thrive”
   25   products in search results, are shown together with the Thrive Products, it is highly
   26   likely a consumer would be confused and click on links to TCI’s products believing
   27   them to originate from or be affiliated with Thrive.
   28         123. Additionally, and importantly, once my company has converted a
                                                                       DIRECT EXAMINATION TRIAL
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    1   customer to purchase, sent them a product, and facilitated a good product use
    2   experience, when that same customer returns to search for more “Thrive skincare”
    3   to accompany her first purchase, she will be met instead by an avalanche of digital
    4   marketing and media promoting TCI. Thus, TCI’s infringement also siphons away
    5   returning and repeating customers.
    6         124. Thrive’s THRIVE mark is particularly valuable because it is the only
    7   registered mark beginning with “thrive” or that even contains the word “thrive”
    8   standing alone for skincare lotions or creams. While certain third parties and TCI
    9   have attempted to use the mark THRIVE in relation to skincare products—
   10   demonstrating high demand for the mark—Thrive has taken steps to clear the field
   11   of other similar marks. Further, the harm caused by TCI—and, in particular, by
   12   TCI’s products showing up together with Thrive’s products in nearly every online
   13   search for Thrive’s products—is acute and must have led to many lost sales as
   14   people searching for Thrive’s products will find TCI’s and not know the difference.
   15         125. When Thrive has acquired a customer on Amazon or through a
   16   Google/Bing search, social media, or via media articles, and that customer has
   17   purchased and tried one of Thrive’s products, the opportunity for Thrive is to cross-
   18   sell other Thrive Products to that same customer. But with TCI’s advertising and
   19   misimpressions flooding our marketing channels, the customer is funneled away
   20   from Thrive and to TCI. Thus, our hard work of attracting the attention of a
   21   potential customer, converting the customer to purchase, and then creating repeat
   22   purchase and cross-selling opportunities is all for naught when TCI is siphoning off
   23   Thrive customers with TCI’s infringing mark usage and extremely high ad budget.
   24   This can also have the effect of drawing away the interest of media and investors
   25   whose attention may have been attracted to Thrive from a news article or online
   26   search. This confusion occurs on a monthly basis, in my experience. And it has
   27   only gotten worse over the past year.
   28         126. At the present point in time, it would not be possible for Thrive to try
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    1   to correct the misimpressions created by TCI by doing counter-advertising. That
    2   would not be effective or a good investment of Thrive’s advertising budget until
    3   TCI’s infringing actions have ceased. TCI is currently out-spending Thrive 1,000 to
    4   1 with a brand that says TCI is “selling Thrive skincare” products. Under the
    5   current circumstances where TCI’s skincare products appear together with Thrive’s
    6   skincare products in every online search, and TCI’s advertising budget is
    7   exponentially higher than Thrive’s, it would be difficult to conduct a corrective
    8   advertising campaign before TCI has ceased its infringing marketing efforts
    9   because TCI has saturated the market with misimpressions that the THRIVE mark
   10   relates to TCI and the cost to correct those misimpressions would be extremely
   11   high.
   12           127. When TCI stops selling “Thrive” branded skincare products, then my
   13   company can return to advertising and growing its own Thrive brand online without
   14   worrying about directly competing against TCI for ad space and losing its
   15   advertising revenue to TCI.
   16           128. Further, by the placement of TCI’s ads and products, we know that
   17   TCI bids on advertising keywords containing the word “thrive,” which in turn
   18   drives up the price for those keywords for anyone else attempting to bid on them,
   19   including myself. That cases Thrive to pay far more to secure advertising keywords
   20   for our own registered trademark. Those high costs are already significant to
   21   Thrive, and by TCI driving them higher, they are driving us out of our own market.
   22           129. If and when TCI is stopped from using the THRIVE mark and stops
   23   flooding the market with its own ads linking “THRIVE” to TCI, then spending
   24   money on corrective advertising could be highly effective. However, given the
   25   ubiquity of TCI’s advertising, it would take a very substantial amount of corrective
   26   advertising to remedy the several years of misimpressions created by TCI. Until
   27   TCI’s infringement is stopped, Thrive simply does not have the multi-million-dollar
   28   ad budget necessary to combat TCI’s misimpressions.
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    1         130. Unless TCI is forced to stop using the THRIVE mark on skincare
    2   products, the parties will continue to compete against each other in the same market
    3   selling the same types of goods. Each company will continue launching more new,
    4   overlapping products in the coming years. That will only continue to exacerbate the
    5   consumer confusion problem caused by TCI selling goods under my company’s
    6   THRIVE mark and advertising in ways that cause TCI’s skincare products to
    7   appear together with Thrive’s skincare products in online searches and
    8   marketplaces.
    9         K.     Effect of TCI’s Move Into the Skincare Market: Actual Confusion
   10         131. TCI’s use of the THRIVE Mark has caused actual confusion between
   11   Thrive and TCI, by consumers, retailers, and potential partners.
   12         132. Attached hereto is Trial Exhibit 150, which is a true and correct copy
   13   of a screenshot of Thrive’s sunscreen product page on Amazon.com, depicting on
   14   page TNC03312 a customer review left June 30, 2021, which stated: “I like Thrive
   15   products and have bought eye liner and mascara from them as well as moisteurizer
   16   [sic].” However, Thrive does not sell eyeliner or mascara, but TCI does. TCI is also
   17   the only entity to my knowledge named “Thrive” that sells eyeliner, mascara, and
   18   moisturizer. This indicates to me that the customer purchased those items from TCI
   19   and believed them to originate from Thrive. Another copy of a screenshot of just
   20   this review is also attached hereto and marked as Trial Exhibit 233.
   21         133. Attached hereto is Trial Exhibit 151, which is a true and correct copy
   22   of a screenshot of Thrive’s natural mineral sunscreen product on Amazon.com,
   23   depicting on pages TNC03300-01 a customer review left June 14, 2021, which
   24   details how much the customer loves Thrive mineral sunscreen and ends with:
   25   “Well done, Thrive Causemetics.” In other words, because of consumer confusion
   26   TCI has now improperly gained a customer who feels very positively about TCI’s
   27   products. And this after my company has sent time and resources to market to,
   28   attract attention of, convert to purchase, and send product to this customer.
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    1         134. Attached hereto is Trial Exhibit 317, a true and correct copy of a
    2   screenshot of Thrive’s Amazon product page for THRIVE Natural Face
    3   Moisturizer, which shows at the bottom right a customer’s review left on Thrive’s
    4   Amazon page on June 21, 2019. This review states: “Thrive is an up and comer in
    5   the cosmetics field. Their mascara is phenomenal and this facial moisturizer is a
    6   plus in their line.” As I noted, Thrive does not sell cosmetics or mascara but TCI
    7   does. This is another example of a customer who now feels positive goodwill
    8   towards TCI because of their positive experience with a Thrive Product.
    9         135. TCI’s use of the THRIVE mark has caused actual confusion with
   10   Thrive’s retail partner Walmart as well. Attached hereto is the document marked as
   11   Trial Exhibit 121, which is a true and correct copy of a screenshot I took of
   12   Walmart.com’s listing for Thrive Products where Walmart erroneously listed as
   13   originating from TCI. I personally added the yellow circles to this document after
   14   taking the screenshot to highlight the issue, but did not otherwise edit the
   15   document.
   16         136. Attached hereto is Trial Exhibit 223, which is a true and correct copy
   17   of an online product listing for Thrive’s Skin Care Gift Set on the Poshmark
   18   website, which erroneously states Thrive’s products originate from TCI. This
   19   indicates that the person who posted this listing was confused as to the origin of
   20   Thrive’s skincare products.
   21         137. In 2019, Thrive worked for months to secure a partnership with Julie
   22   Ertz, a player on the U.S. national soccer team, and her husband, Zach Ertz, an NFL
   23   football player, for them to serve as brand ambassadors for Thrive. I was introduced
   24   to Lisa Ertz, Zach’s mother, who played a significant part in managing their
   25   business decisions. In an email from Lisa Ertz to me sent June 19, 2019, Ms. Ertz
   26   showed that she was confused about Thrive’s business and believed Thrive to be
   27   TCI, stating that she thought Thrive made the “3 must have beauty products in my
   28   case!” A true and correct copy of our email exchange has been marked as Trial
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    1   Exhibit 126 and is attached hereto. After I received that email, I had two phone
    2   conversations with Ms. Ertz. During those phone calls, it became clear when I
    3   referred to my company as “Thrive,” Ms. Ertz had confused it with TCI.
    4         138. Unless TCI is forced to stop using the THRIVE mark on skincare
    5   products, the parties will continue to compete against each other in the same market
    6   selling the same types of goods. That will only continue to exacerbate the consumer
    7   confusion problem caused by TCI selling goods under my company’s THRIVE
    8   mark and advertising in ways that cause TCI’s skincare products to appear together
    9   with Thrive’s skincare products in online searches and marketplaces.
   10         139. Additionally, this confusion, while starting with consumers, also spills
   11   over to confusion in media, investors, and partners, all to the detriment of my
   12   company and its marketplace brand value.
   13         140. I have reviewed the email chain marked as Trial Exhibit 28, which was
   14   produced by TCI. On page TCI_00019214 is a true and correct copy of an email
   15   from me to Margo Hays, which I sent on December 18, 2017. Ms. Hays was a Vice
   16   President at TSG Consumer, a very large and well-known investor in consumer
   17   brands, with whom I had discussed the idea of investing in Thrive. Ms. Hays had
   18   planned to give information on Thrive to Blythe Jack, who I knew to be the
   19   Managing Director of TSG Consumer, with authority to direct investments for the
   20   company. I did not know that Ms. Jack had connections to TCI at that time.
   21   However, seeing this email chain produced by TCI as part of this litigation, it is
   22   clear that Ms. Jack, rather than entertaining the idea of investing in Thrive, believed
   23   the name to be similar to TCI’s—and Ms. Jack forwarded my email which
   24   contained a summary of our business for potential investors—to TCI’s founder, Ms.
   25   Bodnar. Ms. Bodnar’s response that Thrive had “been on my radar due to prior TM
   26   searches” failed to note that those trademark searches had found that Thrive’s
   27   trademark application for the THRIVE mark had preempted TCI’s use of the
   28   “Thrive” name by several years.
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    1         141. Ms. Bodnar’s response was apparently calculated to create the
    2   impression that we were copying TCI when in fact the opposite was true.
    3         142. The Trial Exhibit 28 email chain is indicative of the type of harm
    4   suffered by Thrive among potential investors.
    5         143. This is just one example of Thrive losing out on the chance to receive
    6   a substantial investment from a sizable partner because of TCI’s use of the “Thrive”
    7   name. This is not an isolated incident; the obvious trademark confusion in the
    8   marketplace between my Thrive and TCI is a significant hurdle in investors’
    9   consideration process.
   10         L.     Email From Phil Segal
   11         144. I have reviewed the email that is marked as Trial Exhibit 380, which is
   12   attached hereto and is an email dated August 12, 2019, from Phil Segal to myself
   13   and a coworker. I have also reviewed the article referred to by Mr. Segal in the
   14   email, which has been marked as Trial Exhibit 142 pp. 1-14, which is also attached
   15   hereto.
   16         145. Mr. Segal was never an employee of Thrive. He was a third-party
   17   consultant on paid media advertising with whom I spoke occasionally over a period
   18   of a few months about Thrive’s business. Sometimes I would have Mr. Segal
   19   handle ad placements for Thrive Products. I never asked him for advice about TCI,
   20   and I have no reason to believe that he had any inside information or knowledge
   21   about TCI beyond the article he cited in his email.
   22         146. The article that Mr. Segal referred to is a puff piece about TCI’s
   23   founder, Ms. Bodnar, from a beauty website, www.beautyindependent.com. Ms.
   24   Bodnar is asked questions in writing, and they are answered in writing. There is no
   25   reason to believe her statements are accurate or even were actually provided by her,
   26   as opposed to written by TCI’s marketing or PR team. In his email to me, Mr. Segal
   27   simply summarizes in bullet points what Ms. Bodnar allegedly said in an interview.
   28   Thrive’s marketing strategies are a closely guarded secret, given the highly
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    1   competitive, crowded nature of the skincare market. I do not think that in a written
    2   interview for a beauty website Ms. Bodnar would disclose TCI’s actual marketing
    3   strategy or how discuss truly how important the “Thrive” name is to TCI’s
    4   marketing.
    5         147. Having read the article that is marked as Trial Exhibit 142, I actually
    6   found that in the article TCI is referred to as “Thrive” alone, without “Causemetics”
    7   many times. For example, on the first page Ms. Bodnar is referred to as the “29-
    8   year-old founder of Thrive.” The first sentence of the next paragraph states “Thrive
    9   is perhaps the beauty industry’s most low-key breakout brand.” Ms. Bodnar then
   10   repeatedly refers, on pages 7, 9, and 11, to TCI’s customer community as the
   11   “Thrive Tribe”—exactly the same name used for years previously by Thrive. If
   12   anything, this article demonstrates the importance to TCI of using the word
   13   “Thrive” in its brand.
   14         M.     Thrive Causemetics’ 2018 Trademark Application and Refusal
   15         148. I have reviewed the history of TCI’s second trademark application for
   16   the THRIVE CAUSEMETICS trademark filed in 2018. On August 28, 2018, the
   17   USPTO issued an Office Action (the “2018 Office Action”), rejecting a second
   18   application by TCI to register THRIVE CAUSEMETICS and citing a likelihood of
   19   confusion with Thrive’s ’942 Registration and Thrive’s then-pending trademark
   20   application, which matured into the ’303 Registration. A true and correct copy of
   21   the 2018 Office Action has been marked as Trial Exhibit 137, which is attached
   22   hereto. This record was obtained from the USPTO’s TSDR website. Exhibits to the
   23   Office Action not relevant to this litigation have been removed.
   24         149. TCI filed a response to the 2018 Office Action dated October 30,
   25   2018, which has been marked as Trial Exhibit 138 and is attached hereto. This
   26   record was obtained from the USPTO’s TSDR website In its response, similar to its
   27   arguments in response to the 2015 Office Action, TCI argued as follows:
   28         Applicant's Goods and Services are not identical to the Cited Goods,
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    1         and the Examining Attorney does not attempt to argue that they are.
              While Applicant's Mark and the Cited Mark are used in connection
    2         with goods in Class 3, Applicant's Class 3 goods are cosmetics, while
              the Cited Mark's Class 3 goods are skincare and shaving products.
    3         Such products are found in different aisles or departments than
              standard make-up cosmetics, such as eyeliner, and are distinctly
    4         different types of consumer goods.
    5   See Trial Ex. 138 at 3-4 (emphasis added).
    6         150. Notably, as I explained above, TCI filed its response to the USPTO in
    7   the same month that TCI released its first Infringing Skincare Product. TCI thus
    8   must have known that, while cosmetics were “different types of consumer goods,”
    9   that point of distinction did not apply to skincare products—which were the same
   10   types of goods my company was selling.
   11         151. On November 23, 2018, the USPTO issued a Suspension Notice
   12   maintaining the refusal to register TCI’s second application for THRIVE
   13   CAUSEMETICS on the basis of a likelihood of confusion with the THRIVE
   14   Registrations. The USPTO also maintained its requirement that TCI must disclaim
   15   the term “CAUSEMETICS” because it is merely descriptive as an intentional
   16   misspelling of “COSMETICS”. Attached hereto is Trial Exhibit 139, which is a
   17   true and correct copy of the USPTO’s Suspension Notice issued on TCI’s
   18   application on November 23, 2018. This record was obtained from the USPTO’s
   19   TSDR website.
   20         152. Receiving this response from the USPTO apparently did not do
   21   anything to make TCI slow down its launch of skincare products in the subsequent
   22   two years. Also, Ms. Bodnar never disclosed in her June 2019 phone call with me
   23   that the USPTO had refused TCI’s own trademark application based on finding a
   24   likelihood of confusion with my company’s THRIVE Registrations. It seemed like
   25   she supposedly wanted to “coexist” but not on fair terms that involved actually
   26   disclosing TCI’s issues with the USPTO or move into the skincare market in direct
   27   competition with Thrive.
   28         153. On July 28, 2021, the USPTO un-suspended TCI’s second application
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    1   for THRIVE CAUSEMETICS and issued another Office Action refusing to register
    2   TCI’s application on the basis of a likelihood of confusion with the THRIVE
    3   Registrations. Attached hereto is Trial Exhibit 140, which is a true and correct copy
    4   of the USPTO’s Office Action dated July 28, 2021. This record was obtained from
    5   the PTO’s TSDR website. Exhibits attached to the end of the Office Action not
    6   relevant to this litigation have been removed.
    7

    8         I declare under penalty of perjury that the foregoing is true and correct.
    9         Executed on October 26, 2021, at San Francisco, California.
   10

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                                                                      DIRECT EXAMINATION TRIAL
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    1                              CERTIFICATE OF SERVICE
    2   Case Name: Thrive Natural Care, Inc. v. Thrive Causemetics, Inc.
        Case No.: 2:20-cv-9091-PA-AS
    3
        IT IS HEREBY CERTIFIED THAT:
    4
               I, the undersigned, declare under penalty of perjury that I am a citizen of the
    5   United States over 18 years of age. My business address is 9465 Wilshire Blvd.,
        Ste. 300, Beverly Hills, CA 90212. I am not a party to the above-entitled action.
    6
                 I have caused service of the following documents, described as:
    7
        DIRECT EXAMINATION TRIAL DECLARATION OF ALEX MCINTOSH
    8
        on the following parties by electronically filing the foregoing on October 26, 2021,
    9   with the Clerk of the District Court using its ECF System, which electronically
        notifies them.
   10
        Rollin Ransom (SBN 196126)                      Attorneys for Defendant
   11   rransom@sidley.com
        Ryan Stasell (SBN 307431)
   12   rstasell@sidley.com
        Paula Salazar (SBN 327349)
   13   psalazar@sidley.com
        SIDLEY AUSTIN LLP
   14   555 West Fifth St., Ste. 4000
        Los Angeles, CA 90013
   15
        I declare under penalty of perjury under the laws of the United States of America
   16   that the foregoing is true and correct.
   17

   18    Date:     10/26/2021               By: /s/ Thomas Dietrich
   19
                                                Thomas Dietrich

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                                                                       DIRECT EXAMINATION TRIAL
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         TRIAL EXHIBIT NO. 117
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                                         THRIVE
     Reg. No. 4,467,942                       THRIVE NATURAL CARE, INC. (DELAWARE CORPORATION)
                                              42 DARRELL PLACE
     Registered Jan. 14, 2014                 sANFRANcisco, cA 94133

     Int. Cl.: 3                              FOR: NON-MEDICATED SKIN CARE PREPARATIONS, NAMELY, FACIAL LOTIONS,
                                              CLEANSERS AND CREAMS, CREAMS AND OILS FOR COSMETIC USE, SKIN MOISTUR-
                                              IZERS; PRE-SHAVING PREPARATIONS; AFTER SHAVE LOTIONS AND CREAMS, IN
     TRADEMARK                                CLASS 3 (U.S. CLS. 1, 4, 6, 50, 51 AND 52).

     PRINCIPAL REGISTER                       FIRST USE 9-5-2013; IN COMMERCE 9-5-2013.

                                              THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                              TICULAR FONT, STYLE, SIZE, OR COLOR.

                                              SN 85-980,517, FILED 9-11-2012.

                                              GISELLE AGOSTO, EXAMINING ATTORNEY




      '-/IA,.· ch,e4 k- z:___
       Deputy Director of the United States
         Patent and Trademark Office
Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 53 of 195 Page ID #:8389




                                   REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                          TRADEMARK REGISTRATION

              WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                     DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

          Requirements in the First Ten Years*
          What and When to File:

                      First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                     5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
                     accepted, the registration will continue in force for the remainder of the ten-year period, calculated
                     from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
                     federal court.

                     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                     Application for Renewal between the 9th and 10th years after the registration date.*
                     See 15 U.S.C. §1059.

          Requirements in Successive Ten-Year Periods*
          What and When to File:

                     You must file a Declaration ofU se (or Excusable Nonuse) and an Application for Renewal between
                     every 9th and 10th-year period, calculated from the registration date.*

          Grace Period Filings*

          The above documents will be accepted as timely if filed within six months after the deadlines listed above
          with the payment of an additional fee.


            The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
                                         reminder of these filing requirements.

          *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
          an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
          of Use (or Excusable Nonuse) referenced above directly with the USPTO. The time periods for filing are
          based on the U.S. registration date (not the international registration date). The deadlines and grace periods
          for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
          See 15 U .S.C. §§ 1058, 114 lk. However, owners of international registrations do not file renewal applications
          at the USPTO. Instead, the holder must file a renewal of the underlying international registration at the
          International Bureau of the World Intellectual Property Organization, under Article 7 of the Madrid Protocol,
          before the expiration of each ten-year term of protection, calculated from the date of the international
          registration. See 15 U.S. C. § 1141j. For more information and renewal forms for the international registration,
          see http://www.wipo.int/madrid/en/.

          NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
          USPTO website for further information. With the exception of renewal applications for registered
          extensions of protection, you can file the registration maintenance documents referenced above online
          at http ://www.uspto.gov.




                                                     Page: 2 /RN# 4,467,942
Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 54 of 195 Page ID #:8390




         TRIAL EXHIBIT NO. 118
         Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 55 of 195 Page ID #:8391


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PTO Form 1583 (Rev 05/2006)
OMB No. 0651-0055 (Exp 10/31/2021)


                       Combined Declaration of Use and Incontestability under Sections 8 & 15


                                                     The table below presents the data as entered.

                                     Input Field                                                                  Entered
             REGISTRATION NUMBER                                        4467942
             REGISTRATION DATE                                          01/14/2014
             SERIAL NUMBER                                              85980517
             MARK SECTION
             MARK                                                       THRIVE (see, https://tmng-al.uspto.gov/resting2/api/img/85980517/large)
             ATTORNEY SECTION (current)
             NAME                                                       Tsan Abrahamson
             ATTORNEY BAR MEMBERSHIP NUMBER                             NOT SPECIFIED

             YEAR OF ADMISSION                                          NOT SPECIFIED

             U.S. STATE/ COMMONWEALTH/ TERRITORY                        NOT SPECIFIED

             FIRM NAME                                                  Cobalt LLP
             INTERNAL ADDRESS                                           Building A21
             STREET                                                     918 Parker Street
             CITY                                                       Berkeley
             STATE                                                      California
             POSTAL CODE                                                94710
             COUNTRY                                                    United States
             PHONE                                                      510-841-9800
             FAX                                                        510-295-2401
             EMAIL                                                      trademarks@cobaltlaw.com
             AUTHORIZED TO COMMUNICATE VIA EMAIL                        Yes
             ATTORNEY SECTION (proposed)
             NAME                                                       Travis Manfredi
             ATTORNEY BAR MEMBERSHIP NUMBER                             XXX
             YEAR OF ADMISSION                                          XXXX
             U.S. STATE/ COMMONWEALTH/ TERRITORY                        XX
             FIRM NAME                                                  Cobalt LLP
             STREET                                                     1912 Bonita Avenue
             CITY                                                       Berkeley
             STATE                                                      California
             POSTAL CODE                                                94704
Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 56 of 195 Page ID #:8392


 COUNTRY                               United States
 PHONE                                 510-841-9800
 FAX                                   510-295-2401
 EMAIL                                 trademarks@cobaltlaw.com
 AUTHORIZED TO COMMUNICATE VIA EMAIL   Yes
 DOCKET/REFERENCE NUMBER               THRIVE 03
 OTHER APPOINTED ATTORNEY              Tsan Abrahamson, Jessica Tam
 CORRESPONDENCE SECTION (current)
 NAME                                  Tsan Abrahamson
 FIRM NAME                             Cobalt LLP
 INTERNAL ADDRESS                      Building A21
 STREET                                918 Parker Street
 CITY                                  Berkeley
 STATE                                 California
 POSTAL CODE                           94710
 COUNTRY                               United States
 PHONE                                 510-841-9800
 FAX                                   510-295-2401
 EMAIL                                 trademarks@cobaltlaw.com
 AUTHORIZED TO COMMUNICATE VIA EMAIL   Yes
 CORRESPONDENCE SECTION (proposed)
 NAME                                  Travis Manfredi
 FIRM NAME                             Cobalt LLP
 STREET                                1912 Bonita Avenue
 CITY                                  Berkeley
 STATE                                 California
 POSTAL CODE                           94704
 COUNTRY                               United States
 PHONE                                 510-841-9800
 FAX                                   510-295-2401
 EMAIL                                 trademarks@cobaltlaw.com
 AUTHORIZED TO COMMUNICATE VIA EMAIL   Yes
 DOCKET/REFERENCE NUMBER               THRIVE 03
 GOODS AND/OR SERVICES SECTION
 INTERNATIONAL CLASS                   003
                                       Non-medicated skin care preparations, namely, facial lotions, cleansers and
 GOODS OR SERVICES                     creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving
                                       preparations; after shave lotions and creams
Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 57 of 195 Page ID #:8393


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 SPECIMEN FILE NAME(S)
                                               8150002.JPG
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                                               8150003.JPG
 SPECIMEN DESCRIPTION                          pages from registrant's online store
 OWNER SECTION (current)
 NAME                                          THRIVE NATURAL CARE, INC.
 STREET                                        42 DARRELL PLACE
 CITY                                          SAN FRANCISCO
 STATE                                         California
 ZIP/POSTAL CODE                               94133
 COUNTRY                                       United States
 OWNER SECTION (proposed)
 NAME                                          THRIVE NATURAL CARE, INC.
 STREET                                        42 DARRELL PLACE
 CITY                                          SAN FRANCISCO
 STATE                                         California
 ZIP/POSTAL CODE                               94133
 COUNTRY                                       United States
 EMAIL                                         XXXX
 AUTHORIZED TO COMMUNICATE VIA EMAIL           Yes
 LEGAL ENTITY SECTION (current)
 TYPE                                          corporation
 STATE/COUNTRY OF INCORPORATION                Delaware
 PAYMENT SECTION
 NUMBER OF CLASSES                             1
 NUMBER OF CLASSES PAID                        1
 COMBINED §§ 8 & 15 FILING FEE PER CLASS       325
 TOTAL FEE PAID                                325
 SIGNATURE SECTION
 SIGNATURE                                     /Alex McIntosh/
 SIGNATORY'S NAME                              Alex McIntosh
 SIGNATORY'S POSITION                          Co-founder & CEO
 DATE SIGNED                                   01/12/2020
 SIGNATORY'S PHONE NUMBER                      510-841-9800
 PAYMENT METHOD                                DA
                                           FILING INFORMATION
 SUBMIT DATE                                   Mon Jan 13 03:24:42 EST 2020
                                           I
Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 58 of 195 Page ID #:8394


                                 USPTO/S08N15-XXX.XXX.XX.X
                                 XX-20200113032442552951-4
                                 467942-70089506a637a5f11e
 TEAS STAMP                      7a21c91ba36278b2c7709282c
                                 bf3b6c28ddb2473a7a06856-D
                                 A-24423788-20200109171007
                                 823724
         Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 59 of 195 Page ID #:8395


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PTO Form 1583 (Rev 05/2006)
OMB No. 0651-0055 (Exp 10/31/2021)




                   Combined Declaration of Use and Incontestability under Sections 8 & 15
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 4467942
REGISTRATION DATE: 01/14/2014

MARK: THRIVE

The owner, THRIVE NATURAL CARE, INC., a corporation of Delaware, having an address of
     42 DARRELL PLACE
     SAN FRANCISCO, California 94133
     United States
     XXXX (authorized)
is filing a Combined Declaration of Use and Incontestability under Sections 8 & 15.

For International Class 003, the mark is in use in commerce on or in connection with all of the goods/all of the services, or to indicate
membership in the collective membership organization, listed in the existing registration for this specific class: Non-medicated skin care
preparations, namely, facial lotions, cleansers and creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving preparations; after
shave lotions and creams; and the mark has been continuously used in commerce for five (5) consecutive years after the date of registration, or
the date of publication under Section 12(c), and is still in use in commerce on or in connection with all goods/all services, or to indicate
membership in the collective membership organization, listed in the existing registration for this class. Also, no final decision adverse to the
owner's claim of ownership of such mark for those goods/services, or to indicate membership in the collective membership organization, exists,
or to the owner's right to register the same or to keep the same on the register; and, no proceeding involving said rights pending and not disposed
of in either the U.S. Patent and Trademark Office or the courts exists.

The owner is submitting one(or more) specimen(s) for this class showing the mark as used in commerce on or in connection with any item in this
class, consisting of a(n) pages from registrant's online store.
Specimen File1
Specimen File2

The applicant's current attorney information: Tsan Abrahamson. Tsan Abrahamson of Cobalt LLP, is located at

     Building A21
     918 Parker Street
     Berkeley, California 94710
     United States

The phone number is 510-841-9800.

The fax number is 510-295-2401.

The email address is trademarks@cobaltlaw.com

The applicants proposed attorney information: Travis Manfredi. Other appointed attorneys are Tsan Abrahamson, Jessica Tam. Travis Manfredi
of Cobalt LLP, is a member of the XX bar, admitted to the bar in XXXX, bar membership no. XXX, and the attorney(s) is located at

   1912 Bonita Avenue
   Berkeley, California 94704
   United States
The docket/reference number is THRIVE 03.

The phone number is 510-841-9800.

The fax number is 510-295-2401.

The email address is trademarks@cobaltlaw.com
      Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 60 of 195 Page ID #:8396



Travis Manfredi submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court of
a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.


The applicant's current correspondence information: Tsan Abrahamson. Tsan Abrahamson of Cobalt LLP, is located at

   Building A21
   918 Parker Street
   Berkeley, California 94710
   United States

The phone number is 510-841-9800.

The fax number is 510-295-2401.

The email address is trademarks@cobaltlaw.com

The applicants proposed correspondence information: Travis Manfredi. Travis Manfredi of Cobalt LLP, is located at

   1912 Bonita Avenue
   Berkeley, California 94704
   United States
The docket/reference number is THRIVE 03.

The phone number is 510-841-9800.

The fax number is 510-295-2401.

The email address is trademarks@cobaltlaw.com

A fee payment in the amount of $325 will be submitted with the form, representing payment for 1 class(es), plus any additional grace period fee,
if necessary.


                                                                   Declaration
    Iii




          Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in connection with the goods/services
          or to indicate membership in the collective membership organization identified above, as evidenced by the attached specimen(s).
    lil




          Unless the owner has specifically claimed excusable nonuse, the specimen(s) shows the mark as currently used in commerce on or in
          connection with the goods/services/collective membership organization.
    Iii




          The mark has been in continuous use in commerce for five consecutive years after the date of registration, or the date of publication
          under 15 U.S.C. § 1062(c), and is still in use in commerce on or in connection with all goods/services, or to indicate membership in the
          collective membership organization, listed in the existing registration.
    Iii




          There has been no final decision adverse to the owner's claim of ownership of such mark for such goods/services, or to indicate
          membership in the collective membership organization, or to the owner's right to register the same or to keep the same on the register.
    lil




          There is no proceeding involving said rights pending and not finally disposed of either in the United States Patent and Trademark Office
          or in a court.
    Iii




          To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
          allegations and other factual contentions made above have evidentiary support.
    lil




          The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
          1001, and that such willful false statements and the like may jeopardize the validity of this submission and the registration, declares that
          all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.

Signature: /Alex McIntosh/ Date: 01/12/2020
Signatory's Name: Alex McIntosh
Signatory's Position: Co-founder & CEO
Signatory's Phone: 510-841-9800
     Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 61 of 195 Page ID #:8397


Mailing Address (current):
 Cobalt LLP
 918 Parker Street
 Berkeley, California 94710

Mailing Address (proposed):
 Cobalt LLP
 1912 Bonita Avenue
 Berkeley, California 94704

Serial Number: 85980517
Internet Transmission Date: Mon Jan 13 03:24:42 EST 2020
TEAS Stamp: USPTO/S08N15-XXX.XXX.XX.XXX-202001130324
42552951-4467942-70089506a637a5f11e7a21c
91ba36278b2c7709282cbf3b6c28ddb2473a7a06
856-DA-24423788-20200109171007823724
Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 62 of 195 Page ID #:8398
 C   i Secure https://thrivecare .co/collections/all/shave-beard?sort_by=
               I




                                              PRODUCTS v     MISSION      POWERFUL PLANTS         SKIN HEALTH    BLOG      CONTACT                 SIGNIN   Q     ~O

              THRIVE"

                                                            All   Clean     Kits & Gifts      New Products   Restore     FMd=M■




             SUBSCRIBE

             SIGN UP for 15% off, info & exclusive
             deals


               Enter your email address ...



                                SIGN UP

                                                                                                                                        Shave & Shower Soap Bar

                                                                                                                                        *****        11 reviews
                                                                                                                                                $12.95
                                                            Grooming Oil - 1 fl. oz. (30ml)                   Shave & Restore Kit

                                                              *****    $16.95
                                                                              4 reviews                      ****-t?        8 reviews
                                                                                                                       $ 27.95
Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 63 of 195 Page ID #:8399
 C   i Secure https://thrivecare.co/collections/all/products/face-wash
               I




                                            PRODUCTS v     MISSION       POWERFUL PLANTS   SKIN HEALTH    BLOG    CONTACT                                      SIGNIN     Q   ~O

             THRIVE"
                                                                                                     FACE WASH - 3.38FL.OZ.(100ML)
                                                                                                     *****             158 reviews

                                                                                                     $11.65

                                                                                                         Subscribe and Save!

                                                                                                         @ ONE-TIME PURCHASE



                                                                                                         0 SUBSCRIBE &SAVE 15% ($ 9.90)




                                                                                                                                     ADD TO CART


                                                                                                     I    ProductDescription   ~I_o_u_,c_o_m_m_itm
                                                                                                                                                 _ e_n_
                                                                                                                                                      1 ,_ _ _ _ _ _ _ _ _ _ _


                                                                                                         This natural cleanser is an excellent start to your day or a great post-
                                                                                                         adventure refresh for your face. It removes dirt, SPF, oil , and sweat
                                                                                                         from your face, leaving it feeling clean, fresh, hydrated, and healthy. The
                                                                                                         plant-powered formula avoids drying the skin and keeps you looking
                                                                                                         vibrant throughout the day.


                                                                                                     Share0         0 ®@@
Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 64 of 195 Page ID #:8400



 ROUTING SHEET TO POST REGISTRATION (PRU)                                 Registration Number:        4467942




                                                                          Serial Number:       85980517



 RAM Sale Number: 4467942

 RAM Accounting Date: 20200113                                            Total Fees:          $325

       Note: Process in accordance with Post Registration Standard Operating Procedure (SOP)



 Transaction                         Fee      Transaction       Fee per     Number          Number of        Total
                                    Code         Date            Class     of Classes      Classes Paid       Fee


 §8 affidavit                       7205       20200113          $125            1                1          $125
 § 15 affidavit                     7208       20200113          $200            1                1          $200




 Physical Location: 700 - INTENT TO USE SECTION

 Lost Case Flag: False

 In TICRS (AM-FLG-IN-TICRS): True




                                                                          Transaction Date:       20200113
       Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 65 of 195 Page ID #:8401



From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Saturday, March 7, 2020 11:00 PM
To:                        trademarks@cobaltlaw.com
Subject:                   Official USPTO Notice of Acceptance/Acknowledgement Sections 8 and 15: U.S. Trademark RN 4467942: THRIVE: Docket/Reference No. THRIVE
                           03

U.S. Serial Number: 85980517
U.S. Registration Number: 4467942
U.S. Registration Date: Jan 14, 2014
Mark: THRIVE
Owner: THRIVE NATURAL CARE, INC.



                                                                                 Mar 7, 2020

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.

                                                NOTICE OF ACKNOWLEDGEMENT UNDER SECTION 15
The declaration of incontestability filed for the above-identified registration meets the requirements of Section 15 of the Trademark Act, 15 U.S.C. §1065. The Section 15
declaration is acknowledged.

The registration will remain in force for the class(es) listed below, unless canceled by an order of the Commissioner for Trademarks or a Federal Court, as long as
the requirements for maintaining the registration are fulfilled as they become due.

Class(es):
003




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




                                                         REQUIREMENTS FOR MAINTAINING REGISTRATION

WARNING: Your registration will be canceled if you do not file the documents below during the specified statutory time periods.

Requirements in the First Ten Years

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between the 9th and 10th years after the registration date.
See 15 U.S.C. §§1058, 1059.

Requirements in Successive Ten-Year Periods

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***THE USPTO IS NOT REQUIRED TO SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE OWNER SHOULD CONTACT THE USPTO
ONE YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To check the status of this registration, go to
https://tsdr.uspto.gov/#caseNumber=85980517&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=statusSearch or contact the Trademark Assistance
Center at 1-800-786-9199.

To view this notice and other documents for this registration on-line, go to
https://tsdr.uspto.gov/#caseNumber=85980517&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=documentSearch NOTE: This notice will only be
available on-line the next business day after receipt of this e-mail.

 *   For further information, including information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees,
     please consult the USPTO website at https://www.uspto.gov/trademark/ or contact the Trademark Assistance Center at 1-800-786-9199.
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         TRIAL EXHIBIT NO. 119
 Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 67 of 195 Page ID #:8403




                               THRIVE
Reg. No. 6,164,303                  Thrive Natural Care, Inc. (DELAWARE CORPORATION)
                                    42 Darrell Place
Registered Sep. 29, 2020            San Francisco, CALIFORNIA 94133

                                    CLASS 3: Body and non-medicated soaps and skin cleansing gels; non-medicated skin care
Int. Cl.: 3                         preparations, namely, facial lotions, cleansers and creams, oils for cosmetic use, skin
                                    moisturizers; cosmetic sun care preparations and sunscreens; shaving creams and gels; pre-
Trademark                           shaving preparations; after shave lotions and creams

Principal Register                  FIRST USE 9-5-2013; IN COMMERCE 9-5-2013

                                    THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                                    PARTICULAR FONT STYLE, SIZE OR COLOR

                                    SER. NO. 87-021,374, FILED 05-02-2016




    Director of the United States
    Patent and Trademark Office
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         REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

      WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
             DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


      Requirements in the First Ten Years*
      What and When to File:


          • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th
            and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted,
             the registration will continue in force for the remainder of the ten-year period, calculated from the
             registration date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


          • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and
            an Application for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C.
             §1059.


      Requirements in Successive Ten-Year Periods*
      What and When to File:

          • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
            between every 9th and 10th-year period, calculated from the registration date.*

      Grace Period Filings*

      The above documents will be accepted as timely if filed within six months after the deadlines listed above
      with the payment of an additional fee.

      *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
      an extension of protection to the United States under the Madrid Protocol must timely file the Declarations of
      Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
      (USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
      date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
      those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
      registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
      underlying international registration at the International Bureau of the World Intellectual Property
      Organization, under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of
      protection, calculated from the date of the international registration. See 15 U.S.C. §1141j. For more
      information and renewal forms for the international registration, see http://www.wipo.int/madrid/en/.

      NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
      USPTO website for further information. With the exception of renewal applications for registered
      extensions of protection, you can file the registration maintenance documents referenced above online
      at http://www.uspto.gov.

      NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
      owners/holders who authorize e-mail communication and maintain a current e-mail address with the
      USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
      Electronic Application System (TEAS) Correspondence Address and Change of Owner Address
      Forms available at http://www.uspto.gov.




                                               Page: 2 of 2 / RN # 6164303
Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 69 of 195 Page ID #:8405




         TRIAL EXHIBIT NO. 141
        Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 70 of 195 Page ID #:8406




thrive              verb
4D   Save Wo rd

\ 'thriv Q)   \
thrived or th rove \ 't hrov Q)   \; thrived   also th riven \ 'thri-van Q)   \ ; thriving   \
't hrI-Vir) Q) \

Definition of thrive
intransitive verb
1   : to grow vigorously: FLOUR ISH




                                                                                                 I                                        7
2   : to gain in wea lth or possessions: PROSPER                                                         WORD OF T HE DAY


3   : to progress toward or rea lize a goa l despite or beca use of circu mstance s -
    often used with on                                                                                  flexuous O
    II thrives on confl ict
                                                                                                 See De fi n i t ions a nd Ex amg les »


                                                                                                 Get w o r d or th e Day da ily ema il!
       Case
7/28/2021      2:20-cv-09091-PA-ASTHRIVE
                                     Document      174English
                                         (verb) American Filed    10/26/21
                                                              definition          Page
                                                                         and synonyms    71 of 195
                                                                                      | Macmillan         Page ID #:8407
                                                                                                  Dictionary


                                                                                                                       

        Search Macmillan Dictionary                                                                                 ​




    thrive             ​DEFINITIONS AND SYNONYMS             ​‌
    VERB INTRANSITIVE              US      /θraɪv/

    OTHER ENTRIES FOR THIS WORD                                                                                            +
    WORD FORMS                                                                                                             +
    DEFINITIONS 1



     1 to become very successful, happy, or healthy

          Children thrive when given plenty of love and attention.
          This type of plant thrives in cool conditions.


         Collocations and examples                                                                                  +


         Collocations and examples                                                                                  +


         Collocations and examples                                                                                  +


         Synonyms and related words                                                                                 +
                                                                                            Do Not Sell My
                                                                                         Personal Information

         Synonyms and related words
       This website uses cookies to enhance user experience and to analyze
                                                                                                                    +
       performance and traffic on our website. We also share information about your      Accept Cookies
       use of our site with our social media, advertising and analytics partners.
    PHRASAL VERBS                                                                                                          -
    thrive on
                                                                                                       TNC03101
https://www.macmillandictionary.com/us/dictionary/american/thrive                                                              1/3
       Case
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                                          THRIVE174       Filed
                                                | definition in the10/26/21     Page
                                                                    Cambridge English     72 of 195 Page ID #:8408
                                                                                      Dictionary


     thrive ..,,u _                                                                                               
                                                                                                                       




  Meaning of thrive in English
                                                                                                                      

     thrive
     verb [ I ]

     US    /θraɪv /       UK    /θraɪv /
     thrived or US also throve | thrived or US also thriven

                                                                                                                      

      C1

     to grow, develop, or be successful:

     • His business thrived in the years before the war.
     • She seems to thrive on stress.

     Synonyms
     burgeon literary
     prosper



       SMART Vocabulary: related words and phrases

           Succeeding, achieving and fulfilling
            A game
            accomplish
            achieve                                                                        Do Not Sell My
            acquit                                                                      Personal Information

            actualize
       This website uses cookies to enhance user experience and to analyze              Accept Cookies
           go (like/down)
       performance    and traffica on
                                   bomb    idiom We also share information about your
                                      our website.
       use go
           of our siteorbit
               into    with idiom
                            our social media, advertising and analytics
       partners. Privacy and Cookies Policy
            go places idiom
            go whole hog idiom
             Contents                                                                                     To top 
                                                                                                    TNC03104
https://dictionary.cambridge.org/us/dictionary/english/thrive                                                              1/7
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                                                                                      Dictionary


     thrive ..,,u _
  (Definition of thrive from the Cambridge Academic Content Dictionary © Cambridge University Press)
                                                                                                                             
                                                                                                                                  

     thrive | BUSINESS ENGLISH


     thrive
     verb [ I ]

     UK    /θraɪv /       US   
     thrived | thrived | US also throve | thriven

                                                                                                                                 

     to grow, develop, and become successful:

     • Industries such as water, telecoms, and insurance have been thriving.
     • thrive on sth Some employees thrive on the challenge of intense workloads.


  (Definition of thrive from the Cambridge Business English Dictionary © Cambridge University Press)



     EXAMPLES of thrive



     thrive
     In the end, the kids are thriving and the adults are more or less fine.
     From The Atlantic                                                                                                            

     For example, women who got divorced often thrived.
     From The Atlantic                                                                                                            


          More examples

     These examples are from corpora and from sources on the web. Any opinions in the examples do not represent the opinion of the
     Cambridge Dictionary editors or of Cambridge University Press or its licensors.
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       Translations
       This website uses of thrive
                         cookies to enhance user experience and to analyze                       Accept Cookies
       performance and traffic on our website. We also share information about your
        in Chinese
       use of our site(Traditional)
                       with our social media, advertising and analytics
       partners. Privacy and Cookies Policy
          茁壯成長, 興旺，繁榮…
                                                                                                                   See more
                                                                                                                                  
                                                                                                               TNC03106
https://dictionary.cambridge.org/us/dictionary/english/thrive                                                                         3/7
       Case
7/28/2021         2:20-cv-09091-PA-AS DocumentThrive
                                                174I Definition
                                                       Filedof10/26/21          Page 74 of 195 Page ID #:8410
                                                                Thrive at Dictionary.com


                        DICTIONARY.COM                                            THESAURUS.COM                 0
                                                                                                                c:a


                   DEFINITIONS     v       I thrive

                                   MEANINGS       GAMES       LEARN     WRITING   WORD OF THE DAY




          Top Definitions                   Synonyms          Quizzes        Related Content

          Vocab Builder                    Examples       British



                                            Save This Word!
              thrive
              [ thrahyv ]       SHOW IPA - ~          *
              See synonyms for: thrive / thrived / thrives / thriving on Thesaurus.com
                                                                                                                ~
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                                                                                                                LL


              verb (used without object), thrived or throve ,o [throhv], thrived or thriv·en
              •D [thriv-uhn], thriv·ing.
                   1   to prosper; be fortunate or successful.

                   2   to grow or develop vigorously; flourish :
                       The children thrived in the country.




              OTHER WORDS FOR THRIVE

              1         advance.

              See synonyms for thrive on Thesaurus.com




              QUIZ

              SPRINT TO THE FINISH WITH THIS OLYMPICS QUIZ!

                                                                                                    TNC03073
https://www.dictionary.com/browse/thrive                                                                             1/6
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         TRIAL EXHIBIT NO. 324
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From:                Sonia Sousa <srs0804@gmail.com>
Sent:                Monday, August 06, 2012 9:58 PM
To:                  Alex McIntosh
Subject:             Re: Notes from Thrive brainstorming


Hi Alex,

Great notes.

On our go dos we had d=scussed the goal to talk with 10 people ‐ 5 by the end of Aug and another = by the end of Sept.

I am working on the framework as a suggestion=for how to find and vet the companies. I will have a first draft tomorrow
=or your review.

I read the report I sent you last week, it was very disappointing on th= company list ‐ they have over 200 companies but
none from Costa Rica ‐ th=y did not list Natura in Brazil, which does not make sense. The more=than I thought about,
Cost Rica is a very interesting place as a source of=natural products ‐ I am totally on board.

I will circle back with you tomorrow on the draft.

Cheers




On Mon, Aug 6, 2012 at 6:0= PM, Alex McIntosh <alex.mcintosh@ecomundiventures.com> wrote:

 Hi Sonia=


 Attached are pics of each sheet from our brainstorming= It was a great session (even though it started a little rocky on
 Th=rs with the shrimp!), and I think there is a ton of opportunity here for u=.


 On the last page are our To‐Dos, which are a bit weak. =nbsp;Though since we were doing them at 11:15pm after 7
 hours of brainstor=ing, perhaps we get a bit of slack. In any case, my to‐d=s were to: a) topline the notes (see below);
 and b) send you copy of=the sheets (attached).


 Your next step was to send me your suggested str=tegy for identifying our "goldilocks company" (e.g. the company =hat
 is neither too big/expensive/sophisticated, nor too small/risky/withou= infrastructure, so that you and I could make a
 short list of 4‐5 prospect=ve companies asap, at least before Wednesday. Does that sound right?=/div>


 Here are topline points from our brainstorming:<=div>
 1) Our vision is to create a natural care product line called &qu=t;Thrive".


                                                              1
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2) Our brand promise is that the products =) work great/provide consumer with great use experience; b) and by their
e=istence, make the environment (esp the area from where the ingredients are=sourced) and the local community(ies)
(again, esp from the areas where the=ingredients are sourced) BETTER. We don't just reduce our impact, we=make the
consumers life, the environment, the community BETTER.
3) We discussed how the packaging, the channel/distribution, the "=story" would all reinforce this brand promise in
innovative and appea=ing ways.
4) We discussed how "place" of sourcing was =i>key to our product. I continue to believe that Costa Rica=offers a
GREAT opportunity for brand definition and differentiation in a c=uttered marketplace, at least for first
products. Relatedly, you enc=uraged us to think about innovation in the sourcing and communication of t=at sourcing
(your "foursquare" concept). I liked that.
5) We talked a lot about making our sourcing/production process more e=ficient (e.g. the concept formerly known as
"enhancing nature") =nd agreed that natural but innovative ways of extracting the ingredients a=d using the
byproducts of the ingredients would be essential: both f=r reducing our COGS, as well as in reducing our impact on the
environment.=/div>
6) We agreed that we were personally and professionally most aligned a=d interested in a starting course that had us
buying/investing in/becoming=controlling interests in...an existing natural care products company, and =hen building
out our Thrive concept from that baseline. The company = found in Costa Rica is a target to check out.
7) We outlined some rough next steps (see attached). My reco is =o look these over, see if anything else comes to your
mind. Then let=s talk about sketching out a business plan and timeline to really flesh ou= our idea.


Let me know your thoughts on above before we lose you t= relationship bliss mid‐week. Take care.
Alex McIntosh
Ecomundi Ventures
<=ont face="Optima" size="4">t: 203.249.7285
e:




=br>


=‐_
Sonia_R._Sousa
srs0804@gmail.com
650‐384‐5140


=




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PTO Form 1478 (Rev 9/2006)
OMB No. 0651-0009 (Exp 12/31/2014)


                                     Trademark/Service Mark Application, Principal Register
                                                               Serial Number: 85726058
                                                               Filing Date: 09/11/2012


                                                    The table below presents the data as entered.

                                           Input Field                                                 Entered
             SERIAL NUMBER                                                 85726058
             MARK INFORMATION
             *MARK                                                         THRIVE
             STANDARD CHARACTERS                                           YES
             USPTO-GENERATED IMAGE                                         YES
             LITERAL ELEMENT                                               THRIVE
                                                                           The mark consists of standard characters, without claim to any
             MARK STATEMENT
                                                                           particular font, style, size, or color.
             REGISTER                                                      Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                                                Ecomundi Ventures, LLC
             *STREET                                                       42 Darrell Place
             *CITY                                                         San Francisco
             *STATE
                                                                           California
             (Required for U.S. applicants)

             *COUNTRY                                                      United States
             *ZIP/POSTAL CODE
                                                                           94133
             (Required for U.S. applicants only)

             LEGAL ENTITY INFORMATION
             TYPE                                                          limited liability company
             STATE/COUNTRY WHERE LEGALLY ORGANIZED                         Connecticut
             GOODS AND/OR SERVICES AND BASIS INFORMATION
             INTERNATIONAL CLASS                                           003
                                                                           Personal care products for cosmetic use, namely, hair
                                                                           shampoos and conditioners, hair styling preparations; body and
                                                                           hand washes, soaps and gels; non-medicated skin care
                                                                           preparations, namely facial lotions, cleansers and creams, body
                                                                           lotions, creams and oils for cosmetic use, skin moisturizers;
             *IDENTIFICATION                                               cosmetic sun care preparations and sunscreens; lip creams and
                                                                           balms; antiperspirants and deodorants for personal use; shaving
                                                                           creams and gels; pre-shaving preparations; after shave lotions
                                                                           and creams; non-medicated baby care products, namely baby
                                                                           lotions, creams, body cleansers, shampoos, gels and washes,
                                                                           diaper rash creams and ointments
             FILING BASIS                                                  SECTION 1(b)
Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 80 of 195 Page ID #:8416


 ATTORNEY INFORMATION
 NAME                                    John W. Crittenden
 ATTORNEY DOCKET NUMBER                  313705-20000
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 STATE                                   District of Columbia
 COUNTRY                                 United States
 ZIP/POSTAL CODE                         20001
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 FAX                                     415 693 2222
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                                         Janet L. Cullum, Anne H. Peck, Peter J. Willsey, Vincent J.
                                         Badolato, Todd S. Bontemps, Bryan J. Boyle, Morgan A.
                                         Champion, Susan Piascik Christoff, Heather Dunn Navarro,
                                         Angela Dunning, Kathryn Duvall, Aaron M. Fennimore,
 OTHER APPOINTED ATTORNEY
                                         Ariana Gallisá Hiscott, Brendan J. Hughes, Carolyn V. Juarez,
                                         Nishan Kottahachchi, Katie Krajeck, Lori Mayall, Jeffrey T.
                                         Norberg, John P. Oleksiuk, Kathlyn Querubin, and Karen K.
                                         Won
 CORRESPONDENCE INFORMATION
 NAME                                    John W. Crittenden
 FIRM NAME                               Cooley LLP
 STREET                                  777 6th Street NW, Suite 1100
 CITY                                    Washington
 STATE                                   District of Columbia
 COUNTRY                                 United States
 ZIP/POSTAL CODE                         20001
 PHONE                                   415 693 2090
 FAX                                     415 693 2222
 EMAIL ADDRESS                           trademarks@cooley.com
 AUTHORIZED TO COMMUNICATE VIA EMAIL     Yes
 FEE INFORMATION
 NUMBER OF CLASSES                       1
 FEE PER CLASS                           325
 *TOTAL FEE DUE                          325
 *TOTAL FEE PAID                         325
 SIGNATURE INFORMATION
 SIGNATURE                               /Alex G. McIntosh/
Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 81 of 195 Page ID #:8417


 SIGNATORY'S NAME                        Alex G. McIntosh
 SIGNATORY'S POSITION                    Chief Executive Officer
 DATE SIGNED                             09/11/2012
         Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 82 of 195 Page ID #:8418

PTO Form 1478 (Rev 9/2006)
OMB No. 0651-0009 (Exp 12/31/2014)




                                     Trademark/Service Mark Application, Principal Register

                                                             Serial Number: 85726058
                                                             Filing Date: 09/11/2012
To the Commissioner for Trademarks:

MARK: THRIVE (Standard Characters, see mark)
The literal element of the mark consists of THRIVE.
The mark consists of standard characters, without claim to any particular font, style, size, or color.

The applicant, Ecomundi Ventures, LLC, a limited liability company legally organized under the laws of Connecticut, having an address of
   42 Darrell Place
   San Francisco, California 94133
   United States


requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

     International Class 003: Personal care products for cosmetic use, namely, hair shampoos and conditioners, hair styling preparations; body
and hand washes, soaps and gels; non-medicated skin care preparations, namely facial lotions, cleansers and creams, body lotions, creams and
oils for cosmetic use, skin moisturizers; cosmetic sun care preparations and sunscreens; lip creams and balms; antiperspirants and deodorants for
personal use; shaving creams and gels; pre-shaving preparations; after shave lotions and creams; non-medicated baby care products, namely baby
lotions, creams, body cleansers, shampoos, gels and washes, diaper rash creams and ointments
Intent to Use: The applicant has a bona fide intention to use or use through the applicant's related company or licensee the mark in commerce on
or in connection with the identified goods and/or services. (15 U.S.C. Section 1051(b)).


The applicant's current Attorney Information:
   John W. Crittenden and Janet L. Cullum, Anne H. Peck, Peter J. Willsey, Vincent J. Badolato, Todd S. Bontemps, Bryan J. Boyle, Morgan A.
Champion, Susan Piascik Christoff, Heather Dunn Navarro, Angela Dunning, Kathryn Duvall, Aaron M. Fennimore, Ariana Gallisá Hiscott,
Brendan J. Hughes, Carolyn V. Juarez, Nishan Kottahachchi, Katie Krajeck, Lori Mayall, Jeffrey T. Norberg, John P. Oleksiuk, Kathlyn
Querubin, and Karen K. Won of Cooley LLP
   777 6th Street NW, Suite 1100
   Washington, District of Columbia 20001
   United States
The attorney docket/reference number is 313705-20000.
The applicant's current Correspondence Information:
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   Cooley LLP
   777 6th Street NW, Suite 1100
   Washington, District of Columbia 20001
   415 693 2090(phone)
   415 693 2222(fax)
   trademarks@cooley.com (authorized)

A fee payment in the amount of $325 has been submitted with the application, representing payment for 1 class(es).

                                                                     Declaration

The undersigned, being hereby warned that willful false statements and the like so made are punishable by fine or imprisonment, or both, under
18 U.S.C. Section 1001, and that such willful false statements, and the like, may jeopardize the validity of the application or any resulting
registration, declares that he/she is properly authorized to execute this application on behalf of the applicant; he/she believes the applicant to be
the owner of the trademark/service mark sought to be registered, or, if the application is being filed under 15 U.S.C. Section 1051(b), he/she
believes applicant to be entitled to use such mark in commerce; to the best of his/her knowledge and belief no other person, firm, corporation, or
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association has the right to use the mark in commerce, either in the identical form thereof or in such near resemblance thereto as to be likely,
when used on or in connection with the goods/services of such other person, to cause confusion, or to cause mistake, or to deceive; and that all
statements made of his/her own knowledge are true; and that all statements made on information and belief are believed to be true.

Declaration Signature

Signature: /Alex G. McIntosh/ Date: 09/11/2012
Signatory's Name: Alex G. McIntosh
Signatory's Position: Chief Executive Officer
RAM Sale Number: 2623
RAM Accounting Date: 09/12/2012

Serial Number: 85726058
Internet Transmission Date: Tue Sep 11 15:50:40 EDT 2012
TEAS Stamp: USPTO/BAS-XX.XXX.XX.XXX-2012091115504035
3230-85726058-4907aa97e47411f992f4dbb30f
a268694-DA-2623-20120911143417971173
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    Accelerate the Change   .ntures                                                                                                                                                                                     1




                Alex & Andrea discuss
                A new model for
                personal care business
               Costa Rica

               20 November 2012


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                                                                                                                                                          Can personal care
                                                                                                                                                          products offer high
                                                                                                                                                          performance, avoid
                                                                                                                                                          unhealthy synthetic
                                                                                                                                                          ingredients, and be sold at
                                                                                                                                                          an attractive price?

                                                                                                                                                          Can business do more
                                                                                                                                                          than ‘extract’? Can it also
                                                                                                                                                          restore our planet?

                                                                                                                                                          Can the wisdom of
                                                                                                                                                          indigenous communities
                                                                                                                                                          help us live healthier
                                                                                                                                                          lives?

                                                                                                                                                          Can a natural care product
                                                                                                                                                          be sexy, fun, and
                                                                                                                                                          exciting?


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                                                                                     thrive as the new
                                                                                     model
                                                                                    Nature’s axiom is that “life creates the conditions
                                                                                    conducive to other life”

                                                                                    Nature’s tendency is to thrive: to be restorative,
                                                                                    generative, flourishing
    --------------------------------------------------------------------------1'


                                                                                    Our generation’s challenge is to reshape business
                                                                                    from an extractive endeavor to one that creates
                                                                                    conditions of thriving



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                                                                                 Thrive
                                                                                                                                           TM




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                                                  Thrive           Costa Rica
                                                                                                      TM




                                                                                     Ecomundi_00010
                                                                                         Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 92 of 195 Page ID #:8428
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        Accelerate the Change    _ntures                                                                                                                                                                                             7    '
                      ------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------- I




                 natural care market opportunity                                                                Market Dynamics


al personal care segment continues to remain undeterred by the
 slowdown
                 Natural
lobal Manufacturers’        Care
                     Sales of      Manufactures’
                              the Natural             Sales
                                          Personal Care Market,
                Growing      Rapidly Around the Globe
                         2005-2010


0, sales grow
om 2009 to
USD 23 billion




                                                                                                                                        US market CAGR 11%+; will reach > $6b by
tent growth
cross regions
                                                                                                                                  •••
 has been
ncing double-
                                                                                                                                        2015
owth since 2005



                                           2005       2006        2007       2008        2009       2010
                                                                                                                                  •••   Favorable long-term drivers
                                    NOTE: All data in manufacturers’ sales, unless otherwise indicated; manufacturers’
                                    sales refers to the price received by the marketer before distributor and/or retail
                                    markups. The above figure includes sales from four key regions: the United States,
                                                                                                                                         • increased consumer demand
                                                                                                                                         • demographics (aging boomers, rising incomes int’l)
                                    Europe, Asia, and Brazil. Rest of the world sales are included.

                                Attracting Investors and New Brands
                                               © 2011 Kline & Company
                                                                                                                              3




                                                                {                                                                 •••   Fueling M&A and many new market entrants



                      Yes
                                C,)            COLGATE-PALMOLIVE
                                                                                                        {
                       T()
                       cucumbers                                                Ow
    ~------------------------------------------------------------------------------------ ---------------------------------------------------------------------------------------------------------------------------------------~'
    '
    '
    '                                                                                                                                                                                            Ecomundi_00011                   '
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          yet a consumer/retail gap remains




                                                          I
    ------------------------------------------------------~------------------------------------------------------1------------------------------------------------------~ ------------------------------------------------------



         poor product                                          absence of                                             greenwashing &                                          high price
         performance                                           compelling and                                         “natural pretenders”
                                                               unique brand
                                                               personality

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                                                                        Thrive vision
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     Accelerate the Change   .ntures                                                                                                                                                                                    10




              Thrive value proposition                              TM


                                       Thrive




                                                cradlet, cradle


    ------------------------------------------------------------------------,-------------------------------------------------------------------------r-------------------------------------------------------------------------


        A high-performance, truly                                              Offers people a better way to                                              Operates Impact Positive
        natural brand of personal                                                   •   look great                                                            •   restore the planet
        care product born in the                                                    •   be healthy                                                            •   improve indigenous livelihoods
        world’s most idyllic place                                                  •   have fun living bigger than the                                       •   role model for 21st century
                                                                                        traditional “consumer” role                                               business
~----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------~
                                                                                                                                                                                             Ecomundi_00014
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                                                     Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 96 of 195 Page ID #:8432
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             Thrive strategy                                      TM




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                                                                                     why Costa Rica?
                                                                                     Extraordinary abundance of flora, including more
                                                                                     than 9,000 species of higher plants

                                                                                     International reputation for natural beauty, spas
                                                                                     and eco-adventure

                                                                                     Inspiring national initiatives have made country
    --------------------------------------------------------------------------1'
                                                                                     “the Switzerland of the Americas”: disbanded
                                                                                     army in1950’s; 25% of country set aside as
                                                                                     protected parks; 2021 carbon neutral goal

                                                                                     Continually ranks #1 or #2 in citizen happiness
                                                                                     vs rest of world
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                    Thrive execution                                 TM


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Founding Team
Alex McIntosh, co-founder                                                                                 Andrea Becerra, co-founder

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                  TheNature
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                            NORTH AMERICA
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                                                         Accelerate the Change




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                                                              Yale School of Forestry
                                                                                            you need to send me your
                                                                                            updated pic
                  Conservancy                      =--
                   Protecting nature. Preserving life~
                                                         ¥    &Environmental Studies



 Ecomundi Ventures                                                                                          Aromas para el Alma
 Impact investment fund focused on water, launched 2010                                                     Founder and director of leading Costa Rican natural care company
 »   Raised seed capital, formed team, diligence on >840 emerging water co!s                                »   Launched seven years ago; all natural ingredients manufactured in CR
 »   Board Director, Clearwater Systems, Inc, (10 yr old company with 5k                                    »   Over 40 products now sold in major CR grocery, natural foods stores;
     installations around world of its chemical-free water treatment technology)                                spas; two stand alone retail stores

 Nestlé Waters
                                                                                                            »   Large network of suppliers, vendors; formulation expertise
 Former executive with $4B division of world!s largest consumer water company                               »   FY 2011 sales >150M colones; cash flow positive

 »   Vision, strategic plan, hands-on leadership building Nestlé Waters! first                              Universitaria y Otro Educacion
     sustainability program from ground up
                                                                                                            » Bachillerato en Antropología con énfasis en antropología social,
 »   Catalyzed the corporation!s 8,500 person corporate sustainability                                         Universidad de Costa Rica
     performance to assume position of recognized industry leadership                                       » Bach Flower Practitioner: (Programa Internacional de Educación de Flores
                                                                                                               de Bach).
 The Nature Conservancy
                                                                                                            » Certificación en Aromaterapia. Instituto Argentino de Terapias Naturales.
 » Directed volunteer and staff efforts to help secure record $75MM in private                              » Actualmente: Certificación en Aromaterapia Sutil
    capital for the two largest watershed conservation projects in TNC history
                                                                                                            » Curso de Aromaterapia (Instituto Argentino de Terapias Naturales)
 »   Vision, strategic plan, leadership of 9-person fundraising team that                                   » Curso de Destilación de Aceites Esenciales (Finca Ipe)
     increased revenue 1,250% over four years and completed most successful                                 » Curso de Cosmetología Natural (Instituto Deon)
     corporate conservation campaign in state history                                                       » Curso de Agricultura Orgánica (INA)
                                                                                                            » Curso de Plantas Medicinales y Aromáticas (INA)
 Other Environmental Leadership
                                                                                                            » Curso de Introducción a Vitrales (INA)
 » Co-developed an ecotourism business & funding model for nation of                                        » Curso de Astronomía (UCR).
    Gabon
                                                                                                            » Miembro del grupo de mujeres emprendedoras Pathways to Prosperity
 »   Created 5-year business plan for Big Bend National Park                                                   iniciado por Hillary Clinton
 »   Judge: Cleantech Group!s Global 100; Global Social Venture Competition;                                » Congreso de Women Leadership and Entrepeneurship, Washington DC y
     Global Cleantech Cluster Assn, Net Impact                                                                 Nueva Cork.
                                                                                                            » Congreso y Feria Biofach y Vivaness de Cosméticos Orgánicos y
 Education                                                                                                     Naturales, Alemania
 Yale University, Master!s degree (with honors) in environmental management                                 » Congreso de Agroecología Biodinámica, Universidad EARTH
 Duke University, B.A. (with honors); Trinity Scholar

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             operational advisors
                                                                                                                                    Dr. Florencia Montagnini
                                      Art Georgalas                                                                                 Ecosystem Restoration & Costa Rican Biome
                                      Formulation & Regulatory Advisor                                                              Advisor
    Art’s career spans more than forty years in personal and natural care                                           Professor Montagnini teaches courses at Yale’s Environmental School in
    product formulation and applied research at a number of leading cosmetic                                        tropical forest ecology and management, soil science, agroforestry, and
    manufacturers, including Revlon, Charles of the Ritz, and LaMaur/                                               restoration ecology. She also holds honorary professorships at several
    DowBrands. Art is a leading contributor to various trade journals,                                              universities in Latin America. Dr. Montagnini has written eight books on
    including Cosmetics & Toiletries magazine and has presented at many                                             agroforestry systems and ecological restoration, including a major
    technical and trade conferences. Art earned a Masters in Pharmaceutics                                          textbook in tropical forest ecology and management, and 200 scientific
    with a specialty in Cosmetic Science at the Arnold and Marie Schwartz                                           articles in international refereed journals.
    College of Pharmacy and Health Sciences of Long Island University. As an
    adjunct professor, Art instructs classes in product development and                                             Professor Montagnini’s research focuses on Latin American sustainable
    applied colloid chemistry at Fairleigh Dickinson University.                                                    land use systems that integrate ecological principles with economic, social,
                                                                                                                    and political factors; the principles and applications of forest landscape
                                                                                                                    restoration; the reforestation of degraded lands with native species;
                                                                                                                    identification and quantification of ecological services provided by forest
                                                                                                                    ecosystems; organic farming using indigenous resources; Payments for
                                                                                                                    Environmental Services as tools to promote restoration, conservation, and
                                                                                                                    rural development. In her research, she collaborates with institutions
                                      Jane O’Reilly                                                                 such as CATIE (Tropical Agriculture Research and Higher Education Center,
                                                                                                                    Costa Rica), as well as with universities and other academic, private and
                                      Branding & Marketing Advisor                                                  government institutions in Argentina, Brazil, Colombia, Costa Rica,
    Jane’s 25-year career in beauty and marketing includes senior positions at                                      Mexico, and Panama. She is a Senior Fellow of ECPA, Energy and Climate
    Conde Nast, Time Inc, and she is currently Creative Marketing Director at                                       Partners of the Americas, of the U.S. Department of State.
    Travel & Leisure magazine. Jane has created hundreds of high-impact,
    award-winning brand and marketing communications via ad campaigns,
    branded content, digital integration; collateral materials; integrated                                           pls send me photos/bios for christina and carlos
    programs and video production.                                                                                   (assuming that you still want them working on this
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             strategy advisors


                                             Kim E. Jeffery                                                                                                Roger Milliken, Jr.
                                                                                                                                                           President, Baskahegan Co.
                                             President & CEO
                                                                                                                                                           Director, Milliken Enterprises, Inc.
                                             Nestle Waters North America
                                                                                                                                                           Former Chair, Nature Conservancy

    Kim Jeffery is President and Chief Executive Officer of Nestlé Waters                                         Roger Milliken, Jr. is president of the Baskahegan Company, which owns and
    North America Inc. based in Stamford, Connecticut. He oversees the                                            manages 100,000 acres of forestland in eastern Maine and is known for its
    largest bottled water company in North America with 8,500 employees,                                          commitment to managing for timber while respecting the dynamics of natural
    27 plants, and more than 100 facilities. Mr. Jeffery joined the Company                                       systems. Roger has served on the The Nature Conservancy’s board of
    in 1978 and assumed the Company’s top position in 1992. With sales of                                         directors since 2000, chairing its conservation committee from 2005-2008,
    more than $4.2 billion in 2008, the Company holds seven of the top ten                                        and was named chairman of the organization’s global board of directors in
    U.S. water brands Throughout his tenure, he has made environmental                                            October 2008. Milliken also chairs the advisory board of the Manomet Forest
    stewardship a priority and has been an industry leader in building green                                      Conservation Program, is an advisor to the Open Space Institute’s Northern
    plants, reducing water use, protecting natural lands, and reducing raw                                        Forest Protection Fund, and served on the board of the Land for Maine’s
    material usage. Additionally, Mr. Jeffery launched a decade-long                                              Future program for nine years. From 1994 to 1999, Milliken co-founded and
    partnership with The Nature Conservancy and as part of his personal                                           later chaired the Maine Forest Biodiversity Project, a 100+ person
    commitment to the environment. Mr. Jeffery serves on the Executive                                            collaborative which later supported successful legislation to establish 100,000
    Board of American Beverage Association and the Board of Keep America                                          acres of ecological reserve on state lands. From 1986 to 1996, Milliken was
    Beautiful. He is also currently on the Board of Directors for Kendall                                         the director of the Maine Forest Products Council. Milliken is a 1975 graduate
    Jackson Wine Estates and Stew Leonards Retail Food Stores.                                                    of Harvard University, and is currently writing a book about his lifelong
                                                                                                                  exploration of right relationship with land.
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                                                                                                                      timeline
                                                                                                                      Completed: founding team, plan,
                                                                                                                      market/customer research, basic
                                                                                                                      unit economics, recruit core
                                                                                                                      advisors/partners in CR & US

                                                                                                                      4Q 2012: formulation profiles,
                                                                                                                      target plant species, CR suppliers,
                                                                                                                      research & NGO partners; priority
                                                                                                                      conservation targets; contract
                                                                                                                      manufacturer

                                                                                                                      1Q2013: seed funding, beta
                                                                                                                      formulation and packaging

                                                                                                                      2Q2013: secure core U.S. channel
                                                                                                                      partners & distribution, finalize
                                                                                                                      supply chain and back office
                                                                                                                      partners

                                                                                                                      3-4Q2014: Series A round, co-
                                                                                                                      marketing, manufacturing and
                                                                                                                      distribution
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                                                                           Andrea Becerra                                     Alex McIntosh

                contact:                                                   Aromas para el Alma
                                                                           (506) 2203-1541
                                                                           andrea@aromas.co.cr
                                                                                                                              Ecomundi Ventures
                                                                                                                              203.249.7285
                                                                                                                              alex.mcintosh@ecomundiventures.com



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      TRIAL EXHIBIT NO. 319
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                                              Thrive
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                                                              Costa Rica
                                            prepared for Tammy E. Newmark
                                                                             CONFIDENTIAL
                                             EcoEnterprise Fund
                                                                          pls do NOT distribute
                                            15 November 2012
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             summary vs EE fund criteria
             •••            Geographic location: Costa Rica

             •••            Industry sector: natural care products via
                            sustainable ag (organic and biodynamic); NTFP;
                            ecosystem restoration

             •••            Company profile: emerging for-profit enterprise;
                            founding team with successful track record in
                            target sectors; notable advisors backing project

             •••            Investment: not requesting now; seed round
                            1Q2013; Series A round 4Q2013

               Environmental & social impact: improved
             •••
               conservation value of degraded ag landscapes;
               broad collaboration with rural and indigenous
               communities; organic/ECOCERT certifications;
I              improved consumer health
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                 natural care market opportunity                                                                Market Dynamics


al personal care segment continues to remain undeterred by the
 slowdown
                 Natural
lobal Manufacturers’        Care
                     Sales of      Manufactures’
                              the Natural             Sales
                                          Personal Care Market,
                Growing      Rapidly Around the Globe
                         2005-2010


0, sales grow
om 2009 to
USD 23 billion



tent growth
cross regions                                                                                                                     •••   Target US market CAGR 11%+; will reach > $6b
                                                                                                                                        by 2015
 has been
ncing double-
owth since 2005


                                                                                                                                  •••   Favorable long-term drivers
                                                                                                                                         • increasing consumer demand for naturals vs synthetics
                                           2005       2006        2007       2008        2009       2010

                                    NOTE: All data in manufacturers’ sales, unless otherwise indicated; manufacturers’


                                                                                                                                         • media focus
                                    sales refers to the price received by the marketer before distributor and/or retail
                                    markups. The above figure includes sales from four key regions: the United States,
                                    Europe, Asia, and Brazil. Rest of the world sales are included.

                                Attracting Investors and New Brands
                                               © 2011 Kline & Company
                                                                                                                              3          • demographics (aging boomers, rising incomes int’l)

                                                                {                                                                 •••   Fueling M&A and new market entrants


                      Yes
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                       cucumbers                                                Ow
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          yet a consumer/retail gap remains




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         poor product                                          absence of                                             greenwashing &                                          high price
         performance                                           compelling and                                         “natural pretenders”
                                                               unique brand
                                                               personality

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                                                                                what motivates us
                                                                                 Resource depletion: in Costa Rica <15% of
~--------------------------------------------------------------------------1'    original forests remain while 70% of its food is
                                                                                 imported

                                                                                 Human health: more than 90% of personal care
                                                                                 products contain synthetic ingredients known to
                                                                                 be dangerous to health and the environment

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                                                                                 Innovation: the modern eco-efficiency paradigm
                                                                                 of “being less bad” won’t get us to Good. Or
                                                                                 Healthy. Or Happy.

                                                                                 Entrepreneurship: building a hugely successful
                                                                                 business by giving our customers a better product

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                                                                                   thrive as our paradigm
                                                                                    Nature’s axiom is that “life creates the conditions
                                                                                    conducive to other life”

                                                                                    Nature’s tendency is to thrive: to be restorative,
                                                                                    generative, flourishing
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                                                                                    Our generation’s challenge is to reshape business
                                                                                    from an extractive endeavor to a restorative
                                                                                    process that creates conditions of thriving



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              Thrive value proposition                                 TM


                                       Thrive




                                                cradlet, cradle


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        A high-performance, truly                                               Offers consumers a better                                                 Operates Impact Positive
        natural brand of personal                                               way to
                                                                                                                                                              •   Ecosystem restoration
        care product born in the                                                    •   look great                                                            •   improve indigenous livelihoods
        world’s most idyllic place                                                  •   be healthy                                                            •   role model for 21st century
                                                                                    •   Connect to something bigger                                               business
        and sold in the U.S.                                                            than stuff in a plastic bottle
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                                                     Peine de Mico




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                                                                                                                                                               partners


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             launch and growth strategy
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                                                                                     why Costa Rica?
                                                                                     Extraordinary abundance of flora, including more
                                                                                     than 9,000 species of higher plants

                                                                                     Strong agricultural, academic, private sector
                                                                                     networks supportive of organic farming,
                                                                                     bioprospecting, sustainable business models

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                                                                                     Brand value: int’l reputation for natural beauty,
                                                                                     spas, eco-adventure; inspiring national initiatives
                                                                                     (disbanded army, 25% of country set aside as
                                                                                     protected parks; 2021 carbon neutral goal);
                                                                                     continually ranks #1 or #2 in citizen happiness vs
                                                                                     rest of world

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            Founding Team
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                Alex McIntosh, co-founder                                                                                       Andrea Becerra, co-founder

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                                                                          Accelerate the Change




                                                                          m    Yale School of Forestry
                                  Conservancy                      _=-:
                                   Protecting nature. Preserving life.
                                                                          ¥    &Environmental Studies



                 Ecomundi Ventures                                                                                                Aromas para el Alma
                 Impact investment fund focused on water, launched 2010                                                           Founder and director of leading Costa Rican natural care company
                 »   Raised seed capital, formed team, diligence on >840 emerging water co!s                                      »   Launched seven years ago; all natural ingredients manufactured in CR
                 »   Board Director, Clearwater Systems, Inc, (10 yr old company with 5k                                          »   Over 40 products now sold in major CR grocery, natural foods stores;
                     installations around world of its chemical-free water treatment technology)                                      spas; two stand alone retail stores

                 Nestlé Waters
                                                                                                                                  »   Large network of suppliers, vendors; formulation expertise
                 Former executive with $4B division of world!s largest consumer water company                                     »   FY 2011 sales >150M colones; cash flow positive

                 »   Vision, strategic plan, hands-on leadership building Nestlé Waters! first                                    Universitaria y Otro Educacion
                     sustainability program from ground up
                                                                                                                                  » Bachillerato en Antropología con énfasis en antropología social,
                 »   Catalyzed the corporation!s 8,500 person corporate sustainability                                               Universidad de Costa Rica
                     performance to assume position of recognized industry leadership                                             » Bach Flower Practitioner: (Programa Internacional de Educación de Flores
                                                                                                                                     de Bach).
                 The Nature Conservancy
                                                                                                                                  » Certificación en Aromaterapia. Instituto Argentino de Terapias Naturales.
                 » Directed volunteer and staff efforts to help secure record $75MM in private                                    » Actualmente: Certificación en Aromaterapia Sutil
                    capital for the two largest watershed conservation projects in TNC history
                                                                                                                                  » Curso de Aromaterapia (Instituto Argentino de Terapias Naturales)
                 »   Vision, strategic plan, leadership of 9-person fundraising team that                                         » Curso de Destilación de Aceites Esenciales (Finca Ipe)
                     increased revenue 1,250% over four years and completed most successful                                       » Curso de Cosmetología Natural (Instituto Deon)
                     corporate conservation campaign in state history                                                             » Curso de Agricultura Orgánica (INA)
                                                                                                                                  » Curso de Plantas Medicinales y Aromáticas (INA)
                 Other Environmental Leadership
                                                                                                                                  » Curso de Introducción a Vitrales (INA)
                 » Co-developed an ecotourism business & funding model for nation of                                              » Curso de Astronomía (UCR).
                    Gabon
                                                                                                                                  » Miembro del grupo de mujeres emprendedoras Pathways to Prosperity
                 »   Created 5-year business plan for Big Bend National Park                                                         iniciado por Hillary Clinton
                 »   Judge: Cleantech Group!s Global 100; Global Social Venture Competition;                                      » Congreso de Women Leadership and Entrepeneurship, Washington DC y
                     Global Cleantech Cluster Assn, Net Impact                                                                       Nueva Cork.
                                                                                                                                  » Congreso y Feria Biofach y Vivaness de Cosméticos Orgánicos y
                 Education                                                                                                           Naturales, Alemania
                 Yale University, Master!s degree (with honors) in environmental management                                       » Congreso de Agroecología Biodinámica, Universidad EARTH
                 Duke University, B.A. (with honors); Trinity Scholar
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             operational advisors
                                                                                                                                         Dr. Florencia Montagnini
                                      Art Georgalas                                                                                      Ecosystem Restoration & Costa Rican Biome
                                      Formulation & Regulatory Advisor                                                                   Advisor
    Art’s career spans more than forty years in personal and natural care                                           Professor Montagnini teaches courses at Yale’s Environmental School in
    product formulation and applied research at a number of leading cosmetic                                        tropical forest ecology and management, soil science, agroforestry, and
    manufacturers, including Revlon, Charles of the Ritz, and LaMaur/                                               restoration ecology. She also holds honorary professorships at several
    DowBrands. Art is a leading contributor to various trade journals,                                              universities in Latin America. Dr. Montagnini has written eight books on
    including Cosmetics & Toiletries magazine and has presented at many                                             agroforestry systems and ecological restoration, including a major
    technical and trade conferences. Art earned a Masters in Pharmaceutics                                          textbook in tropical forest ecology and management, and 200 scientific
    with a specialty in Cosmetic Science at the Arnold and Marie Schwartz                                           articles in international refereed journals.
    College of Pharmacy and Health Sciences of Long Island University. As an
    adjunct professor, Art instructs classes in product development and                                             Professor Montagnini’s research focuses on Latin American sustainable
    applied colloid chemistry at Fairleigh Dickinson University.                                                    land use systems that integrate ecological principles with economic, social,
                                                                                                                    and political factors; the principles and applications of forest landscape
                                                                                                                    restoration; the reforestation of degraded lands with native species;
                                                                                                                    identification and quantification of ecological services provided by forest
                                                                                                                    ecosystems; organic farming using indigenous resources; Payments for
                                                                                                                    Environmental Services as tools to promote restoration, conservation, and
                                                                                                                    rural development. In her research, she collaborates with institutions
                                      Jane O’Reilly                                                                 such as CATIE (Tropical Agriculture Research and Higher Education Center,
                                                                                                                    Costa Rica), as well as with universities and other academic, private and
                                      Branding & Marketing Advisor                                                  government institutions in Argentina, Brazil, Colombia, Costa Rica,
    Jane’s 25-year career in beauty and marketing includes senior positions at                                      Mexico, and Panama. She is a Senior Fellow of ECPA, Energy and Climate
    Conde Nast, Time Inc, and she is currently Creative Marketing Director at                                       Partners of the Americas, of the U.S. Department of State.
    Travel & Leisure magazine. Jane has created hundreds of high-impact,
    award-winning brand and marketing communications via ad campaigns,
    branded content, digital integration; collateral materials; integrated
    programs and video production.
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             strategy advisors


                                             Kim E. Jeffery                                                                                                Roger Milliken, Jr.
                                                                                                                                                           President, Baskahegan Co.
                                             President & CEO
                                                                                                                                                           Director, Milliken Enterprises, Inc.
                                             Nestle Waters North America
                                                                                                                                                           Former Chair, Nature Conservancy

    Kim Jeffery is President and Chief Executive Officer of Nestlé Waters                                         Roger Milliken, Jr. is president of the Baskahegan Company, which owns and
    North America Inc. based in Stamford, Connecticut. He oversees the                                            manages 100,000 acres of forestland in eastern Maine and is known for its
    largest bottled water company in North America with 8,500 employees,                                          commitment to managing for timber while respecting the dynamics of natural
    27 plants, and more than 100 facilities. Mr. Jeffery joined the Company                                       systems. Roger has served on the The Nature Conservancy’s board of
    in 1978 and assumed the Company’s top position in 1992. With sales of                                         directors since 2000, chairing its conservation committee from 2005-2008,
    more than $4.2 billion in 2008, the Company holds seven of the top ten                                        and was named chairman of the organization’s global board of directors in
    U.S. water brands Throughout his tenure, he has made environmental                                            October 2008. Milliken also chairs the advisory board of the Manomet Forest
    stewardship a priority and has been an industry leader in building green                                      Conservation Program, is an advisor to the Open Space Institute’s Northern
    plants, reducing water use, protecting natural lands, and reducing raw                                        Forest Protection Fund, and served on the board of the Land for Maine’s
    material usage. Additionally, Mr. Jeffery launched a decade-long                                              Future program for nine years. From 1994 to 1999, Milliken co-founded and
    partnership with The Nature Conservancy and as part of his personal                                           later chaired the Maine Forest Biodiversity Project, a 100+ person
    commitment to the environment. Mr. Jeffery serves on the Executive                                            collaborative which later supported successful legislation to establish 100,000
    Board of American Beverage Association and the Board of Keep America                                          acres of ecological reserve on state lands. From 1986 to 1996, Milliken was
    Beautiful. He is also currently on the Board of Directors for Kendall                                         the director of the Maine Forest Products Council. Milliken is a 1975 graduate
    Jackson Wine Estates and Stew Leonards Retail Food Stores.                                                    of Harvard University, and is currently writing a book about his lifelong
                                                                                                                  exploration of right relationship with land.
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                                                                                                                      timeline
                                                                                                                      Completed: founding team, plan,
                                                                                                                      market/customer research, basic
                                                                                                                      unit economics, recruit core
                                                                                                                      advisors/partners in CR & US

                                                                                                                      4Q 2012: formulation profiles,
                                                                                                                      target plant species, CR suppliers,
                                                                                                                      research & NGO partners; priority
                                                                                                                      conservation targets; contract
                                                                                                                      manufacturer

                                                                                                                      1Q2013: seed funding, beta
                                                                                                                      formulation and packaging

                                                                                                                      2Q2013: secure core U.S. channel
                                                                                                                      partners & distribution, finalize
                                                                                                                      supply chain and back office
                                                                                                                      partners

                                                                                                                      3-4Q2014: Series A round, co-
                                                                                                                      marketing, manufacturing and
                                                                                                                      distribution
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                                                                                                                      discussion
                                                                                                                      points
                                                                                                                      Feedback on our strategy
                                                                                                                      and model

                                                                                                                      Recommendations for
                                                                                                                      working with EcoEnterprise
                                                                                                                      Fund II

                                                                                                                      Suggestions for leaders,
                                                                                                                      organizations, communities
                                                                                                                      to recruit to make our vision
                                                                                                                      a successful reality



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                                                                           Andrea Becerra                                     Alex McIntosh

                contact:                                                   Aromas para el Alma
                                                                           (506) 2203-1541
                                                                           andrea@aromas.co.cr
                                                                                                                              Ecomundi Ventures
                                                                                                                              203.249.7285
                                                                                                                              alex.mcintosh@ecomundiventures.com



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       Real. Sexy. Healthy.
       Inside & out.

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        Thrive Natural Care RFP

        18 January 2013



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   Wanted: a great creative partner

   To collaborate with us to develop a brand “voice” that successfully launches our
   innovative bodycare brand Thrive into the market by:

   •••   capturing the beneficial magic of Thrive’s products, the authenticity of their origin
         and the spirit of our company vision so as to differentiate us from the competition in a
         cluttered market

   •••   translating that magic and vision into a compelling, hierarchical value proposition
         for Thrive’s initial target (US male consumer), and for the retailers and influencers that
         drive sales to that consumer




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   why must...

   •••   ...most bodycare products be filled with harsh synthetic, even petroleum-based (yuck)
         ingredients, when the consumer’s goal is to be clean, attractive and healthy?

   •••   ...most truly natural bodycare products be so boring? Poor performers vs cheap
         synthetics? Horridly packaged? Emanate hippy eco-righteousness? Be eye-
         wateringly expensive? Hard to find?

   •••   ...corporations trash the planet to make their products?

   •••   ...a globalized economy force rural and indigenous communities to trade their
         resources and wisdom for peanuts while over-satiated consumers long for authentic
         and unique products?



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       we think great natural bodycare
       products can...
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       •••     ...appeal to a much bigger group of consumers by being
                    • beautiful inside (formulation provides unique, amazing experience & functional benefit)
                          AND
                        • beautiful outside (sexy, cool, attractive, unique voice and packaging)

       •••     ... help consumers look better and live healthier by using unique miracle plants and
               other premium natural ingredients

       •••     ...be born and made in a beautiful, friendly, inspiring place, instead of big boring
               factories in anonymous industrial parks

       •••     ...reinvent and revolutionize “traditional business” by making rural communities
               stronger and our planet healthier

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   but, four big challenges...
   •••   Tricky Market:
           • Crowded and competitive
           • Dominated by large multinationals and cluttered with hundreds of small entrants
           • Difficult to get retailers’ and consumers’ attention
           • Many established natural brands already make organic formulation, ethical/sustainable sourcing,
              sustainable packaging claims (albeit in a boring old school way)
          •   Many ‘green pretender” brands promise natural, don’t really deliver, but can be sold cheaply since
              they’re filled with synthetic crap
          •   most consumers don’t care about “green”, eco, or saving the world


   •••   We’re a start up. Which means big ambitions and a small checkbook

   •••   Producing a truly natural, high quality product that works great at a modest price point
         is very difficult

   •••   We will operate as a social enterprise. Which is far cooler, better for the planet, for
         communities, and customers. But is even harder to pull off.
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        So, we want to collaborate to...
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       •••     develop a brand “voice” that successfully launches Thrive into the market by:
                • capturing the beneficial magic of Thrive’s products, the authenticity of their origin and the spirit of
                       our company vision so as to differentiate us from the competition in a cluttered market
                  •    translating that magic and vision into a compelling, hierarchical value proposition for Thrive’s target
                       US male consumer, and for the retailers and influencers that drive sales to that consumer


       •••     articulate the Thrive brand voice via:
                • a brilliantly distinctive logo (develop 3 concepts, execute one fully to our approval)
                • design and execution oversight of packaging labels for 2-4 products in the same line
                • conceptual design of 7-10 hugely impactful, ridiculously low-cost, but totally executable guerilla
                       marketing activities that will help put Thrive on the map and create the right buzz among key
                       influencers of our target consumers


       •••     have fun. after all, we+you are aiming to change the world. Too much seriousness
               isn’t good for the soul.
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   success means that we+you will
   •••   create retail “pull” for an innovative new bodycare brand in a way that can be
         quantitatively measured among target:
          • consumers (goal: 1,000 beta customers try our products; we get feedback from >70%, quantify
              “willingness to buy/buy again”)
          •   retailers (goal: # of beta test retail partners > 3)
          •   thought leaders (goal: # of mentions by top tier bloggers, editors, experts in target market(s) > 15)


   •••   help consumers feel more sexy and live more healthy

   •••   leave the planet healthier than we found it

   •••   improve the livelihoods of women, farmers and rural communities

   •••   reinforce your reputation for creativity, cutting-edge design, and kick-ass
         communication

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   the brass tacks
   •••   due dates:
          • RFP: 1 February 2013 (emailed response to Thrive)
          • project: “voice” & logo (1 March); labels & marketing (22 March)

   •••   our objectives:
          • translate our innovative ingredients, business model & values, into a brand identity hugely appealing
              to our target consumer and retailers
          •   create great logo, label graphics, and guerrilla marketing executions to facilitate a successful beta
              launch of Thrive brand


   •••   things we’d like to know about you and your team (see following page)

   •••   budget: funding approved & ready; for discussion with you during RFP process

   •••   decision process:
          • 21-31 January: Thrive distribute RFP, respond to questions by agencies
          • By 5 Feb: Thrive team evaluates proposals, notifies winning agency
                                                                                                               Ecomundi_00059
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things we’d like to know about you
(Please limit responses to < 250 words per question)
 1. How is your team’s background and expertise relevant to branding and marketing innovative bodycare products in competitive markets?
         a. Please share samples of your work, illustrating #1 above (ideally inclu info re: the strategic challenge, consumer target, and final creative execution)
         b. Please attach short bio(s) for each person from your agency who might work on this project
         c. Please provide 1-2 references for your recent work, including contact info.

 2. Why are you uniquely able to help us translate our vision/model/products into something exciting, relevant, and compelling to our target US consumer,
    retailers and influencers?

 3. If your team was paired with branding/marketing experts in the other market/culture, how would you ensure that the resulting work was accretive and not
    dilutive?

 4. Share with us how you think our target customer finds/tries new bodycare products, and what criteria (conscious and/or subconscious) he uses to decide if
    he will buy and then repurchase a bodycare product. (FYI: this isn’t a research question. We’re interested in your instincts)

 5. How would you approach this project from a project management standpoint, to ensure great executions, alignment, and meeting time/budget constraints?
    Do you have the bandwidth to lead this project successfully amid your other work?

 6. What existing US bodycare brands do you admire? Despise? Why?

 7. We’re committed to making people and the planet healthier. And seek partners who are aligned. Please tell us briefly about your commitment to social
    and/or environmental responsibility.

 8. What do you expect from us in order to work as an effective partner and to do your best work?


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   a little about Thrive




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     Founding Team
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     Alex McIntosh, co-founder & CEO                                                                                           Andrea Becerra Kriebel, co-founder &
                                                                                                                               Chief Creative Officer
                                 c:>mundi™
                             Accelerate the Change




                              The Nature
                              Conservancy
                                                          ventures




                               Protecting nature. Preserving life~
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                                                                        NORTH AMERICA




                                                                     Yale School of Forestry
                                                                     & Environmental Studies


     Ecomundi Ventures
     Founded impact investment fund focused on sustainability and water                                                           Aromas para el Alma
                                                                                                                                  Founder and director of a leading Costa Rican natural care company
     » Raised seed capital, formed team, diligence on >840 emerging water co!s
     »   Board Director, Clearwater Systems, Inc, (10yr old company with 5k global                                                »    Launched eight years ago; cash flow positive
         installations of its chemical-free water treatment technology)                                                           »    All natural, biodegradable ingredient products manufactured in Aromas!
                                                                                                                                       proprietary facilities in CR
     Nestlé Waters
     Former executive with $4B division of world!s largest consumer water company                                                 »    Over 40 products now sold in major CR grocery, natural foods stores; spas,
                                                                                                                                       hotels, and two stand-alone retail stores
     »   Vision, strategic plan, hands-on leadership building Nestlé Waters! first
         sustainability program from ground up                                                                                    »    Large network of suppliers, vendors; formulation expertise

     »   Catalyzed the corporation!s 8,500 person corporate sustainability performance to                                         Education
         assume position of recognized industry leadership
                                                                                                                                  »    Degree in Social Anthropology, University of Costa Rica
     The Nature Conservancy                                                                                                       »    Degree in Foreign Commerce, ICOEX

     » Directed volunteer and staff efforts to help secure record $75MM in private                                                »    Holistic Therapies Practitioner, Gaia Center of Integral Balance
        capital for the two largest watershed conservation projects in TNC history                                                »    Bach Flower Practitioner, International Program on Bach Flower Remedies
                                                                                                                                  »    Aromatherapy Certification, Institute of Natural Therapies, Argentina
     »   Vision, strategic plan, leadership of 9-person fundraising team that increased
         revenue 1,250% over four years and completed most successful corporate                                                   »    Subtle Aromatherapy Certification (in process)
         conservation campaign in state history                                                                                   »    Essential oil Destillation Course, Ipe Farm
                                                                                                                                  »    Natural Cosmetology Course, Deon Institute
     Education                                                                                                                    »    Organic Agriculture Course, INA
     Yale University, Master!s degree (with honors) in environmental management                                                   »    Medicinal and Aromatic Plants Course, INA
     Duke University, B.A. with honors; Trinity Scholar (4-yr academic merit scholarship)
                                                                                                                                  Recognitions & Activities
     Other Environmental Leadership                                                                                               » Member of the Group of Women Entrepreneurs, Pathways to Prosperity,
     »   Author, The Birds of Duke Gardens (1990)                                                                                    founded by Hillary Clinton
     »   Co-developed an ecotourism business & funding model for nation of Gabon                                                  »    Congress on Women Leadership and Entrepeneurship, NYC/DC
     »   Created 5-year business plan for Big Bend National Park
                                                                                                                                  »    Vital Voices Congress, Guatemala
     »   Previous board directorships: Cape Elizabeth Land Trust, Falmouth Conservation
         Trust, Stamford Land Conservation Trust                                                                                  »    Biofach y Vivaness Congress and Trade Show on Organic and Natural
                                                                                                                                       Cosmetics, Germany
     »   Judge: Cleantech Group!s Global 100; Global Social Venture Competition;
         Global Cleantech Cluster Assn, Net Impact                                                                                »    Latinamerican Congress on Agroecological Biodynamics, EARTH University
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       strategic advisors

                                                                                                                                                    Walter Kissling Jiménez
                                                                                                                                                    Chairman & CEO
                                                                                                                                                    NAVSAT
                                          Kim E. Jeffery
                                                                                                                  Walter has been involved in finance related activities for the last 22 years
                                          President & CEO                                                         and real estate activities for the last 10. As part of Banex, Costa Rica’s
                                          Nestle Waters North America                                             largest private financial group at the time (now owned by HSBC) he
                                                                                                                  organized, started and managed Banex Valores, a stock exchange
    Kim Jeffery is President and Chief Executive Officer of Nestlé Waters                                         operation, the Cuenta Maestra, and Fiduciaria de Ahorro Banex, the first
    North America Inc. based in Stamford, Connecticut. He oversees the                                            private money management operation for second and third tier
    largest bottled water company in North America with 8,500 employees,
    27 plants, and more than 100 facilities. Mr. Jeffery joined the Company
    in 1978 and assumed the Company’s top position in 1992. With sales of
                                                                                                   !              retirement money.

                                                                                                                  The retirement money management operation launched the private
    more than $4.2 billion in 2008, the Company holds seven of the top ten                                        pension industry in Costa Rica, which today manages billions in assets
    U.S. water brands                                                                                             and covers millions of workers. He also started a private equity Central
                                                                                                                  American fund, co-founder and shareholder of Genesis Investment Group
   Throughout his tenure, he has made environmental stewardship a priority                                        which is one of Costa Ricas’s largest real estate developers.
   and has been an industry leader in building green plants, reducing water
   use, protecting natural lands, and reducing raw material usage.                                                In July 2006 Walter started NAVSAT, a company using GPS technology to
   Additionally, Mr. Jeffery launched a decade-long partnership with The                                          offer navigation, geo-localization, geo-tracking and other location based
   Nature Conservancy and as part of his personal commitment to the                                               services.
   environment. Mr. Jeffery serves on the Executive Board of American
   Beverage Association and the Board of Keep America Beautiful. He is                                            Walter serves on the boards of Casual Food, Genesis, Sotheby’s Realty
   also currently on the Board of Directors for Kendall Jackson Wine Estates                                      Mexico, ILG Logistics, Mercado de Valores de Costa Rica, and
   and Stew Leonards Retail Food Stores.                                                                          Importadora Monge
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       strategic advisors

                                                                                                                                      Lisa Nitze
                                                                                                                                      Managing Director
                                                                                                                                      Mission Measurement
                                      Roger Milliken, Jr.
                                      President, Baskahegan Co.                                            Lisa has spent the last 25 years working with leading corporations, foundations and
                                                                                                           government organizations to develop triple-bottom-line strategies for leveraged
                                      Director, Milliken Enterprises, Inc.                                 investments. As the Managing Director of Mission Measurement’s Washington, DC
                                      Former Chair, Nature Conservancy                                     office, Lisa oversees client engagements with a portfolio of international aid, federal
                                                                                                           and state government offices and agencies, national nonprofits and corporations.
    Roger Milliken, Jr. is president of the Baskahegan Company, which owns
    and manages 100,000 acres of forestland in eastern Maine and is                                        Throughout her career, Lisa has worked with an array of stakeholders across the
    known for its commitment to managing for timber while respecting the                                   public and private sectors, including: The White House Office on Social Innovation;
    dynamics of natural systems. Roger has served on the The Nature                                        Inter-America Development Bank; U.S. Department of State;The Clinton Global
    Conservancy’s board of directors since 2000, chairing its conservation                                 Initiative; Goodwill Industries International and Goldman Sachs Foundation.
    committee from 2005-2008, and was named chairman of the
    organization’s global board of directors in October 2008.                                              Most recently, Lisa served as the President and CEO of the largest membership
                                                                                                           network of social enterprises in North America—the Social Enterprise Alliance. Prior
   Milliken also chairs the advisory board of the Manomet Forest                                           to that, she served as Vice-President of the Global Engagement Team at Ashoka,
   Conservation Program, is an advisor to the Open Space Institute’s                                       where she worked with a global team of employees to develop products and
   Northern Forest Protection Fund, and served on the board of the Land                                    services to engage corporations, foundations, and philanthropists in supporting
   for Maine’s Future program for nine years. From 1994 to 1999, Milliken                                  leading social entrepreneurs.
   co-founded and later chaired the Maine Forest Biodiversity Project, a
   100+ person collaborative which later supported successful legislation                                  Lisa is currently a trustee for The American University of Cairo and for United
   to establish 100,000 acres of ecological reserve on state lands. From                                   Hands for Health Colombia. She is a Speaker Specialist on social entrepreneurship
   1986 to 1996, Milliken was the director of the Maine Forest Products                                    for the U.S. State Department Office of International Information, having done
   Council. Milliken is a 1975 graduate of Harvard University, and is                                      speaking tours in India, Africa and Latin America, and is a mentor in the U.S.
   currently writing a book about his lifelong exploration of right                                        Department of State’s Pathways for Progress Program for women business
   relationship with land.                                                                                 entrepreneurs. Lisa holds an M.B.A. from Stanford University, a B.A. from Harvard
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                                                                                                           University and is a graduate of the Leadership New Jersey Program.                Ecomundi_00064
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       technical advisors
                                                                                                                                         Dr. Florencia Montagnini
                                                                                                                                         Ecosystem Restoration & Costa Rican Biome
                         Jane O’Reilly                                                                                                   Advisor
                         Branding & Marketing Advisor
                                                                                                                    Professor Montagnini teaches courses at Yale’s Environmental School in
     Jane’s successful career in beauty and marketing spans more than two                                           tropical forest ecology and management, soil science, agroforestry, and
     decades and includes senior positions at Condé Nast, News Corporation,                                         restoration ecology. She also holds honorary professorships at several
     Time Inc., and American Express Publishing. Jane is currently Creative                                         universities in Latin America. Dr. Montagnini has written eight books on
     Marketing Director at Travel + Leisure. Over her career, Jane has                                              agroforestry systems and ecological restoration, including a major
     created hundreds of exciting and effective brand and marketing                                                 textbook in tropical forest ecology and management, and 200 scientific
     communications via ad campaigns, branded content, digital                                                      articles in international refereed journals.
     integration, video production, and integrated programs.
                                                                                                                    Professor Montagnini’s research focuses on Latin American sustainable
                                                                                                                    land use systems that integrate ecological principles with economic, social,
                                                                                                                    and political factors; the principles and applications of forest landscape
                                                                                                                    restoration; the reforestation of degraded lands with native species;
                       Art Georgalas                                                                                identification and quantification of ecological services provided by forest
                                                                                                                    ecosystems; organic farming using indigenous resources; Payments for
                       Formulation & Regulatory Advisor                                                             Environmental Services as tools to promote restoration, conservation, and
                                                                                                                    rural development. In her research, she collaborates with institutions
    Art’s career spans more than forty years in personal and natural care                                           such as CATIE (Tropical Agriculture Research and Higher Education Center,
    product formulation and applied research at a number of leading cosmetic                                        Costa Rica), as well as with universities and other academic, private and
    manufacturers, including Revlon, Charles of the Ritz, and LaMaur/                                               government institutions in Argentina, Brazil, Colombia, Costa Rica,
    DowBrands. Art is a leading contributor to various trade journals, including                                    Mexico, and Panama. She is a Senior Fellow of ECPA, Energy and Climate
    Cosmetics & Toiletries magazine and has presented at many technical and                                         Partners of the Americas, of the U.S. Department of State.
    trade conferences. Art earned a Masters in Pharmaceutics with a specialty
    in Cosmetic Science at the Arnold and Marie Schwartz College of Pharmacy
    and Health Sciences of Long Island University. As an adjunct professor, Art
    instructs classes in product development and applied colloid chemistry at
    Fairleigh Dickinson University.
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       technical advisors
                               Carlos Víquez Arias                                                                                       Cristina Venegas
                               Agroecological Field Coordinator
                                                                                                                                         Ethnobotanical Specialist & Chemist
    Carlos’ work has centered on the implementation of sustainable, organic                                        Cristina’s professional expertise is implementation of sustainable
    and biodynamic production systems, conservation of natural resources                                           development systems for agricultural production and rural development.
    and business administration.                                                                                   She has done research on phytochemistry, agrotechnology of medical
                                                                                                                   herbs, ethnobotany and natural resources management.
    Today he is co-owner and manager of a farm located in San Carlos, north
    of Costa Rica, which specializes in the production of free-range beef                                          Currently, Cristina is coordinator and manager of a project of support and
    cattle, reforestation of exotic and native trees, and production of organic                                    monitoring of natural raw material production and coordinator of the
    vegetables, fruits and herbs.                                                                                  Laboratory of Phytochemical Analysis, within the Department of Research
                                                                                                                   and development of natural products, Lisanatura, subdivision of
    He also worked as an Assistant Manager and Consultant in Sunnyside                                             Laboratory Lisan of Costa Rica.
    Farms, certified organic farms in Washington and Virginia. His work
    included the production of short cycle vegetables, perennial crops,                                            She is also a consultant and trainer on agrotechnology of medicinal plants,
    broilers and eggs, as well as their distribution into the markets of                                           medicinal ethnobotany and naturopathic medicine as support to different
    Virginia, Washington DC and Maryland. Carlos was also Harvest Manager                                          independent projects, as part of ACOFIT ( Phytomedicine Costarican
    in PYF - Costa Rica - NASCAFLOR - Miami, FL-USA, focusing in the harvest                                       Association), and is collaborating with different activities related with
    of different flowers such as lilies, callas, gerberas, tulips, lisianthus,                                     natural and integrative medicine and congresses. She is member of the
    agapanthus and iris for their distribution to USA and Europe.                                                  Quality Control Department in natural products and performance tests
                                                                                                                   applied to allopathic medicine, which develops chemical analysis at
                                                                                                                   laboratory Lisan of Costa Rica.

                                                                                                                    Cristina is also assistant professor in the Chemistry Laboratory, General
                                                                                                                    Chemistry I and General Chemistry II of the University of Costa Rica.
                                                                                                                    She has worked in a Research project on “Environmental assessment,
                                                                                                                    restoration and social projection of the water reservoir and recreation
                                                                                                                    center developed by the University of Costa Rica.
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                natural care market opportunity                                                   Market Dynamics


al personal care segment continues to remain undeterred by the
 slowdown
                 Natural
lobal Manufacturers’        Care
                     Sales of      Manufactures’
                              the Natural             Sales
                                          Personal Care Market,
                Growing      Rapidly Around the Globe
                         2005-2010


0, sales grow
om 2009 to
USD 23 billion


                                                                                                                    •••   Big market, growing fast (CAGR 11%+; will reach
                                                                                                                          > $6b by 2015)
tent growth
cross regions



 has been
ncing double-
owth since 2005
                                                                                                                    •••   Good growth prospects
                             2005       2006        2007       2008        2009       2010                                 • increasing consumer demand for naturals vs synthetics
                      NOTE: All data in manufacturers’ sales, unless otherwise indicated; manufacturers’
                      sales refers to the price received by the marketer before distributor and/or retail
                      markups. The above figure includes sales from four key regions: the United States,
                                                                                                                           • media focus on health
                                                                                                                           • demographics (aging boomers, rising incomes)
                      Europe, Asia, and Brazil. Rest of the world sales are included.


                      Attracting Investors & Acquirers                                                          3

                                                                                                                           • international: emerging middle classes
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                                                              {                                                     •••   Fueling lots of mergers & acquisitions


        Ci) COLGATE-PALMOLIVE                                                     {
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       The natural care market challenge

                                                                                            A Crowded and competitive

                                                                                            A Dominated by large multinationals with big
                                                                                                   budgets

                                                                                            A Hundreds of small new market entrants annually

                                                                                            A Difficult to get retailers’ and consumers’ attention

                                                                                            A Many established brands already make organic
                                                                                                   formulation, ethical/sustainable sourcing,
                                                                                                   sustainable packaging claims (selling the
                                                                                                   “mission”)

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         yet a consumer/retail gap remains
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      poor product          bland packaging,                             greenwashing &                         high price
      performance           boring brand                                 “natural pretenders”
                            stories



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                          Thrive “baseline”
                                                                                                                                Thrive advantage

       The market gap for Thrive
                                                      12#34'5#&)*6 !#+,:'/)*+#),' =*#2/5'&/%$#26               >/$?+&''''''''    =&B:C'"$7C';+/'
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                          Thrive
                                      TM
                                                            !                !                 !                  !                   !
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                                                                                                                                                                                        Ecomundi_00071
                                                                                                                                          • leading male e-commerce site/direct sales
                                 Thrive beta test




                                                                                                                                          • 1-2 natural grocer retail stores
                                                                                                            • After shave facial lotion
                                                                           • athletic; LOHAS affinity




                                                                                                            • Shampoo/bodywash
                                 targets
                                                                           • American Male
                                                                           • 24 yrs - 65 yrs
                                                                           Consumer




                                                                                                            Products



                                                                                                                                          Channel


                                                                                                                                          • other?
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          Thrive value proposition                                  TM




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       A sexy, fun personal care                                                Offers consumers a better                                                 Unique/inspiring biz model
       brand, hand-made in the                                                  way to
                                                                                                                                                              •   Ecosystem restoration
       world’s most idyllic place,                                                  •   look their best                                                       •   improve rural livelihoods
       that works great and is truly                                                •   be healthy                                                            •   role model for 21st century
                                                                                    •   feel great/connect to                                                     business
       natural                                                                          something more than product
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                                       why Costa Rica?
                                       International reputation for natural beauty, spas,
                                       eco-adventure, friendly/healthy/long-lived people

                                       Extraordinary abundance of flora, including more
                                       than 9,000 species of higher plants

                                        Inspiring national initiatives have made country
                                       “the Switzerland of the Americas”: disbanded
                                       army in1950’s; 25% of country set aside as
                                       protected parks; 2021 carbon neutral goal

                                       Continually ranks #1 or #2 in citizen happiness
                                       vs rest of world;

                                                                                                     Ecomundi_00073
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            channel distribution strategy
                                                                                           Channels of Distribution


 and natural food stores and supermarkets remain the largest retail
els in the natural segment followed closely by mass merchandisers.                                    •••     Beta-test product & value proposition 2-3Q2013
                   U.S. Natural Care Product Sales
                          By Channel--2011

                                                                    Health and natural                •••     Initially distribute via e-commerce, targeted
                        All other, 3.2%
                    Department
                                                                     food stores and
                                                                   supermarkets, 39.1%                        natural foods grocery, speciality venues (e.g.
                    stores, 5.6%
                                                                                                              gym, hotels), TBD Costa Rican venues
          Direct sales, 6.7%

                 Specialty
               stores, 7.8%                                                                           •••     Get traction, build compelling demand story to
                                                                                                              take to larger distribution channels

                                        Mass market, 37.6%
                                                                                                      •••     Later distribution: broader natural food grocery
                                   Total: $3,891
                                     Total:      Million
                                            $3.9 billion                                                      (Sprout, Whole Foods, etc), drug stores,
E: All other includes retail channels such as spas, vitamin and supplement stores, hotel/resorts, and gift/
ques. Mass market includes sales from food, drug, and mass merchandising stores. Whole Foods is part
                                                                                                              supermarkets
e health and natural food stores and supermarkets channel.


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      TRIAL EXHIBIT NO. 252
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Thrive	  Natural	  Care

    Memo
    To:        Laura and Team Laita
    From:      Alex McIntosh (alex.mcintosh@ecomundiventures.com)
    Date:      May 5, 2013
    Re:        Proyecto “Hacer Magia” specifications



    Bievenidos al Proyecto “Hacer Magia”. We are excited to work with you on what will be a
    challenging, creative and rewarding project.
    Below are the creative specifications for our project. The specs will provide high-level guidance and
    real-world constraints, but will not give you a “recipe” for making the formulations. Instead, I’d like

    beautiful. “Magic plant” and new benchmark product info is now included, highlighted in yellow.


    1. Objective
                                                                                                    -
    to challenge you to use your creativity, passion, and knowledge to bring to life something new and




          The goal of the project is for you and Thrive to collaborate over the next eight weeks to produce
          superior prototype formulations for three (3) new men’s products.
          The best formulations will:
              •   work great
              •   be truly natural and healthy
              •   meet Thrive’s cost targets
              •   contribute to a great story (giving consumers an innovative flavor of the best of Costa Rica,
                  and supporting the strong environmental and social vision of Thrive).
          At the end of the project, if the products you create are determined to be the best fit for Thrive,
          Thrive would like to enter with you into a formulation design partnership, to create and sell these
          and other natural cosmetic products in some of the world’s most exciting markets.


    2. Mutually-beneficial Project
          As part of this collaboration, Thrive is interested in supporting your creative efforts and learning.
          To this end, Thrive will contribute: professional time, funding to cover 50% of the R&D
          expenses, information and insight regarding the new active ingredients and US market research,
          and a small supply of essential oil and extract from two of the “magic plants” to use in your
          formulation design.


    3. Your Challenge
          Your challenge is to work within the constraints of this project to “make magic”; to utilize your
          creativity, knowledge, network and passion to create the best, most effective natural formulations
          that will exceed the expectations of Thrive’s target consumers while meeting cost goals.



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Thrive	  Natural	  Care
       4. Consumer Target:
            The target consumer (product user) for the three formulations:
                  American male
                  25-54 years old
                  Attentive to health and fitness; athletic
                  Well educated (college degree+); income above US
                    average
                  Currently uses face and bodycare products that are made
                    with some/many synthetic or even petroleum-derived
                    ingredients. Has little understanding of the
                    disadvantages of those ingredients.
                  Has been exposed to information about the health benefits of “natural” or “organic”
                    bodycare, but suspects those products won’t work as well or will be more expensive
                  Willing to buy and use natural products that are slightly more expensive than standard
                    products if the natural products provide same or better performance, have an attractive
                    scent, are appealingly packaged, and are sold at a decent price.
                  Is typically introduced to new face/bodycare products by a female (wife, girlfriend,
                    mother, etc) in his life


                                The person who often will purchase the products for the target male
                                consumer is the wife, girlfriend, mother, etc. She is primarily motivated by
                                the desire to have her husband/boyfriend/son use bodycare products that
                                will help him to look great and that will be healthier for him than the
                                synthetic-formulation products he is using now. Her perception of the
                                benefits of natural ingredients, and of environmental, social or sustainability
                                issues is more important for her than the average male consumer. She also
                                pays attention to the scent of products.

         Thrive plans to reach this target male consumer during product launch via two channels: natural
         food grocery stores and speciality e-commerce businesses.
         For your formulation design, keep in mind that our research demonstrates that the qualities most
         important to Thrive’s target consumer (and to the female who may introduce him to the products:
         1) what the product promises to do for him; 2) scent; 3) price; 4) how well the product performs
         (does it do what it says while avoiding synthetic or harmful ingredients?).


       5. Products:
            You will lead creation of three sample formulations during this pilot project:
                 1. Men’s face wash
                 2. Men’s shaving oil
                 3. Men’s facial moisturizer
            Face wash: the two “magic plants” each have properties that make them useful in cleansing the
            skin, and thus as helpful active ingredients in a mens facial wash. Thrive would like to position




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Thrive	  Natural	  Care
       this product as appropriate for daily use to remove dirt, oil, and other impurities from his skin,
       without overly drying or irritating his face.
       We anticipate the facial moisturizer to become the “star” product, and plan to devote a relatively
       higher proportion of resources to formulation and packaging of this product. You are encouraged
       to make this a focal point of your work, too.
       Thrive is also very interested in innovative shaving products, and in protecting the environment
       by using less packaging. For these reasons, we are very interested in selling a Thrive shaving oil.
       High quality shaving oils, which serve as a replacement for shaving creams or gels, can provide
       the male consumer with a superior shave, and have the added benefit of skin moisturizing and
       conditioning properties despite requiring only a small amount of product per use (usually 5-8
       drops of oil for a shave).


    6. Raw Material Target Price Point:
       Our target raw material price points are:
            1. Face wash: US$0.88 based on a 125ml/4.2 oz container (price includes $0.40 for the
               two “magic plant” essential oils/extracts; you have $0.48 to create rest of formulation)
            2. Shaving oil: US$0.45 based on a 15ml/0.5 oz container (price includes $0.25 for the
               two “magic plant” essential oils/extracts; you have $0.20 to create rest of formulation)
            3. Facial moisturizer: US$0.60 based on a 50ml/1.7 oz container (price includes $0.25 for
               the two “magic plant” essential oils/extracts; you have $0.35 to create the rest of the
               formulation)
         These are the “high end” price targets for each formulation, based on the 125ml, 15ml, and
          50ml container sizes, and manufactured at a production volume of 3,000 units each per year
         Price should include all raw material ingredients for the formulation, including other
          essential oils/extracts
         Price should include shipping/transport, customs, taxes and other fees associated with
          getting the formulation ingredients to manufacturer for production. Assume manufacturing
          occurs in Costa Rica.
         Price should not include packaging materials or cost for manufacturing
         Thrive preference will be given to natural formulation designs that offer great performance
          and cost less than the $0.88, $0.45, or $0.60 price targets. Use your creativity; we welcome
          your ideas during the project on how to meet or go under these price targets!
         The written proposal you submit to Thrive mid-project should incorporate pricing guidance
          (doesn’t have to be exact) from your potential suppliers. And, when you submit to Thrive
          your final formulation prototype, we will ask you to validate that your raw materials can
          arrive at factory for the price you propose. We want to make sure your magic formulation can
          meet our price targets.


    7. Desired Attributes of product(s):
            1. Consumer benefits & claims desired:
                   a. Face wash: cleans male face of dirt, oil, and impurities from the day or from
                      exercise; naturally energizes, moisturizes, and refreshes skin without drying;
                      strong enough to clean well and gentle enough to use every day



       Page 3

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Thrive	  Natural	  Care
                    b. Shaving oil: naturally moisturizes skin and prepares facial hair for a superior
                       shave; provides excellent lubrication to facilitate shave from start to end of the
                       grooming regime; helps prevent cuts, irritation, razor bumps and burn; helps
                       nourish and protect vitality of tired or stressed skin; protects sensitive skin from
                       irritation or redness
                    c. Facial moisturizer: a “24 hour moisturizer” designed for active men; helps
                       naturally nourish and protect the health of facial skin; reduces inflammation and
                       redness; helps skin retain a healthy appearance; leaves skin soft and supple

            2. Ingredient specifications:
                    a. Two Costa Rican “magic plants” (see attached for more information) as primary



                                -
                       active ingredients:
                             i. Lippia alba (essential oil): anti-inflammatory, anti-oxidant, antiviral,
                                antibacterial, antiseptic, astringent, antifungal, analgesic, beautiful citric
                                scent
                            ii. Arrabidaea Chica (pure extract): wound healing, increases collagen
                                content, anti-inflammatory, anti-oxidant, skin cleansing (reducing
                                pimples and blackheads), antibacterial, astringent, ideal for problem or
                                sensitive skin
                          You are encouraged to design formulations using both of the active ingredients
                          together. But if you decide to use only one of the magic plant ingredients in a
                          product formulation due to your preference for performance, scent, texture or
                          color qualities, please let me know.

                    b. Guiding natural standards criteria:
                            i. Desired: Whole Foods Premium Body Care (see LINK, and view the
                               “400 unacceptable ingredients” pdf attached)
                           ii. Minimum standards: No use of: Parabens — Synthetic preservatives
                                that are potential endocrine disrupters; Sodium Lauryl Sulfate — Harsh
                                cleansing agent that can potentially damage the lipid layer of your skin and
                                cause irritation; Petrolatum/Mineral Oil/Paraffin — Non-renewable
                                byproducts of crude oil with potentially dangerous impurities; Chemical
                                Sunscreens (Avobenzone/Oxybenzone) — Synthetic sunscreens that get
                                absorbed and potentially disrupt hormone balance; Glycols — Petroleum
                                derived synthetic chemicals that can potentially draw other chemicals into
                                the bloodstream; Phthalates — Synthetic fragrance components that are
                                potential toxins; Ethoxylated ingredients like Sodium Myreth Sulfate
                                and Sodium Laureth Sulfate, PEGs or PPGs — Ingredients that are
                                made in part with the petrochemical ethylene oxide, that results in 1,4
                                Dioxane as a trace contaminant, classified as a possible carcinogen (35-
                                37); Ethanolamines like MEA/DEA/TEA — Foam and viscosity boosting
                                ingredients that can interact with other ingredients to form nitrosamines, a
                                known carcinogen; Synthetic polymers (PVP/Acrylates) — Synthetic
                                stabilizers that may contain residual PAHs (polycyclic aromatic
                                hydrocarbons), a widespread organic pollutant; Formaldehyde Donors
                                (DMDM Hydantoin/Diazolidinyl Urea) — Preservatives that work by
                                releasing formaldehyde; Synthetic Fragrances – Fragrances that use
                                petroleum-based solvents for extraction as well as purely synthetic
                                additives; Synthetic Colors – unnecessary and considered carcinogenic



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Thrive	  Natural	  Care
                    c. No ingredients or formulas tested on animals
                    d. Encourage purchase, where economically feasible, of raw ingredients from
                       suppliers who are:
                            i. Certified organic or other independently verified social/environmental
                               certification where economically feasible
                           ii. Rural or indigenous communities, or female-led
                               cooperatives/businesses
                          iii. Costa Rica-based businesses
                          iv. Known to you and dependable

                    e. Raw materials should be dependably available and sustainable (e.g. no use of
                       protected or illegal plants, no petroleum-based ingredients)

                    f. Ingredients must be stable over time and temperature variations: it will often be
                       months from time of manufacture through transport to USA and then to
                       customer home; conditions will vary from cold (-7C) and dry to hot (38C) and
                       humid

            3. Fragrance:
                  a. The three products should share a single uniquely masculine scent; not overly
                      powerful, but subtle. The three products should have the same underlying scent,
                      with the shaving oil and face wash being a bit more scented and the facial
                      moisturizer a bit less scented.
                  b. The over-riding fragrance notes should suggest: sophisticated, woody,
                      masculine, resinous, exotic/Costa Rica, fresh, botanic, verdant
                  c. The scent should avoid typical AXE or Old Spice strong cologne-like male
                      fragrance common in many synthetic male cosmetic products; the formulation
                      should also avoid floral or fruity tones. Note that Latin American bodycare
                      products for men typically have a strong scent; for the US market we want a
                      more subtle, complex and natural scent.

            4. Form, Viscosity, Sensory:
                  a. Face wash:
                           i. A light-weight cream or gel; should definitely feel more substantial and
                              viscous than water when applied to hands and then rubbed on the face;
                              slight lather or foam generated upon use; could have a very subtle
                              exfoliating effect, but if it does, this should be gentle enough for everyday
                              use; should leave face feeling clean and energized without being slick or
                              oily and without harsh drying of the skin
                          ii. Benchmark products (the following products provide good example of certain
                                qualities Thrive wants to emulate. You will receive from me small samples of each. You
                                can also learn more about the specific ingredients for these products on their websites, to
                                help with your design): Aesop Purifying Facial Cream Cleanser
                                (Sample A) provides a gentle cleaning with a good texture and a
                                sophisticated and pleasantly unique scent that inspires us, though it
                                would be preferable if the cleanser generated a bit more foam during



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Thrive	  Natural	  Care
                              use…also, note that this brand uses premium and sometimes synthetic
                              ingredients (and charges a premium price); Burt’s Bees Sensitive
                              Facial Cleanser (Sample B) has an excellent natural formulation and
                              works well, at a very reasonable price; Melvita Men’s Facial
                              Cleansing Gel (Sample C) gentle scrub has a nice consistency and
                              slight foam, though the scent is too strong and pine-like and it uses a
                              gentle exfoliant which isn’t good for daily use.
                   b. Shaving oil:
                          i. 5-8 drops of the viscous oil into the hands should provide a smooth
                             lubricant and warm, attractive scent; after applying to his water-
                             moistened face and neck, his face should retain lubrication sufficient for
                             a complete shave without needing additional oil (though he will wet his
                             shaving blade frequently); during his application to the face, the oil
                             would ideally produce a very subtle foaming action, which consumer will
                             appreciate as it helps guide his shave; the consumer will experience a
                             subtle (not strong) layered aroma of scents; the oil should moisturize his
                             face but wash off easily after he finishes shaving, leaving a healthy glow
                             and smooth, irritation-free skin.
                         ii. Target Products: L’Occitane Cade Shaving Oil (Sample D) provides
                             a very good shave, has a pleasing, unique scent. But I would like Thrive
                             product to provide a little more lubrication during shave and to generate
                             a subtle foam so that the user can use to guide his shave.
                   c. Facial moisturizer:
                          i. A medium-to heavy weight milky lotion, definitely -     - runny or thin.
                                                                                   not
                             The desired sensory experience for the man would be of applying a
                             subtly-scented, medium thick cream that soothes and refreshes his skin,
                             particularly after shaving. Should apply smoothly to his face without
                             requiring a lot of rubbing or effort, and should leave skin moist and
                             refreshed for a full day without being shiny. Also, remember that the
                             climate in most of USA is drier than CR, so the moisturizer should work
                             well for dry skin.
                         ii. Target products: L’Occitane Cade facial cream (sample E) for its
                             viscosity, texture, and subtle scent; Aesop Moroccan Neroli Post-
                             Shave Lotion (Sample F) has a beautiful masculine scent that is good
                             inspiration to us, applies a high quality essential oil
                             moisturizing treatment to face that soothes after
                             shaving, but is very expensive; EveryMan Jack
                             (sample G) for its viscosity, healthy performance
                             despite value price

            5. Packaging:
                  a. Face wash: TBD but likely 125ml (4.2 0z) PET plastic,
                      opaque with disc top cap dispenser, in this shape:




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Thrive	  Natural	  Care
                    b. Shaving oil: TBD but likely 15ml (0.5 oz) glass or PET
                       plastic, opaque with screw on cap, in this shape:




                    c. Facial moisturizer: TBD but likely 50ml (1.7 oz), PET plastic,
                       with treatment pump dispensing 190 MCL product/stroke, in
                       this shape:


    6. Project Time-line--two months from start to end:
            1. April 26: Receive spec document; begin project
            2. By 8 May: Company receives samples of “magic plant” oil & extract, and samples of
               “target product” mentioned above.
            3. By 13 May: Company provides to Thrive its written proposal for the three
               formulations, including:
                   a. proposed ingredients to be used
                   b. target benefits to consumers
                   c. projected cost of such a formulation were it to be later manufactured at
                       larger scale (to ensure we are testing an affordable product during the pilot)
                   d. special certifications (organic, biodynamic, ECOCERT, etc) that could be
                       listed on the label for any of the proposed formulation ingredients
                   e. identification of any potential future difficulties in obtaining supply or
                       maintaining quality if this formulation were to be manufactured
            4. By 16 May: Thrive provide feedback, suggestions, etc to Company
            5. By 27 May: Company send to Thrive (via FedEx, Thrive will pay costs) for personal
               testing the 1st version samples of the three formulas
            6. From 31 May – 21 June: Company and Thrive test samples, refine and reformulate
               as needed
            7. By 26 June: Thrive chooses best formulations and notifies Company


    8. Important: Please note for creating samples: though I was fortunate enough to obtain
       essential oil/extracts of two “magic plants” for this project, we have only a limited amount to
       work with. Here is the information and my suggestion to you for using the magic plant essential
       oil/extracts:
            i. You will receive from me approximately 12-20ml of each oil/extract
            ii. Those two samples need to last through your testing and creation, and through two
                sampling rounds with me where you send me samples to test
            iii. For each of the three products (face wash, shaving oil, face lotion) please send to me two
                 (2) 15 ml samples per round of testing. I assume that we will have two (2) rounds of
                 samples back and forth, that you will send to me. This means you will be sending me 12
                 ml bottles of sample product to test over the course of this project.




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Thrive	  Natural	  Care
            iv. My understanding is that the essential oil should be used in the 0.1% to 0.5% range in
                your formulation, with 0.2% probably ideal from a health and cost standpoint. If my
                math is right, and given your experience, this should be enough to get us through the
                project.
            v. I know this leaves you little room for error. But please do the best you can given these
               constraints, and let me know if you have a better idea for doing this.



    9. Questions? Email or skype is encouraged during this project. This is a collaboration and I and
       my team are looking forward to working with you to “create magic” with some healthy, effective,
       unique and exiting new bodycare products!




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Thrive	  Natural	  Care

   21 May 2013

   Mr. Arthur Georgalas
   19 Jones Road
   Warwick, NY 10990

   Re: Thrive Natural Care —Confidentiality & materials agreement

   Dear Art:

   We have appreciated your formulation advice and insights as Thrive Natural Care, Inc. has come to
   life. With our first product lines now in development, we are pleased to deepen our relationship
   with you and discuss certain strategic items more fully.

    Thrive’s vision is to provide innovative, natural body care products for consumers utilizing an
   inspiring model for sourcing and supply chain. We look forward to collaborating with you to
   achieve the spirit and boldness of this vision.

   Below is a full confidentiality agreement that Thrive’s consultants and advisors have executed with
   us, and which we propose to execute with you. This would replace the 22 September 2012
   agreement we jointly executed. Please review this and, unless you have questions, return to me
   signed and dated. Then we can start the fun stuff.

   Based on our discussions, we propose that you enter into the following agreement (“Agreement”)
   to provide formulation strategy, research, and recommendation services (“Services”) as a
   formulation consultant (“Consultant”) to Thrive Natural Care, Inc. (the "Company"), a Delaware
   corporation with its principal place of business in San Francisco, CA.

   The following sections outline Thrive’s proposed Agreement with you in terms of compensation,
   confidentiality, and ownership of materials during the time we work together.



   1.      Compensation.
           (a)     Cash Compensation. As compensation for your Services to the Company, you
   shall be paid US$150/hour until the one-year anniversary of our agreement (9/25/13). After this
   date, you shall be paid US$200/hour. Consultant will invoice (on letterhead with your address &
   tax ID) Company for payment on net 30 days schedule.

          (b)    Expenses. Company agrees to reimburse Consultant for all reasonable and
   documented travel and other expenses associated directly with your Services to the Company, in
   accordance with the Company’s expense reimbursement policy. Consultant will invoice Company
   for payment as noted above in 1(a).

         (c)     Independent Contractor. Consultant is an independent contractor, is not an
   employee of the Company, and acknowledges that the Company is not responsible to withhold
   income or employment taxes for Consultant. Taxes shall be the sole responsibility of Consultant.




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Thrive	  Natural	  Care

   2.      Confidentiality.
           (a)    Consultant hereby agrees not to use any Confidential Information (as defined below)
   disclosed to Consultant by the Company for Advisor’s own use or for any purpose other than to
   carry out discussions concerning, and the undertaking of, the Services. Consultant agrees to take all
   reasonable measures to protect the secrecy of and avoid disclosure or use of Confidential
   Information of the Company in order to prevent it from falling into the public domain or the
   possession of persons other than agents of the Company or persons to whom the Company consents
   to such disclosure. Upon request by the Company, any materials or documents that have been
   furnished by the Company to Consultant in connection with the Services shall be promptly returned
   by Consultant to the Company.

           (b)    Definition of Confidential Information. “Confidential Information” means any
   information, technical data or know-how (whether disclosed before or after the date of this
   Agreement), including, but not limited to, information relating to business and product or service
   plans, financial projections, customer lists, business forecasts, sales and merchandising, human
   resources, patents, patent applications, formulations and ingredients, research, inventions,
   processes, designs, drawings, engineering, marketing or finance to be confidential or proprietary or
   which information would, under the circumstances, appear to a reasonable person to be confidential
   or proprietary. Confidential Information will not include any information that: (i) was in the
   possession of the Consultant at the time of the disclosure;( ii) is or becomes part of the public
   domain, public knowledge, or public literature through no fault of the Consultant; (iii) was or is
   developed independently by the Consultant, without use of the Confidential Information as shown
   by prior written records; or (iii) otherwise becomes available to the Consultant from a third party
   who has not violated any applicable laws or confidentiality obligations by disclosing such
   information.

   3.       Ownership of Rights; Work Made for Hire and Assignment.

           (a) Nothing in this Agreement shall be construed as granting any rights under any patent,
   copyright or other intellectual property right of the Company, nor shall this Agreement grant
   Consultant any rights in or to the Company’s Confidential Information, except the limited right to
   use the Confidential Information in connection with the Services. Consultant agrees to assist the
   Company to obtain and enforce United States and foreign proprietary rights relating to the IP in any
   and all countries. All direct expenses associated with the assistance provided by Consultant will be
   reimbursed to Consultant by the Company as described in sections 1 (a) & (b) above.
   The Company acknowledges that Consultant has made and makes no representations or warranties
   concerning the patentability of the products being developed under the services provided by under
   this Agreement by Consultant to the Company or whether a product may or may not infringe on any
   patent, trademark or copyright held or allegedly held by any third party. It is agreed that the
   Company assumes the sole responsibility for determination of whether a product that is developed
   under this agreement may or may not infringe an existing patent, trademark or copyright.

           (b) To the extent that Consultant jointly or solely conceives, develops or reduces to practice
   any new inventions, original works of authorship, developments, concepts, know-how,
   improvements or trade secrets, whether or not patentable or registrable under copyright or similar
   laws or other intellectual property which would be deemed to be Confidential Information of the
   Company (collectively, “Intellectual Property”) which clearly relates to the Company’s business or
   technology and has been created by the Consultant solely in the course of the performance of
   Services under this agreement such as in correspondence, e-mails, meetings or meetings relating to


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Thrive	  Natural	  Care
   the Company, Consultant hereby acknowledges that it is “work made for hire” for the benefit of the
   Company and hereby assigns all rights, titles and interest to such Intellectual Property to the
   Company.


   4.       Indemnification.
            The Company shall indemnify and hold harmless the Consultant against any and all
   liabilities, costs and expenses (including reasonable counsel fees), including any and all costs,
   expenses, awards and judgments to which Consultant may become subject related to any claims or
   proceedings under any federal or state statute, at common law or otherwise, insofar as said
   liabilities, costs and expenses (1) relate to the Services and (2) do not arise out of Advisor’s gross
   negligence, willful misconduct or willful omissions.



   5.      Governing Law; Severability.
           This Agreement shall be governed by and construed according to the laws of the State of
   California without regard to its conflict of laws rules. If any provision of this Agreement is found by
   a court of competent jurisdiction to be unenforceable, that provision shall be severed and the
   remainder of this Agreement shall continue in full force and effect.


   6.      Term and Termination; Entire Agreement.
           (a)    Terms of this agreement shall remain in effect from the date hereof until the first
   anniversary of the date of this Agreement, and may be canceled by either party for any reason on
   thirty (30) days’ advance written notice to the other party. Advisor’s obligations under Sections 2, 3,
   and 4 hereof shall survive termination and/or expiration of this Agreement. Company will be
   responsible for payment for all services and approved expenses provided by Consultant under this
   Agreement up to the termination date of this Agreement

          (b)      This Agreement constitutes the entire agreement between the parties hereto with
   respect to the subject matter hereof and supersedes all prior discussions or arrangements between
   the parties with respect to the subject matter hereof. This Agreement may not be amended,
   modified, or superseded except in writing signed by the parties hereto.

          (c)     This Agreement incorporates and supersedes all elements of the 9/22/12
   Confidentiality agreement signed by Consultant and Ecomundi Ventures.



   7.      Sustainable Enterprise.
           Thrive Natural Care’s intent is to manufacture and sell body care products that help our
   consumers look better and live healthier, and that actively improve the natural landscapes and
   economic livelihoods of our partners. As such, Thrive encourages Consultant to collaborate with us
   in a financially responsible manner with her/his vendors and partners to reduce and/or offset
   material, energy, transportation, and social impacts associated with performance of services in this
   agreement during the time of Project First Step.




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   IN WITNESS WHEREOF, the parties hereto have signed this Agreement as of the day and year
   written below.

   Thrive Natural Care, Inc.                                 Mr. Arthur Georgalas




   By:   _________                                  By_______________________

         (Signature)                                (Signature)

   Name Printed: Alex McIntosh                      Name Printed: Arthur Georgalas

   Title: Founder/CEO                               Title:    Consultant


   Date: 5-21-13                                    Date:          5-23-13




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                                                            THRIVE NATURAL CARE, INC.
                                             RESTRICTED STOCK PURCHASE AGREEMENT


                    THIS RESTRICTED STOCK PURCHASE AGREEMENT (the “Agreement”) is made as of May 23,
            2013, by and among Thrive Natural Care, Inc., a Delaware corporation (the “Company”), Alex McIntosh
            (“McIntosh”) and Ecomundi Ventures, LLC, a California limited liability company (“Purchaser”).

                                                                                 RECITAL

                   The Company desires to issue, and Purchaser, on behalf of McIntosh, desires to acquire, stock of
            the Company as herein described, on the terms and conditions hereinafter set forth.

                                                                              AGREEMENT

                     The parties agree as follows:

            1.      PURCHASE AND SALE OF STOCK. Purchaser hereby agrees to purchase from the Company, and
            the Company hereby agrees to sell to Purchaser, an aggregate of 5,000,000 shares of the Common Stock
            of the Company (the “Stock”) at $0.00001 per share, for an aggregate purchase price of $50.00, payable
            as follows:

                     Cash ......................................................................................................................... $25.00

                     Transfer of intellectual property rights pursuant to the Technology Assignment Agreement
                     attached as Exhibit A .............................................................................................. $25.00

                    The closing hereunder, including payment for and delivery of the Stock, shall occur at the offices
            of the Company immediately following the execution of this Agreement, or at such other time and place
            as the parties may mutually agree.

            2.      LIMITATIONS ON TRANSFER. In addition to any other limitation on transfer created by
            applicable securities laws, Purchaser shall not assign, hypothecate, donate, encumber or otherwise dispose
            of any interest in the Stock while the Stock is subject to the Repurchase Option. After any Stock has been
            released from the Repurchase Option, Purchaser shall not assign, hypothecate, donate, encumber or
            otherwise dispose of any interest in the Stock except in compliance with the provisions herein and
            applicable securities laws. Furthermore, the Stock shall be subject to any right of first refusal in favor of
            the Company or its assignees that may be contained in the Company’s Bylaws. Purchaser hereby
            further acknowledges that Purchaser may be required to hold the Common Stock purchased
            hereunder indefinitely. During the period of time during which the Purchaser holds the Common
            Stock, the value of the Common Stock may increase or decrease, and any risk associated with such
            Common Stock and such fluctuation in value shall be borne by the Purchaser.

            3.      RESTRICTIVE LEGENDS. All certificates representing the Stock shall have endorsed thereon
            legends in substantially the following forms (in addition to any other legend which may be required by
            other agreements between the parties hereto):

                 (a)    “THE SHARES REPRESENTED BY THIS CERTIFICATE ARE SUBJECT TO AN
            OPTION SET FORTH IN AN AGREEMENT BETWEEN THE COMPANY AND THE REGISTERED
            HOLDER, OR SUCH HOLDER’S PREDECESSOR IN INTEREST, A COPY OF WHICH IS ON FILE
            AT THE PRINCIPAL OFFICE OF THE COMPANY. ANY TRANSFER OR ATTEMPTED

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            TRANSFER OF ANY SHARES SUBJECT TO SUCH OPTION IS VOID WITHOUT THE PRIOR
            EXPRESS WRITTEN CONSENT OF THE COMPANY.”

                  (b)   “THE SHARES REPRESENTED BY THIS CERTIFICATE HAVE NOT BEEN
            REGISTERED UNDER THE SECURITIES ACT OF 1933 AS AMENDED. THEY MAY NOT BE
            SOLD, OFFERED FOR SALE, PLEDGED OR HYPOTHECATED IN THE ABSENCE OF AN
            EFFECTIVE REGISTRATION STATEMENT AS TO THE SECURITIES UNDER SAID ACT OR AN
            OPINION OF COUNSEL SATISFACTORY TO THE COMPANY THAT SUCH REGISTRATION IS
            NOT REQUIRED.”

                 (c)   “THE SHARES REPRESENTED BY THIS CERTIFICATE ARE SUBJECT TO A
            TRANSFER RESTRICTION, AS PROVIDED IN THE BYLAWS OF THE CORPORATION.”

                  (d)   “THE SHARES REPRESENTED BY THIS CERTIFICATE ARE SUBJECT TO A
            RIGHT OF FIRST REFUSAL OPTION IN FAVOR OF THE COMPANY AND/OR ITS ASSIGNEE(S)
            AS PROVIDED IN THE BYLAWS OF THE COMPANY.”

                     (e)     Any legend required by appropriate blue sky officials.

            4.      INVESTMENT REPRESENTATIONS. In connection with the purchase of the Stock, Purchaser
            represents to the Company the following:

                     (a)     Purchaser is aware of the Company’s business affairs and financial condition and has
            acquired sufficient information about the Company to reach an informed and knowledgeable decision to
            acquire the Stock. Purchaser is purchasing the Stock for investment for Purchaser’s own account only
            and not with a view to, or for resale in connection with, any “distribution” thereof within the meaning of
            the Securities Act of 1933, as amended (the “Act”).

                     (b)     Purchaser understands that the Stock has not been registered under the Act by reason of a
            specific exemption therefrom, which exemption depends upon, among other things, the bona fide nature
            of Purchaser’s investment intent as expressed herein.

                     (c)      Purchaser further acknowledges and understands that the Stock must be held
            indefinitely unless the Stock is subsequently registered under the Act or an exemption from such
            registration is available. Purchaser further acknowledges and understands that the Company is under no
            obligation to register the Stock. Purchaser understands that the certificate evidencing the Stock will be
            imprinted with a legend that prohibits the transfer of the Stock unless the Stock is registered or such
            registration is not required in the opinion of counsel for the Company.

                     (d)      Purchaser is familiar with the provisions of Rule 144, under the Act, as in effect from
            time to time, which, in substance, permit limited public resale of “restricted securities” acquired, directly
            or indirectly, from the issuer thereof (or from an affiliate of such issuer), in a non-public offering subject
            to the satisfaction of certain conditions.

                     The Stock may be resold by Purchaser in certain limited circumstances subject to the provisions
            of Rule 144, which may require, among other things, (i) the availability of certain public information
            about the Company and (ii) the resale occurring following the required holding period under Rule 144
            after the Purchaser has purchased, and made full payment for (within the meaning of Rule 144), the
            securities to be sold.

                   (e)    Purchaser further understands that at the time Purchaser wishes to sell the Stock there
            may be no public market upon which to make such a sale, and that, even if such a public market then



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            exists, the Company may not be satisfying the current public information requirements of Rule 144, and
            that, in such event, Purchaser may be precluded from selling the Stock under Rule 144 even if the
            minimum holding period requirement had been satisfied.

                   (f)     Purchaser represents that Purchaser is an “accredited investor” as that term is defined in
            Rule 501 of Regulation D promulgated by the Securities and Exchange Commission under the Act.

                     (g)      Purchaser further warrants and represents that Purchaser has either (i) preexisting
            personal or business relationships with the Company or any of its officers, directors or controlling
            persons, or (ii) the capacity to protect his own interests in connection with the purchase of the Stock by
            virtue of the business or financial expertise of himself or of professional advisors to Purchaser who are
            unaffiliated with and who are not compensated by the Company or any of its affiliates, directly or
            indirectly.

            5.       MARKET STAND-OFF AGREEMENT. Purchaser shall not sell, dispose of, transfer, make any
            short sale of, grant any option for the purchase of, or enter into any hedging or similar transaction with the
            same economic effect as a sale, any Common Stock or other securities of the Company held by Purchaser
            (other than those included in the registration), including the Stock (the “Restricted Securities”), during
            the 180-day period following the effective date of the Company’s first firm commitment underwritten
            public offering of its Common Stock (or such longer period, not to exceed 34 days after the expiration of
            the 180-day period, as the underwriters or the Company shall request in order to facilitate compliance
            with NASD Rule 2711 or NYSE Member Rule 472 or any successor or similar rule or regulation) (the
            “Lock Up Period”), provided, however, that nothing contained in this Section 14 shall prevent the
            exercise of the Repurchase Option during the Lock Up Period. Purchaser agrees to execute and deliver
            such other agreements as may be reasonably requested by the Company and/or the managing underwriters
            which are consistent with the foregoing or which are necessary to give further effect thereto. In order to
            enforce the foregoing covenant, the Company may impose stop-transfer instructions with respect to
            Purchaser’s Restricted Securities until the end of such period. The underwriters of the Company’s stock
            are intended third party beneficiaries of this Section 14 and shall have the right, power and authority to
            enforce the provisions hereof as though they were a party hereto.

            6.       REFUSAL TO TRANSFER. The Company shall not be required (a) to transfer on its books any
            shares of Stock of the Company which shall have been transferred in violation of any of the provisions set
            forth in this Agreement or (b) to treat as owner of such shares or to accord the right to vote as such owner
            or to pay dividends to any transferee to whom such shares shall have been so transferred.

            7.      NO EMPLOYMENT RIGHTS. This Agreement is not an employment or other service contract and
            nothing in this Agreement shall affect in any manner whatsoever the right or power of the Company (or a
            parent or subsidiary of the Company) to terminate any service relationship between the Company and
            McIntosh or Purchaser for any reason at any time, with or without cause and with or without notice.

            8.       INTELLECTUAL PROPERTY RIGHTS.

                     (a)     McIntosh and Purchaser represent and warrant that except for intellectual property rights
            assigned pursuant to this agreement or specifically disclosed to the Company on the appropriate schedule
            of McIntosh’s Confidential Information and Inventions Assignment Agreement with the Company,
            McIntosh and Purchaser possess no intellectual property and have made no inventions related to the
            Company’s business, as currently conducted or as proposed to be conducted. McIntosh and Purchaser
            further agree that to the extent it is discovered that McIntosh or Purchaser have made inventions, patented
            or unpatented, or otherwise possess intellectual property rights related to the Company’s business that
            were not properly assigned to the Company or specifically disclosed and excluded in McIntosh’s




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            Confidential Information and Inventions Assignment Agreement (the “Additional Intellectual
            Property”), that the Additional Intellectual Property is hereby assigned to the Company.

                     (b)    McIntosh and Purchaser agree to assist the Company in every proper way to obtain, and
            from time to time enforce, United States and foreign proprietary rights relating to the Additional
            Intellectual Property in any and all countries. McIntosh and Purchaser agree to execute, verify and
            deliver such documents and perform such other acts (including appearances as a witness) as the Company
            may reasonably request for use in applying for, obtaining, perfecting, evidencing, sustaining and
            enforcing such Additional Intellectual Property and the assignment thereof.

                    (c)     In the event the Company is unable for any reason, after reasonable effort, to secure
            McIntosh’s or Purchaser’s signature on any document needed in connection with the actions specified in
            the preceding paragraph, McIntosh and Purchaser hereby irrevocably designate and appoint the Company
            and its duly authorized officers and agents as McIntosh’s and Purchaser’s agent and attorney in fact,
            which appointment is coupled with an interest, to act for and on behalf of McIntosh and Purchaser to
            execute, verify and file any such documents and to do all other lawfully permitted acts to further the
            purposes of the preceding paragraph with the same legal force and effect as if executed by McIntosh and
            Purchaser.

            9.       MISCELLANEOUS.

                    (a)      Notices. All notices required or permitted hereunder shall be in writing and shall be
            deemed effectively given: (i) upon personal delivery to the party to be notified, (ii) when sent by
            confirmed telex or facsimile if sent during normal business hours of the recipient, and if not during
            normal business hours of the recipient, then on the next business day, (iii) five calendar days after having
            been sent by registered or certified mail, return receipt requested, postage prepaid, or (iv) one business
            day after deposit with a nationally recognized overnight courier, specifying next day delivery, with
            written verification of receipt. All communications shall be sent to the other party hereto at such party’s
            address hereinafter set forth on the signature page hereof, or at such other address as such party may
            designate by ten days advance written notice to the other party hereto.

                     (b)     Successors and Assigns. This Agreement shall inure to the benefit of the successors and
            assigns of the Company and, subject to the restrictions on transfer herein set forth, be binding upon
            McIntosh, McIntosh’s successors and assigns, Purchaser and Purchaser’s successors and assigns. The
            Repurchase Option of the Company hereunder shall be assignable by the Company at any time or from
            time to time, in whole or in part.

                     (c)     Attorneys’ Fees; Specific Performance. McIntosh and Purchaser shall reimburse the
            Company for all costs incurred by the Company if the Company seeks to enforce the performance of, or
            protect its rights under, any part of this Agreement and ultimately prevails in doing so, including
            reasonable costs of investigation and attorneys’ fees. It is the intention of the parties that the Company,
            upon exercise of the Repurchase Option and payment therefor, pursuant to the terms of this Agreement,
            shall be entitled to receive the Stock, in specie, in order to have such Stock available for future issuance
            without dilution of the holdings of other shareholders. Furthermore, it is expressly agreed between the
            parties that money damages are inadequate to compensate the Company for the Stock and that the
            Company shall, upon proper exercise of the Repurchase Option, be entitled to specific enforcement of its
            rights to purchase and receive said Stock.

                     (d)     Governing Law; Venue. This Agreement shall be governed by and construed in
            accordance with the laws of the State of Delaware. The parties agree that any action brought by either
            party to interpret or enforce any provision of this Agreement shall be brought in, and each party agrees to,




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            and does hereby, submit to the jurisdiction and venue of, the appropriate state or federal court for the
            district encompassing the Company’s principal place of business.

                     (e)     Further Execution. The parties agree to take all such further action(s) as may
            reasonably be necessary to carry out and consummate this Agreement as soon as practicable, and to take
            whatever steps may be necessary to obtain any governmental approval in connection with or otherwise
            qualify the issuance of the securities that are the subject of this Agreement.

                     (f)    Independent Counsel. Purchaser and McIntosh acknowledge that this Agreement has
            been prepared on behalf of the Company by Cooley LLP, counsel to the Company and that Cooley LLP
            does not represent, and is not acting on behalf of Purchaser or McIntosh. Purchaser and McIntosh have
            been provided with an opportunity to consult with Purchaser’s and McIntosh’s own counsel with respect
            to this Agreement.

                    (g)     Entire Agreement; Amendment. This Agreement constitutes the entire agreement
            between the parties with respect to the subject matter hereof and supersedes and merges all prior
            agreements or understandings, whether written or oral. This Agreement may not be amended, modified
            or revoked, in whole or in part, except by an agreement in writing signed by each of the parties hereto.

                     (h)     Severability. If one or more provisions of this Agreement are held to be unenforceable
            under applicable law, the parties agree to renegotiate such provision in good faith. In the event that the
            parties cannot reach a mutually agreeable and enforceable replacement for such provision, then (i) such
            provision shall be excluded from this Agreement, (ii) the balance of the Agreement shall be interpreted as
            if such provision were so excluded and (iii) the balance of the Agreement shall be enforceable in
            accordance with its terms.

                   (i)      Counterparts. This Agreement may be executed in two or more counterparts, each of
            which shall be deemed an original and all of which together shall constitute one instrument.



                                                      [Signature Page Follows]




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                    The parties hereto have executed this RESTRICTED STOCK PURCHASE AGREEMENT as of the
            day and year first above written.

                                                             COMPANY:

                                                             THRIVE NATURAL CARE, INC.


                                                             By:
                                                                   Alex McIntosh

                                                             Title: President and Chief Executive Officer

                                                             Address: 42 Darrell Place
                                                                      San Francisco, CA 94133


            PURCHASER ACKNOWLEDGES AND AGREES THAT PURCHASER MUST HOLD THE COMMON STOCK
            PURCHASED HEREUNDER INDEFINITELY. PURCHASER FURTHER ACKNOWLEDGES THAT ANY RISK
            RELATED TO THE FLUCTUATION IN THE VALUE OF THE STOCK FROM AND AFTER THE DATE HEREOF
            SHALL BE BORNE BY PURCHASER.

            PURCHASER AND MCINTOSH ACKNOWLEDGE THAT PURCHASER AND MCINTOSH HAVE HAD AN
            OPPORTUNITY TO CONSULT PURCHASER’S AND MCINTOSH’S OWN TAX, LEGAL AND FINANCIAL
            ADVISORS REGARDING THE PURCHASE OF COMMON STOCK UNDER THIS AGREEMENT.

            PURCHASER ACKNOWLEDGES AND AGREES THAT IN MAKING THE DECISION TO PURCHASE THE
            COMMON STOCK HEREUNDER PURCHASER HAS NOT RELIED ON ANY STATEMENT, WHETHER
            WRITTEN OR ORAL, REGARDING THE SUBJECT MATTER HEREOF , EXCEPT AS EXPRESSLY PROVIDED
            HEREIN AND IN THE ATTACHMENTS AND EXHIBITS HERETO .


                                                                     PURCHASER:
                                                                     ECOMUNDI VENTURES, LLC
            Alex McIntosh
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                                                                        1:lQiFC7Qo:lo Q4:l L
                                                                     By: Alex McIntosh
                                                                     Its: founder/CEO
                                                                     Address: 42 Darrell Place
                                                                                     San Francisco, CA 94133




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                                                             EXHIBIT A

                                             TECHNOLOGY ASSIGNMENT AGREEMENT




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                                        TECHNOLOGY ASSIGNMENT AGREEMENT


                   THIS TECHNOLOGY ASSIGNMENT AGREEMENT (this “Agreement”) is made and entered into as
            of May 23, 2013, by and between ECOMUNDI VENTURES (the “Assignor”) and THRIVE NATURAL
            CARE, INC., a Delaware corporation (the “Company”). The parties hereto agree as follows:

                                                             AGREEMENT

                     Assignor hereby irrevocably assigns, sells, transfers and conveys to the Company all right, title
            and interest, on a worldwide basis, in and to the technology described in ANNEX A attached hereto and all
            applicable intellectual property rights, on a worldwide basis, related thereto, including, without limitation,
            copyrights, trademarks, trade secrets, patents, patent applications, moral rights, contract and licensing
            rights (the “Property”). In consideration for such transfer of the Property, the Company shall grant to
            Assignor 2,500,000 shares of its Common Stock (the “Payment”). Assignor hereby acknowledges that he
            retains no right to use the Property and agrees not to challenge the validity of the Company’s ownership
            of the Property.

                     Upon each request by the Company, without additional consideration, Assignor agrees to
            promptly execute documents, testify and take other acts at the Company’s expense as the Company may
            deem necessary or desirable to procure, maintain, perfect, and enforce the full benefits, enjoyment, rights,
            title and interest, on a worldwide basis of the Property assigned hereunder, and render all necessary
            assistance in making application for and obtaining original, divisional, renewal, or reissued utility and
            design patents, copyrights, trademarks, trade secrets, and all other technology and intellectual property
            rights throughout the world related to any of the Property, in the Company’s name and for its benefit. In
            the event the Company is unable for any reason, after reasonable effort, to secure Assignor’s signature on
            any document needed in connection with the actions specified herein, Assignor hereby irrevocably
            designates and appoints the Company and its duly authorized officers and agents as its agent and attorney
            in fact, which appointment is coupled with an interest, to act for and in its behalf to execute, verify and
            file any such documents and to do all other lawfully permitted acts to further the purposes of this
            paragraph with the same legal force and effect as if executed by Assignor. Assignor hereby waives and
            quitclaims to the Company any and all claims, of any nature whatsoever, which Assignor now or may
            hereafter have for infringement of any Property assigned hereunder.

                     Assignor further agrees to deliver to the Company upon execution of this Agreement any and all
            tangible manifestations of the Property, including, without limitation, all notes, records, files and tangible
            items of any sort in its possession or under its control relating to the Property. Such delivery shall include
            all present and predecessor versions. In addition, Assignor agrees to provide to the Company from and
            after the execution of this Agreement and at the expense of the Company competent and knowledgeable
            assistance to facilitate the transfer of all information, know-how, techniques, processes and the like
            related to such tangible manifestation and otherwise comprising the intangible aspects of the Property.

                    Assignor represents and warrants to the Company that (a) Assignor is the sole owner of the
            Property and has full and exclusive right to assign the rights assigned herein, (b) Assignor has full right
            and power to enter into and perform this Agreement without the consent of any third party, (c) all of the
            Property is free and clear of all claims, liens, encumbrances and the like of any nature whatsoever, (d) the
            Property is an original work of Assignor, (e) none of the Property infringes, conflicts with or violates any
            patent or other intellectual property right of any kind (including, without limitation, any trade secret) or
            similar rights of any third party, (f) Assignor was not acting within the scope of employment or other
            service arrangements with any third party when conceiving, creating or otherwise performing any activity
            with respect to the Property, (g) the execution, delivery and performance of this Agreement does not



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            conflict with, constitute a breach of, or in any way violate any arrangement, understanding or agreement
            to which Assignor is a party or by which Assignor is bound, and (h) Assignor has maintained the Property
            in confidence and has not granted, directly or indirectly, any rights or interest whatsoever in the Property
            to any third party.

                    Assignor further represents and warrants to the Company that no claim, whether or not embodied
            in an action past or present, of any infringement, of any conflict with, or of any violation of any patent,
            trade secret or other intellectual property right or similar right, has been made or is pending or threatened
            against Assignor relative to the Property. Assignor agrees to promptly inform the Company of any such
            claim arising or threatened in the future with respect to the Property or any part thereof.

                      Assignor will indemnify and hold harmless the Company, from any and all claims, losses,
            liabilities, damages, expenses and costs (including attorneys’ fees and court costs) which result from a
            breach or alleged breach of any representation or warranty of Assignor (a “Claim”) set forth in this
            Agreement, provided that the Company gives Assignor written notice of any such Claim and Assignor
            has the right to participate in the defense of any such Claim at its expense.

                    This Agreement and the Exhibit attached hereto constitute the entire, complete, final and
            exclusive understanding and agreement of the parties hereto with respect to the subject matter hereof, and
            supersedes any other prior or contemporaneous oral understanding or agreement or any other prior written
            agreement. No modification of or amendment to this Agreement, nor any waiver of any rights under this
            Agreement, will be effective unless in writing and signed by the parties hereto.

                   This Agreement will be governed and construed in accordance with the laws of the State of
            Delaware as applied to transactions taking place wholly within Delaware between Delaware residents.
            Assignor hereby expressly consents to the personal jurisdiction of the state and federal courts located in
            Delaware for any lawsuit filed there against Assignor by the Company arising from or related to this
            Agreement.

                   If any provision of this Agreement is found invalid or unenforceable, in whole or in part, the
            remaining provisions and partially enforceable provisions will, nevertheless, be binding and enforceable.

                    Failure by either party to exercise any of its rights hereunder shall not constitute or be deemed a
            waiver or forfeiture of such rights.

                     The provisions hereof shall inure to the benefit of, and be binding upon, the successors, assigns,
            heirs, executors and administrators of the parties hereto.

                                                       [Signature page follows]




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                    The undersigned have executed this TECHNOLOGY ASSIGNMENT AGREEMENT as of the date set
            forth above.


                                                             COMPANY:

                                                             THRIVE NATURAL CARE, INC.
                                                                   G     DocuSigned by:

                                                                       n-le,.. leeJT,.'i/7,,t..
                                                             By:         1aesre7e6a6e1 a6 ...
                                                                   Alex McIntosh, President and Chief Executive Officer



                                                             ASSIGNOR:

                                                             ECOMUNDI VENTURES, LLC
                                                               DocuSigned by:

                                                               J/e,._ heJT,.'i/7,}4
                                                             __________________________________________
                                                                 1396FC7D535D435 ...
                                                             By: Alex McIntosh
                                                             Its: founder/CEO




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                                                             ANNEX A

                                               DESCRIPTION OF TECHNOLOGY


                    All algorithms, apparatus, business plans, concepts, confidential information, data, databases and
            data collections, designs, diagrams, documentation, drawings, flow charts, indexes, ideas and inventions
            (whether or not patentable or reduced to practice), know-how, materials, marketing and development
            plans, marks (including brand names, product names, logos, and slogans) and associated goodwill,
            methods, models, procedures, processes, schematics, specifications, subroutines, techniques, tools, works
            of authorship, and other forms of technology comprising or related to software, products and services that
            in any case relate in any way to or are useful to the Company’s business as currently planned.

                    For the avoidance of doubt, all of Assignor’s interests in the Thrive trademark and the domain
            names listed below shall be Property for purposes of this Agreement.

                 •   Thrivenaturalcare.com
                 •   Thrive-natural.com




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Subject: Please DocuSign this document: SF-#1300852-v3-Thrive_-_RSPA_Ecomundi_.pdf
Client Number: 319453
Matter Number: 100
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Document Pages: 11                              Signatures: 5                        Envelope Originator:
Certificate Pages: 4                            Initials: 0                          Robert E. Jones
AutoNav: Enabled                                                                     101 California Street
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                                                                                     rejones@cooley.com
                                                                                     IP Address: 173.227.174.10

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Signer Events                                   Signature                            Timestamp
Alex McIntosh
alex.mcintosh@ecomundiventures.com
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Completed                                       Security Checked                     5/23/2013 3:09:58 PM PT

Consumer Disclosure




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Parties agreed to: Alex McIntosh
                                              #:8510



            CONSUMER DISCLOSURE
            From time to time, Cooley LLP (we, us or Company) may be required by law to provide to you
            certain written notices or disclosures. Described below are the terms and conditions for providing
            to you such notices and disclosures electronically through the DocuSign, Inc. (DocuSign)
            electronic signing system. Please read the information below carefully and thoroughly, and if
            you can access this information electronically to your satisfaction and agree to these terms and
            conditions, please confirm your agreement by clicking the a€1 agreea€™ button at the bottom of
            this document.
            Getting paper copies
            At any time, you may request from us a paper copy of any record provided or made available
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            elect to create a DocuSign signer account, you may access them for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.
            Withdrawing your consent
            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.
            Consequences of changing your mind
            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. To indicate to us that you are changing your mind, you must
            withdraw your consent using the DocuSign a€"'Withdraw Consenta€™ form on the signing page
            of a DocuSign envelope instead of signing it. This will indicate to us that you have withdrawn
            your consent to receive required notices and disclosures electronically from us and you will no
            longer be able to use the DocuSign system to receive required notices and consents electronically
            from us or to sign electronically documents from us.
            All notices and disclosures will be sent to you electronically
            Unless you tell us otherwise in accordance with the procedures described herein, we will provide
            electronically to you through the DocuSign system all required notices, disclosures,
            authorizations, acknowledgements, and other documents that are required to be provided or made
            available to you during the course of our relationship with you. To reduce the chance of you
            inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
            notices and disclosures to you by the same method and to the same address that you have given
            us. Thus, you can receive all the disclosures and notices electronically or in paper format through
            the paper mail delivery system. If you do not agree with this process, please let us know as
            described below. Please also see the paragraph immediately above that describes the
            consequences of your electing not to receive delivery of the notices and disclosures
            electronically from us.




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How to contact Cooley LLP:

You may contact us to let us know of your changes as to how we may contact you electronically,
to request paper copies of certain information from us, and to withdraw your prior consent to
receive notices and disclosures electronically as follows:
To contact us by email send messages to: pwerner@cooley.com

To advise Cooley LLP of your new e-mail address

To let us know of a change in your e-mail address where we should send notices and disclosures
electronically to you, you must send an email message to us at pwerner@cooley.com and in the
body of such request you must state: your previous e-mail address, your new e-mail address. We
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number. We will bill you for any fees at that time, if any.
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       state your e-mail, full name, US Postal Address, and telephone number. We do not need
       any other information from you to withdraw consent.. The consequences of your
       withdrawing consent for online documents will be that transactions may take a longer
       time to process..

Required hardware and software
Operating
               WindowsÂ® 2000, WindowsÂ® XP, Windows VistaÂ®; Mac OSÂ® X
Systems:
                   Final release versions of Internet ExplorerÂ® 6.0 or above (Windows only);
Browsers:          Mozilla Firefox 2.0 or above (Windows and Mac); Safaria,,¢ 3.0 or above
                   (Mac only)
PDF Reader:        AcrobatÂ® or similar software may be required to view and print PDF files
Screen
                   800 x 600 minimum
Resolution:



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Enabled Security
                     Allow per session cookies
Settings:
** These minimum requirements are subject to change. If these requirements change, you will be
asked to re-accept the disclosure. Pre-release (e.g. beta) versions of operating systems and
browsers are not supported.
Acknowledging your access and consent to receive materials electronically
To confirm to us that you can access this information electronically, which will be similar to
other electronic notices and disclosures that we will provide to you, please verify that you were
able to read this electronic disclosure and that you also were able to print on paper or
electronically save this page for your future reference and access or that you were able to e-mail
this disclosure and consent to an address where you will be able to print on paper or save it for
your future reference and access. Further, if you consent to receiving notices and disclosures
exclusively in electronic format on the terms and conditions described above, please let us know
by clieking the a€~1 agreea€™ button below.
By checking the a€~1 agreea€™ box, I confirm that:

   • I can access and read this Electronic CONSENT TO ELECTRONIC RECEIPT OF
       ELECTRONIC CONSUMER DISCLOSURES document; and
   •   I can print on paper the disclosure or save or send the disclosure to a place where I can
       print it, for future reference and access; and
   •   Until or unless I notify Cooley LLP as described above, I consent to receive from
       exclusively through electronic means all notices, disclosures, authorizations,
       acknowledgements, and other documents that are required to be provided or made
       available to me by Cooley LLP during the course of my relationship with you.




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      TRIAL EXHIBIT NO. 275
   Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 178 of 195 Page ID
                                     #:8514

  From:    Rachelle Lynch rachelle@spur.is
Subject:   WFM Round 1 Category Review Submission
   Date:   August 21, 2013 at 2:39 PM
     To:   Alex McIntosh alex.mcintosh@ecomundiventures.com
    Cc:    LeeAnn Stevens leeann@spur.is

       Ok, here you go!

       Please print (ONE) copy of each page, insert into a box with the product samples and ship to:

       Whole Foods Market
       ATTN: Joanne Brenner
       5980 Horton Street #200
       Emeryville, CA 94608

       Near the shipping label, make sure to write in big letters "ROUND 1 SAMPLES" so that she knows there are samples inside.

       If you decide to write a note or put your business card inside, please include a comment that I'm on your team and will be submitting
       docs to her electronically by 8/23.

       Go us!




            THRIVE FY14
           Nor Ca…ide.ppt




                                                                                                                         TNC01022
   Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 179 of 195 Page ID
                                     #:8515

  From:    Alex McIntosh alex.mcintosh@ecomundiventures.com
Subject:   Re: WFM Round 1 Category Review Submission
   Date:   August 22, 2013 at 2:58 PM
     To:   Rachelle Lynch rachelle@spur.is
    Cc:    LeeAnn Stevens leeann@spur.is

       Hi. So our friend Joanne brenner will get three great bottles of thrive, plus printed ppt, plus a little note from thrive founder, tomorrow
       by 10:30am.

       Ill send you photo of my note FYI.

       Great work.

       What's next to make the sale with WFM? ;)

       Alex McIntosh

       On Aug 21, 2013, at 2:39 PM, Rachelle Lynch <rachelle@spur.is> wrote:

       Ok, here you go!

       Please print (ONE) copy of each page, insert into a box with the product samples and ship to:

       Whole Foods Market
       ATTN: Joanne Brenner
       5980 Horton Street #200
       Emeryville, CA 94608

       Near the shipping label, make sure to write in big letters "ROUND 1 SAMPLES" so that she knows there are samples inside.

       If you decide to write a note or put your business card inside, please include a comment that I'm on your team and will be submitting
       docs to her electronically by 8/23.

       Go us!
       <THRIVE FY14 Nor Cal WB New Item Submission Slide.ppt>




                                                                                                                            TNC01023
   Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 180 of 195 Page ID
                                     #:8516

  From:    Rachelle Lynch rachelle@spur.is
Subject:   Re: Alex letter to Joanne/WFM
   Date:   August 22, 2013 at 9:24 PM
     To:   Alex McIntosh agmcintosh@gmail.com

       Very nice!!!! I'm thrilled to submit this over to her and see what happens. WHOO HOO!

       On Thu, Aug 22, 2013 at 8:33 PM, Alex McIntosh <agmcintosh@gmail.com> wrote:
        FYI




                                                                                               TNC01024
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                                       #:8517




    ff-                                                           • BRAND NEW LINE - MEN'S FACIAL CARE - (3) SKUs
.;>       COSTA RICA• SAN FRANCISCO                               • Born in Costa Rica, and brought to your consumers via an
                                                                    innovative social enterprise model - talented female entrepreneurs
                                                                    involved in product design, partnership with rural farmers and the


fflHRIVf
~1,c,     A BETTER WAY TO GROOM
                                                                    country's leading biodynamically certified farm to supply the
                                                                    active botanical plants
                                                                  • Beyond Sustainability: with 85% of Costa Rica's original forests cut
                                                                    down, Thrive is partnering with others ta regenerate degraded
                                                                    landscapes so that the places that supply our plants become
\                                                                   healthier & more productive over time.
                                      FACE BALM                   • Products feature two potent and very special active botanicals:
                                      Protects and energizes
                                                                             Approved for use in EU and US.
                                      skin while reducing
                                                                             A. chica - a natural antioxidant used for 100+ years by
                                      irritation.
                                      WFM Cost (Delivered)                   indigenous people to treat inflammation and heal skin
                                      per unit = $7.50                       infections. This glorious vine is prized by locals - Thrive is
                                      MSRP per unit= $14.99                  working with partners to re-establish it in Costa Rica.
                                      GM50%                                  L. alba - a natural antioxidant, loaded with antiseptic and
                                      Size: 2 fl oz.
                                                                             antifungal properties, known for it's ability to reduce skin
                                      UPC 8-52200-00501-5
                                                                             infection and irritation. Mother Nature blessed this plant
                                      FACE WASH                              with an intoxicating aroma of mint + citrus - a natural
                                      Cleanses, energizes and                fragrance indeed!
                                      refreshes skin.
                                                                  • Shatterproof and highly recyclable PET bottles.
                                      WFM Cost (Delivered)
                                      per unit = $5.00            • Absolutely NO synthetic preservatives or formaldehyde donors,
                                      MSRP per unit = $9.99         synthetic detergents, parabens, phthalates, synthetic fragrances or
                                      GM50%                         synthetic colors.
                                      Size: 3.38 fl oz.
                                      UPC 8-52200-00500-8         •   Premium Body Care: YES - All SKUs meet Premium Body Care
                                                                      standards
                                      SHAVE OIL                   • Exclusive: NO
                                      Conditions skin for a
                                                                  • Channel Strategy: Natural, Specialty
                                      smoother, irritation-free
                                      shave.                      • Promotional Support: Quarterly TPRs with 30% 01
                                      WFM Cost (Delivered)        • Monthly Demo Support+ Testers + Samples




                                                                                                                                     ~-i'
                                      per unit = $5.00            • In Store Launch: January /2014
                                      MSRP per unit = $9.99
                                                                  • Distribution: Direct (open to UNFI, if accepted into all doors) : ~
                                      GM50%
                                      Size: 1 fl oz.
                                                                           Rachelle Lynch rachelle@spur.is (480) 544-3383
                                      UPC 8-52200-00502-2




                                                                                                                    TNC01025
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              FACE BALM Aqua/water, Glycerin*, Aloe Barbadensis Leaf Extract***, Caprilic/Capric Triglyceride, Glyceryl
              Stearate**, Cetearyl Alcohol**, Sodium Stearoyl Lactylate**, Macadamia Ternifolia (Macadamia nut) Seed
              Oil***, Butyrospermum Parkii (Shea) Butter, Olea Europea (Olive) Fruit Oil***, Argonia Spinosa Kernel Oil,
              Xanthan Gum, Lippia Alba Oil, Arrabidacea Chica Extract, Helianthus Annuus (Sunflower) Seed Oil,
              Rosemarinus Officinalis (Rosemary) Leaf Extract***, natural fragrance** (Grapefruit Oil, Lemon Oil, Orange
              Oil, Vetiver Oil, Star Anise Oil), Dehydroacetic Acid**, Benzyl Alcohol**, Lactic Acid**




              FACE WASH Aqua/water, Glycerin*, Coco-Glucoside**, Lauryl Glucoside**, Xanthan Gum, Polyglyceryl-4
              Laurate/Sebacate and Polyglyceryl-6 Caprylate/Caprate**, Argonia Spinosa Kernel oil, Lippia Alba Oil,
              Arrabidacea Chica Extract, natural Fragrance** (Grapefruit Oil, Lemon Oil, Orange Oil, Vetiver Oil, Star
              Anise Oil), Dehydroacetic Acid**, Benzyl Alcohol**, Lactic Acid**




              SHAVE OIL Caprilic/Capric Triglyceride*, Olea Europea (Olive) Fruit oil***, Sodium Caproyl Lactylate**,
              Sodium Lauroyl Lactylate**, Argonia Spinosa Kernel oil, Polyglyceryl-4 Laurate/Sebacate and Polyglyceryl-6
              Caprylate/Caprate**, Helianthus Annuus (Sunflower) Seed Oil, Rosemarinus officinalis (Rosemary) Leaf
              Extract***, Lippia Alba Oil, Arrabidacea Chica Extract, Mentha Piperita Oil, Eucalyptus Globulus (Eucalyptus)
              Leaf Oil, natural fragrance** (Grapefruit Oil, Lemon Oil, Orange Oil, Vetiver Oil, Star Anise Oil)




               *VEGETABLE-ORIGIN       I   **ECOCERT or NATRUE CERTIFIED      I   ***ORGANIC




                                                                                                        TNC01026
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      TRIAL EXHIBIT NO. 298
Case 2:20-cv-09091-PA-AS Document 174 Filed 10/26/21 Page 185 of 195 Page ID
 Jim Geikie
                                                                                0
                                       September 5, 2013 at 5:36 PM
                                  #:8521
 Shave Oil
 To: Alex McIntosh


 I have been putting a couple drops of shaving oil on the back of my hand so that
 I have the pleasure of smelling it all day (or at least several hours until it flashes
 off). I know you are getting mixed response on it. Add me to the "aye" side.
  Also the lather, the skin conditioning, and the rinse-off are better than the
 creams I had been using. It's a very good line, Alex. I'll plan to write down
 feedback this weekend, but I wanted to use the a few times.

 Jim




                                                                     TNC01423
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                                     #:8523




                                                                                                                                             •
  From:    JoAnne Brenner (NC NCC) Joanne.Brenner@wholefoods.com
Subject:   RE: hello and surprise en route
   Date:   November 4, 2013 at 6:05 PM
     To:   Alex McIntosh amcintosh@thrivenaturalcare.com


       Thanks for the samples and the buffalo. Would you mind completing the attached for further
       review?

       JoAnne Brenner |Nor Cal Regional Buyer | Bodycare & Lifestyle
       desk: 510-428-7433 | efax: 512-404-1781 | JoAnne.Brenner@Wholefoods.com
       5980 Horton St. Suite# 200 | Emeryville, CA 94608


           BE GOOD TO YOUR ;o1N

       This email contains proprietary and confidential material for the sole use of the intended recipient. Any review, use, distribution or
       disclosure by others without the permission of the sender is strictly prohibited. If you are not the intended recipient (or authorized to
       receive for the recipient), please contact the sender by reply email and delete all copies of the message.


       From: Alex McIntosh [mailto:amcintosh@thrivenaturalcare.com]
       Sent: Wednesday, October 30, 2013 5:12 PM
       To: JoAnne Brenner (NC NCC)
       Subject: hello and surprise en route

       Hola Joanne,

       Rachelle Lynch submitted to your team back in August for Thrive Natural Care's line of
       three SF-based men's skin care products. And she has handed off to me for follow up (see
       below).

       So, first: Hello! Nice to e-meet you.

       Thrive makes great men's care products and is a home grown SF business just coming to
       market.
       We offer your NorCal stores great economics (50% retailer GM + retail support)
       and ‘affordable premium’ pricing to drive purchase & deliver more consumer value.
       Two really unique plants with great skin protecting properties from Costa Rica fuel our
       natural formulas (Whole Foods Premium standard).
       And these plants are a symbol of Thrive's mission: to leave the planet and our communities
       better than we found them, starting in Costa Rica.
       Our brand promise and aesthetic is unlike anything you have on your shelves for consumers
       today. I think that's how we can add value to your 2014 line up.


       Second, since you're likely swimming in products, evaluations, and planning for 2014, I
       don't want to bug you on first contact. Could you let me know two things so that I can best
       align with your needs:
       1) do you need anything from Thrive (samples, info etc) to get to know our brand
       proposition for your region while you're making your 2014 plan?
       2) would you have a little time to meet with me (founder/ceo) to look at ways the Thrive
       brand and promotional support could support your NorCal goals for 2014? I don't have
       rabies and haven't bitten anyone for at least 8 months...
                                                                                                                               TNC01424
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  rabies and haven't bitten anyone for at least 8 months...


  Third, be on the lookout for a fun surprise to arrive at your office tomorrow, harkening back
  to your roots, that I picked up during a recent trip slightly east of us...

  Saludos,
  Alex McIntosh
  Thrive Natural Care
  San Francisco, CA
  t: 203.249.7285
  e: amcintosh@thrivenaturalcare.com




  Begin forwarded message:

  From: Rachelle Lynch <rachelle@juicebeauty.com>
  Date: October 26, 2013 3:40:25 PM PDT
  To: "JoAnne Brenner (NC NCC)" <Joanne.Brenner@wholefoods.com>
  Subject: Thank you + THRIVE
  Hi JoAnne,

  Thanks so much for your time this week. It was great to speak with you and begin planning
  for 2014.

  I wanted to shoot you a quick note to introduce you to my friend, Alex McIntosh. I'm so
  obsessed with his new line of men's grooming products – I hope that you'll take a look at
  them and consider them for your stores. I originally submitted these to you for Round 1
  review.

  While I'm not "officially" working with Alex on this project, I feel compelled to send along
  this note of endorsement for him, his company and his fantastic products. Alex & the
  company are based in San Francisco and he's looking to fully support a launch – high levels
  of consumer/staff education, demos, promotional support, etc. His goal is to start in your
  region, prove himself and the products and grow the business from there. My husband and
  his friends are absolutely hooked on these products!

  I'm sure Alex would be happy to send along some additional samples for store-level team
  members to enjoy.

  Anyhow, if you're interested in learning more about what's going on with Thrive – feel free
  to reach out to Alex directly at amcintosh@thrivenaturalcare.com.

  Hope you're enjoying the weekend!

  Rachelle
                                                                                TNC01425
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                                  #:8525

  Rachelle


   JUlC BE UTY
        Hil:c ORGANIC SOLUTION

    rachelle lynch
    busi e-ss development
    711 Grand Avenue, Suite 290
    Sa Rafael, CA 94901
    t 415.457.4600
    C 480.544.3383
  juicebeauty.com | facebook.com/juicebeauty




     WB Nor Cal
   Vendor…4.docx




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      TRIAL EXHIBIT NO. 289
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                                     #:8527




                                                                                                   •
  From:    Jaime Mruz jmruz@pharmaca.com
Subject:   RE: on shelf?
   Date:   February 17, 2014 at 7:58 AM
     To:   Alex McIntosh amcintosh@thrivenaturalcare.com


       Hello Alex—

       Yes, I am feeling like a human being again. Much be:er, thanks.

       All stores have received the product into inventory and have placed on the shelves. I checked this
       morning and the products are also now online and ready for ordering.

       Hope you had a nice weekend



           PHARMACA
            INTEGRATIVE PHA"IMACY

       Jaime Mruz | Merchandising Support Administrator
       4940 Pearl East Circle, Suite 301 | Boulder, CO 80301
       303.867.3134 | Fax 303.867.4134
       PleelARMACA. COM-

       From: Alex McIntosh [mailto:amcintosh@thrivenaturalcare.com]
       Sent: Friday, February 14, 2014 3:43 PM
       To: Jaime Mruz
       Subject: on shelf?

       Hi Jaime,

       Hope you’re feeling better now.

       What day do you expect that the Thrive products will go on shelf in Pharmaca stores? The
       planned arrival date of product was 2/17-2/20, but we were able to ship a bit earlier. Wanted
       to be sure our web directed people at the right time.

       Let me know when you have a chance and have a good weekend.

       Alex McIntosh
       Thrive Natural Care
       San Francisco, CA

       t: 203.249.7285
       e: amcintosh@thrivenaturalcare.com

                                       PleelA RMACA. CO M-
           PHARMACA
            INTEGRATIVE PHARMACY




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                                                                  TNC01386
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                                  #:8530


                             NUNC PRO TUNC TRADEMARK ASSIGNMENT

         This Trademark Assignment (“Assignment”) is effective as of May 23, 2013 by and between
Ecomundi Ventures, LLC (the “Assignor”), a Connecticut limited liability company having an address of 42
Darrell Place San Francisco, California 94133 and Thrive Natural Care, Inc. (the “Assignee”), a Delaware
corporation having an address of 42 Darrell Place San Francisco, California 94133 (collectively the
“Parties”).

       WHEREAS, Assignor has adopted, used, and/or intends to use, and is the owner of the
trademark THRIVE for the goods and services identified in Schedule A hereto (the “Trademark”) and the
corresponding United States trademark applications identified on Schedule A hereto.

          WHEREAS, Assignor had a bona fide intent to use the Trademark in U.S. commerce at the time
of filing of the Applications with the U.S. Patent and Trademark Office and has maintained a bona fide
intent to use the Trademark since that time for the corresponding goods and services;

        WHEREAS, Assignee is the successor to the business of the Assignor to which the Trademark
pertains and the Parties have entered into the TECHNOLOGY ASSIGNMENT AGREEMENT dated May
23, 2013, regarding the transfer of all rights to the THRIVE trademark, which is incorporated herein by
reference and made part of this agreement; and

        WHEREAS, for the avoidance of doubt, Assignor and Assignee wish to enter into an agreement
regarding the rights to the THRIVE trademark in the United States;

         NOW, THEREFORE, in consideration of the foregoing promises and the mutual covenants
contained herein, and other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, Assignor does hereby assign, transfer, and convey to Assignee as the successor
to the business of Assignor as set forth above, all right, title, and interest in the United States in and to the
Trademark and the Applications, together with the good will associated therewith, that portion of the
Assignor’s ongoing and existing business to which the Trademarks pertain, and all rights and causes of
action accrued, accruing, and to accrue under and by virtue hereof, including the right to sue and recover
for past infringement, and to receive all damages, payments and costs and fees associated therewith.

.                                          Assignor:        ECOMUNDI VENTURES, LLC, by its
                                                            authorized representative:


                                                            Signature:

                                                            Name: Alex McIntosh, CEO

                                                            Date: September 27, 2013




1335900 v1/SF
                                                                                           Ecomundi_00078
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                                                SCHEDULE A

Mark      U.S. Serial No.   Filed       Class    Goods

THRIVE    85726058          September   03       Personal care products for cosmetic use, namely, hair shampoos
                            11, 2012             and conditioners, hair styling preparations; body and hand
                                                 washes, soaps and gels; non-medicated skin care preparations,
                                                 namely facial lotions, cleansers and creams, body lotions,
                                                 creams and oils for cosmetic use, skin moisturizers; cosmetic
                                                 sun care preparations and sunscreens; lip creams and balms;
                                                 antiperspirants and deodorants for personal use; shaving creams
                                                 and gels; pre-shaving preparations; after shave lotions and
                                                 creams; non-medicated baby care products, namely baby lotions,
                                                 creams, body cleansers, shampoos, gels and washes, diaper
                                                 rash creams and ointments

THRIVE    85726062          September   05       Medicated skin care products, namely, creams, lotions and oils;
                            11, 2012             medicated hair care, namely, shampoos and creams; medicated
                                                 facial cleansers, hand and body washes; medicated sunscreens
                                                 and sunburn lotions; medicated lip creams and balms




   1335900 v1/SF
                                                                                      Ecomundi_00079
